Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 1 of 199 Page ID
                                  #:46248




                         Exhibit J
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 2 of 199 Page ID
                                  #:46249


    1                        DECLARATION OF CAROL A. SOBEL
    2         I, CAROL A. SOBEL, declare:
    3         1. I am an attorney admitted to practice before the Supreme Court of the State
    4   of California, United States District Courts for the Central District of California and
    5   the Eastern District of California, the Ninth Circuit Court of Appeals and the Supreme

    6   Court of the United States. This declaration is submitted in support of the fees
        requested by counsel at CENTER FOR HUMAN RIGHTS AND CONSTITUTIONAL
    7
        LAW in this matter. The declaration is based on personal knowledge and, if called to
    8
        testify to the facts set forth below, I could and would do so competently.
    9
              2. I graduated from law school and was admitted to practice in 1978. Following
   10
        20 years with the ACLU Foundation of Southern California, I entered private practice
   11
        in April of 1997. My practice primarily involves complex civil rights litigation,
   12
        focusing on the rights of homeless persons, First Amendment rights and police
   13
        practices. Exhibit “1" is my resumé.
   14
              3. I received many awards for my legal work over the years. In 2008, I was
   15   named a California Lawyer of the Year (CLAY) for civil rights by California Lawyer
   16   Magazine. That same year, I was also named a Top 75 Women Litigators in California
   17   by the Daily Journal Corporation. In 2007, I received an Angel Award from California
   18   Lawyer Magazine for pro bono work and was also named by the Daily Journal as one
   19   of the Top 100 Most Influential Lawyers in California. In 2013, 2014, and 2017, I was
   20   named one of the top women lawyers in Los Angeles or Southern California. In the
   21   past, I received several awards from the ACLU Foundation of Southern California,
   22   including the First Amendment Award. In June 2017, I received a lifetime award from
   23   the ACLU Foundation of Southern California. I have been named as a SuperLawyer
   24   in the area of First Amendment or civil rights litigation consistently for more than a

   25
        decade. Additional recognition of my legal work is set forth in my attached resumé.
              4. For the six years prior to 1997, I held the position of Senior Staff Counsel in
   26
        the legal department of the ACLU Foundation of Southern California. During that time
   27
        period, I was responsible for preparing many of the fee motions in cases where the
   28

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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 3 of 199 Page ID
                                  #:46250


    1   ACLU represented the prevailing party. Because the ACLU does not bill clients on an
    2   hourly basis for its services, I was required to obtain information to establish
    3   reasonable market rates for the ACLU lawyers.
    4         5. It was my practice to obtain current billing rates for lawyers of comparable
    5   skill and experience at several firms throughout the City. I did this on an annual basis,

    6   contacting partners who were familiar with the ACLU lawyers in question so that they
        could make an informed judgment about the comparable skill levels of the attorneys
    7
        at their firms whose rates were then used to establish ACLU billing rates. At the time
    8
        that I consulted these individuals, I was aware that the partners had been personally
    9
        involved as pro bono counsel with the ACLU and worked with the ACLU lawyers for
   10
        whom I sought to establish market billing rates, so they were able to assess the skill
   11
        and experience of the ACLU lawyers based on personal knowledge.
   12
              6. Since entering private practice, I have continued to survey fee motions
   13
        submitted by private firms each year to obtain relevant comparisons for billing rates.
   14
        I generally begin this process the first time in each year I prepare a fee motion, or enter
   15   into settlement discussions regarding fees. As part of my survey, I make it a point to
   16   obtain information concerning rates for attorneys in both larger law firms engaged in
   17   complex litigation, as well as smaller boutique civil rights law firms.
   18         7. To obtain information concerning rates charged by attorneys in the Southern
   19   California legal market, I also review attorney fee applications and awards in cases
   20   other than my own. Specifically, I regularly review fee applications submitted by, and
   21   awards to, private attorneys practicing the range of civil rights law, As well as court
   22   awards made to the ACLU, Disability Rights Legal Center (“DLC”), Disability Rights
   23   Advocates, Asian Americans Advancing Justice, Public Counsel, the Western Center
   24   on Law and Poverty (“WCLP”), MALDEF and other public interest groups in Los

   25
        Angeles. I also review fee motions filed by private civil rights and public interest firms
        and attorneys, including McLane Bednarski & Litt; Schonbrun Seplow Harris
   26
        Hoffman & Zeldes; Hadsell Stormer & Renick; The Cochran Firm; Rosen Bien Galvan
   27
        & Grunfeld; and Altschuler Berzon, among other firms.
   28

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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 4 of 199 Page ID
                                  #:46251


    1         8. Because many of the cases brought by public interest groups are co-counseled
    2   by attorneys at private commercial firms, I have access to those billing rates as well.
    3   In addition to these two methods, when I become aware of a case where statutory fees
    4   are sought, I regularly obtain fee applications and any resulting awards from on-line
    5   public records for the courts, as well as from legal research databases such as LEXIS

    6   and Westlaw. Included in my review of fee applications and awards are those by, and
        awards to, large firms engaged in complex litigation to assess customary billing rates
    7
        for these firms, many of which also serve as pro bono counsel in public interest cases.
    8
        I estimate that I review around 100 or more fee motions and fee awards annually.
    9
              9. My declarations in support of fee applications for civil rights and public
   10
        interest attorneys have been cited repeatedly by courts as evidence of reasonable
   11
        market rates. For example, in Nadarajah v. Holder, 569 F.3d 906, 912-914 (9th Cir.
   12
        2009), the Ninth Circuit referenced my declaration with approval in support of the
   13
        application of attorneys from the ACLU for fees under the Equal Access to Justice Act
   14
        (“EAJA”). Two recent decisions in which the Court noted with approval my
   15   declaration as admissible evidence of market rates include S.G. v. City of Los Angeles,
   16   Case No. 17-cv-9003 JAK - MRWx (C.D. Cal. Apr. 12, 2021) [Dkt. 266 at p. 6]; and,
   17   Ubaldo Arroyo, et al. v. United States Department of Homeland Security, et al., Case
   18   No. SACV 19-815 JGB (SHKx) (C.D. Cal. Jan 2, 2020) [Dkt. 53 at p. 7].
   19         10. Other cases in which courts cited to my declaration as evidence to award
   20   reasonable market rates include Torrance Unified School District v. Magee, 2008 U.S.
   21   Dist. LEXIS 95074 (CD CA 2008), granting fees pursuant to the federal IDEA statute,
   22   20 U.S.C. §1415(i)(3)(c), the Court cited to my declaration as persuasive evidence of
   23   market rates. In Atkins v. Miller, CV 01-01574 DDP (CD CA 2007), the Court awarded
   24   fees to a 1975 graduate at $675 an hour, citing to my declaration and that of Barry Litt

   25
        to support the rates. Id. at pp. 8-9 and n.4. Other cases in which my declaration was
        cited favorably include this Court’s order in Charleroi v. Angels Baseball LP, SAC 10-
   26
        0853 DOC(May 30, 2012);Orantes-Hernandez v.Holder, 713 F.Supp.2d 963-
   27
        964(C.D.Cal.2010); Hiken v. DOD, 2013 U.S. Dist. LEXIS 118165 (N.D. Cal. Jan. 14,
   28

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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 5 of 199 Page ID
                                  #:46252


    1   2013), Vasquez v. Rackauckas, 2011 U.S. Dist. LEXIS 83696 (C.D. Cal. 2011); Rauda
    2   v. City of Los Angeles, 2010 U.S. Dist. LEXIS 138837 (C.D. Cal. 2010); Jochimsen v.
    3   County of Los Angeles, supra; Dugan v. County of Los Angeles, Case No. cv-11-08145
    4   CAS (C.D.Cal. March 3,2014); Carrillo v. Schneider Logistics, Case: 12-55042 (9th
    5   Cir. 2014); Flores v. City of Westminster, SA-CV-11-0278 DOC (C.D. Cal. Oct. 23,

    6   2014); Webb v. Officer J. Ackerman, 13-CV-01992 PLA (C.D. Cal. January 4, 2018),
        Doc. 180, p.5; Garza v. City of Los Angeles, 2:16-cv-03579-SVW-AFM, 2018 U.S.
    7
        Dist. LEXIS 227294, (C.D. CA 2018); and Wagafe v. Trump, Case No. 2:17-CV-
    8
        00094-RAJ (W.D. WA 2019). Recently, the Circuit cited my declaration in approving
    9
        EAJA rates to the ACLU in Gomez-Sanchez v. Barr, sub nom Gomez-Sanchez v.
   10
        Sessions, 892 F.3d 985 (9th Cir. 2018). Jochimsen held that I was qualified to opine
   11
        on reasonable market rates.
   12
              11.    In addition, I have litigated statutory fee issues at the appellate level in
   13
        several of my cases. Most notably, I was lead counsel before the California Supreme
   14
        Court in Tipton-Whittingham v. City of Los Angeles, 34 Cal.4th 604 (2004), the
   15   companion case to Graham v. Daimler-Chrysler, 34 Cal.4th 533 (2004), establishing
   16   the continued vitality of the “catalyst” fee doctrine in California courts. I was also lead
   17   counsel in Jones v. City of Los Angeles, 555 Fed.Appx. 659 (2014), establishing
   18   entitlement to fees as a “prevailing party” based on the Ninth Circuit’s necessary
   19   approval of a settlement that was conditioned on vacatur of the panel decision.
   20         12. My present billing rate is $1100 an hour. As my resumé indicates, my
   21   primary areas of practice involve complex constitutional cases, focusing on
   22   homelessness litigation, First Amendment issues, and Fourth and Fourteenth
   23   Amendment claims. In the past, I also litigated employment discrimination cases. The
   24   Tipton-Whittingham case discussed in paragraph 11 was a class-action employment

   25
        discrimination case against the Los Angeles Police Department on behalf of female
        employees. It was one of several class-action challenges on behalf of women in then
   26
        non-traditional employment (police officers, firefighters, correctional officers) in
   27
        which I was counsel.
   28

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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 6 of 199 Page ID
                                  #:46253


    1         13. Although I litigate some less expansive individual cases, my primary focus
    2   is impact litigation, including multi-plaintiff cases and class actions. While some of my
    3   cases may be more simple than others, I use the same rate in all cases on the premise
    4   that my skill generally allows me to handle a simpler case in fewer hours than it would
    5   take a less experienced attorney. I understand this approach to rates to be consistent

    6   with Ninth Circuit authority.      See Van Skike v Director, Office of Workers’
        Compensation Programs, 557 F3d 1041, 1046 (9th Cir. 2009) (relative “simplicity”
    7
        or “complexity” of a case is reflected in the efficiency of hours, not the lodestar rate.
    8
              14. I have not filed a fee motion at my current 2021 rate; however, my rates
    9
        were approved in several recent class actions where the Court was required to conduct
   10
        an independent lodestar analysis of the attorney fees. In Charmaine Chua v. City of
   11
        Los Angeles, et al., Case 2:16-cv-00237-JAK-GJS (C.D. Cal. 2020) [Dkt. 158], the
   12
        Court approved the fees to class counsel, including $1000 an hour for me based on
   13
        2019 rates. [Dkt. 147]. In May 2019, I applied the rate of $1,000 an hour to calculate
   14
        my fees in Mitchell v. City of Los Angeles, Case No. 2:16-cv-01750-SJO-JPR (C.D.
   15
        Cal.). In addition, I settled several cases in 2018 applying $975 an hour for the
   16
        lodestar. The most recent fee awards I received in a contested fee motion were in
   17
        2014. I applied a rate of $875 in Desertrain v. City of Los Angeles, 754 F.3d 1147 (9th
   18
        Cir. 2014). The parties settled the trial court and appellate fees together with a five
   19
        percent reduction of the appellate lodestar. The Ninth Circuit then approved the full
   20
        requested fee award at the 2014 rate of $875 an hour. See CPR for Skid Row v. City
   21
        of Los Angeles, 779 F.3d 1098 (9th Cir. 2015).
   22
              14. My opinion on the reasonableness of the rates sought by counsel in this
   23
        matter is based on comparisons to rates approved for attorneys of comparable skill,
   24
        experience and reputation in the Los Angeles legal market, where the attorneys are
   25
        based. In all of the fee declarations that I prepare, I apply my understanding of Blum
   26
        v. Stenson, 465 U.S. 886 (1984), that “rates charged in private representations may
   27
        afford relevant comparisons.” Id. at 895 fn. 11. I understand this to mean that fees for
   28

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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 7 of 199 Page ID
                                  #:46254


    1   civil rights lawyers should approximate rates charged by attorneys of comparable skill,
    2   experience and reputation in the relevant legal market and engaged in similarly
    3   complex litigation, regardless of whether the attorneys work for a non-profit, represent
    4   individuals on contingency, serve as in-house counsel, or charge a minimal rate for
    5   paying clients with the possibility of receiving a market rate award if successful. See,
    6   Nadarajah v Holder, 569 F3d at 910 (awarding market rates to attorneys at the ACLU).
    7         15. I apply several additional principles to analyze reasonable market rates.
    8   First, when available, I look to rates awarded to the attorney in previous cases based
    9   on my understanding that such awards are strong evidence of reasonable market rates.
   10   See Chaudhry v. City of Los Angeles, 751 F3d 1096, 1111 (9th Cir. 2014); U.S. v.
   11   $28,000 in U.S. Currency, 802 F.3d 1100, 1106 (9th Cir. 2015); Camacho v.
   12   Bridgeport Fin., Inc., 523 F.3d 973, 976 (9th Cir. 2008).
   13         16. Next, I look to evidence of billing rates by attorneys engaged in similarly
   14   complex business litigation as an approved method of establishing reasonable market
   15   rates for civil rights attorneys who do not regularly bill clients on an hourly basis. This
   16   approach recognizes that most civil rights attorneys are not paid hourly for their
   17   services at market rates. See e.g., Pearl, California Attorney Fee Awards, CEB 2012,
   18   §9.109 (2012). Evidence of billing rates for other attorneys that I rely on is drawn from
   19   fee awards as well as declarations regarding rates filed in pending cases. Such evidence
   20   is one of the most common ways to establish market rates. See e.g., Beauchamp v
   21   Anaheim Union High Sch. Dist, 816 F.3d 1216, 1224 (9th Cir 2016); U.S. v $28,000
   22   in U.S. Currency, 802 F3d at 1106 (district court erred by ignoring plaintiff's
   23   supporting rate declarations); and Chaudhry, 751 F3d at 1111.
   24         17. As noted above, I review a combination of approximately100 fee motions,
   25   fee awards, and supporting declarations in the course of a year. I obtain this
   26   information from court orders awarding statutory fees or awarding fees as a discovery
   27   sanction. I subscribe to several websites that report legal news. If I learn of a case
   28   where there is likely to have been a fee motion, I review the docket and obtain a copy

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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 8 of 199 Page ID
                                  #:46255


    1   of any fee motion, supporting declarations and fee award from public sources,
    2   including on-line documents for the courts and PACER. In addition, if I provide a fee
    3   declaration and the opposition then files an expert challenging the proposed rates, I
    4   search PACER and the various Superior Court dockets to find cases where the defense
    5   expert provided fee declarations, as well as cases where the same expert filed a
    6   declaration supporting high market rates in fee-shifting cases.
    7         18. I do not rely on surveys if other more specific comparative information is
    8   available. General rate surveys do not provide specific rates by years of experience
    9   but, instead, rely on an average or “range” of fees, often covering attorneys with
   10   unequal experience in a single category and capping rates after approximately 25 years.
   11   See Jordan v. Multnomah County, 815 F.2d 1258, 1263-64 (9th Cir. 1987). In addition
   12   to the absence of information about how long the various partners and associates are
   13   practicing, there is often no indication of whether they do transactional law, anti-trust,
   14   or other similarly complex litigation.
   15         19. If I rely on decisions that are more than two years old, I extrapolate a
   16   comparable current rate by applying a modest increase of 3.1 percent. This is the
   17   average amount of the increase in the legal services component of the Consumer Price
   18   Index. The data is available at http://www.bis.gov/news.release/cpi.102.htm
   19   (Table2.Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average,
   20   by detailed expenditure category). Hiken v. DOD underscored that “market rates in
   21   effect more than two years before the work was performed” are not current rates under
   22   the lodestar analysis. 802 F.3d at 1107 (9th Cir. 2016) (emphasis in original).
   23         20. I am informed that counsel seek EAJA enhanced rates for 2019 through
   24   2021. In my opinion, the rates sought by these attorneys have been historically lower
   25   than other civil rights attorneys in the Los Angeles legal market. In my opinion,
   26   market rates in the lower to middle range of hourly rates recently approved for
   27   comparably skilled attorneys in the Los Angeles legal market engaged for work on
   28   similarly complex federal litigation are as follows:

                                                    7
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 9 of 199 Page ID
                                  #:46256


    1         Attorney          Admitted 2018           2019      2020     2021
    2          Peter Schey    1973          $925       $950       $1050     $1100
    3          Carlos Holguin 1979          $825       $855       $905      $935
    4
              21. I am very familiar with both of the attorneys for whom fees are sought in this
    5 motion. Mr. Hoguin was in the class behind me in law school. Mr. Schey was co-
    6 counsel on cases with the ACLU shortly after I first began working there in 1977,
    7 including the Flores case. Based on my involvement in the Los Angeles legal market
    8 as a civil rights attorney for 40 years, I am aware that each is a highly skilled and
    9 respected immigration attorney. While I have not worked with them on litigation,
   10 several of my former colleagues at the ACLU did and have expressed their views that
   11 each is highly skilled, has considerable expertise in immigration law and enjoys an
   12 excellent reputation.
   13         22.    Based on my experience reviewing fee awards and fee applications, I

   14 believe that the rates they seek by this motion are well within the range of reasonable
        rates in the Los Angeles legal market for attorneys of comparable skill, experience and
   15
        reputation. I am aware that this Court previously approved rates for each in an order
   16
        awarding fees in Flores v. Sessions, Case No. 2:85-cv-04544-DMG-AGR (C.D. CA
   17
        2017) [Dkt 383]. In that decision, the approved EAJA enhanced rates were $875 for
   18
        Peter Schey and $725 an hour for Carlos Holguin. The 2017 rate approved for Mr.
   19
        Schey was the same rate approved for me by the Ninth Circuit in 2014. At the time,
   20
        Mr. Schey had eight more years of experience than I did in 2014. Dkt. 383, p.6.
   21
              23.    I am also aware that the Court approved the EAJA enhanced rate for 2019
   22
        of $950 an hour for Mr. Schey. Flores v. Barr, Case 2:85-cv-04544-DMG-AGR (C.D.
   23 CA 2019) Document 702, p. 5.
   24      24. To support my opinion on the reasonableness of the rates sought by this
   25 motion, I attach fee awards and supporting declarations in several recent civil rights
   26 cases in the Los Angeles legal market. Each document is a true and correct copy of the
   27 document as it appears in the Court’s files. It is my opinion that the attorneys identified
   28 in these decisions have skills and experience similar to, and in some instances less than,

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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 10 of 199 Page ID
                                   #:46257


     1 the attorneys for whom fees are sought in this motion.
     2         25.    While I rely primarily in my declaration on orders approving enhanced
     3 EAJA fees, I also looked to approved rates in other civil rights litigation. The Ninth
     4 Circuit has repeatedly recognized that comparable rates are not limited to the specific
     5 area of litigation. “[T]he proper scope of comparison is not so limited, but rather
     6 extends to all attorneys in the relevant community engaged in ‘equally complex Federal
         litigation,’ no matter the subject matter.” See Prison Legal News v. Schwarzenegger,
     7
         608 F.3d 446, 455 (9th Cir. 2010) (quoting Blum, 465 U.S. at 893)). See also, Van
     8
         Skike, supra,, 557 F.3d at 1046-47.
     9
               26. Attached at Exhibit 2 is the Order approving attorney fees in Franco-
    10
         Gonzalez v. Holder, Case No. 2:10-cv-0221 DMG - DTB (CD Cal. 2015). The Court’s
    11
         Order approved the fees at the requested rates as part of a lodestar review in a class
    12
         action. Because the Court’s Order did not identify the specific attorneys and EAJA
    13
         enhanced rates approved, I attach the declaration I provided in support of the requested
    14
         attorney fees. A true and correct copy of my declaration is attached at Exhibit 3.
    15         27. In Franco-Gonzalez, the 2014 and 2015 rates for James Preis were $850 and
    16 $875 an hour. I knew Mr. Preis for several decades and am aware that he was at
    17 Mental Health Advocates Services (“MHAS”) in Los Angeles for most of his career.
    18 Mr. Preis was a 1978 law graduate, five years behind Peter Schey’s and one year ahead
    19 of Carlos Holguin’s graduation and admission to the Bar. Mr. Preis’ 2014 rate was
    20 $850 and his approved 2015 rate was $875 an hour. Ex. 3, p. 3.
    21         28. Attached at Exhibit 4 is the July 2019 Order of the Ninth Circuit approving
    22 EAJA fees to attorneys at the ACLU of Southern California in Gomez-Sanchez v. Barr,
    23 Case No. 14-72506. The fees were awarded to Ahilan Arulanantham, along with two
    24 other attorneys at the ACLU of Southern California. The top rate for Mr. Arulanantham
    25
         for the year 2018 was $785 an hour. Ex. 4, p. 3. I am familiar with both of these
         attorneys from my work with the ACLU.            I am aware based on my personal
    26
         involvement with Mr. Arulnantham that he is a 1999 law graduate. With 20 years more
    27
         experience in 2018, Carlos Holguin seeks a 2018 rate that is only $40 above the 2018
    28

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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 11 of 199 Page ID
                                   #:46258


     1 rate approved for Ahilan Arulanantham in Gomez-Sanchez.
     2         29. Attached at Exhibit 5 is the Order approving fees in Wagafe v. Trump, Case
     3 No. 2:17-CV-00094-RAJ (W.D. WA 2019). The Court approved an award of fees as
     4 a discovery sanction. The attorneys included a number of attorneys from Los Angeles,
     5 including Jennifer Pasquarella of the ACLU of Southern California. I provided a
     6 declaration regarding 2018 market rates. I co-counseled cases with Ms. Pasquarella
         and am personally familiar with her skills and experience.
     7
               30.    As my starting point, I calculated that the comparable Los Angeles market
     8
         rate for 2018 would be $682 an hour for a 2006 graduate. The rate approved for Ms.
     9
         Pasquarella, reflecting a small downward adjustment for the local legal market, was
    10
         $646,64. Ex. 5, p. 12. Based on my personal interactions, I am aware that Ms.
    11
         Pasquarella is a 2006 law graduate. The difference in the Los Angeles legal market
    12
         rate I applied for Ms. Pasqueralla in Wagafe and the 2018 rate sought by Carlos
    13
         Holguin is $143. With 27 years additional experience, this amounts to an annual
    14
         increase of little more than five dollars a year, with no adjustment even for a rise in
    15 base salary to adjust for cost-of-living increases.
    16       31. Attached at Exhibit 6 is the Order approving EAJA fees in Arroyo v. United
    17 States Dept. of Homeland Security, et. al., SA CV 19-815 JGB (C.D. Cal. Jan. 1, 2020).
    18 The motion was applied 2019 rates. [Dkt. 50] The Court awarded the rates and noted,
    19 in part, that the Court reviewed my declaration to support the reasonableness of the
    20 rates. Id. at p. 7. [Dkt. 53] The Order does list the approved rates and the motion and
    21 attachments are under seal. I reviewed the my declaration and, on that basis, confirmed
    22 that the enhanced 2018 and 2019 EAJA rates for attorneys at the ACLU.
    23         32.    The three attorneys in Arroyo included Ahilan Arulanantham, discussed
    24 above. Mr. Arulanantham’s 2018 rate in Arroyo was $785 an hour, $40 an hour below
    25
         the 2018 rate requested by Mr. Holguin in this motion. Mr. Arulanantham’s 2019
         2019 rate was $810 an hour, just $40 an hour below the 2019 rate sought by Carlos
    26
         Holguin, with two decades more experience than Mr. Arulanantham had in 2019
    27
               33.    Attached at Exhibit 7 is the Order approving attorney fees in Rodriguez
    28

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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 12 of 199 Page ID
                                   #:46259


     1 Castillo v. Nielsen, Case 5:18-cv-01317-ODW-KES (C.D. CA May 6, 2020) [Dkt. 63].
     2 The District Court approved the requested enhanced EAJA rates of $785 for 2018 and
     3 $810 for 2019 for Ahilan Arulanantham, Id. at p. 10.
     4         34.    Attached at Exhibit 8 is a true and correct copy of the order awarding
     5 attorneys fees in Pinter-Brown v. University of California-Los Angeles, LASC Case
     6 No. 624838. The Court approved the rate of $1,100 an hour for Carney Shegerian.
         Based on my review of the information based on the firm’s website and the State Bar,
     7
         I believe that Carney Shegerian is a 1990 admittee. In 2018, he had 28 years of
     8
         experience, 17 and 11 years less than Mssrs. Schey and Carlos Holguin, respectively.
     9
         Mr. Shegerian’s 2018 rate is $50 above the 2021 rate now sought by Mr. Schey.
    10
               35.    Attached at Exhibit 9 is the order approving final settlement of a class
    11
         action and fees for plaintiffs’ counsel in McKibben v. McMahon, et al., Case 5:14-cv-
    12
         02171-JGB-SP (C.D. CA 2019) [Dkt. 103]. The Court approved the requested fee
    13
         application, based on 2018 rates, including $1,150 an hour for attorney Barrett S. Litt
    14
         and $875 an hour for attorney David McLane.
    15         36.    In addition to the attached fee awards, I reviewed the docket in Duncan
    16 Roy v. County of Los Angeles, 12-cv-09012 AB (C.D. CA). I filed a supporting
    17 declaration on the reasonableness of requested rates in a motion for fees currently
    18 pending before the district court. Based on my review of the motion filed by Plaintiffs
    19 and the supporting declaration I provided, I am aware that class counsel seek a 2021
    20 rate of $1,275 an hour for Barrett S. Litt, a 1970 law graduate (p.52) (Dkt. 615-2, p.52)
    21 and $975 an hour for 2021 for Peter Eliasberg, a 1994 law graduate. (Dkt. 615-2, p.
    22 58). The motion also seeks fees for Ahilan Arulanantham at the 2021 rate of $875.
    23         37. The chart below summarizes rates by year referenced in my declaration.
    24          Attorney           Grad Yr.    2018       2019      2020       2021

    25           Litt                1970      ---       $1150       ---        $1275
    26           Hoffman             1976      ---       $1050       ---
    27
                 Preis               1978      $850      ---                    ---
                 Sobel               1978      ---       $1050       ---        $1100
    28

                                                   11
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 13 of 199 Page ID
                                   #:46260


     1           McLane            1986      ---       $875       ---       ---
     2           Shegerian         1990      $1,100    ---        ---       ---
     3           Eliasberg         1994      ---       ---        ---       $950
     4           Arulanantham      1999      $785      $810       ---       $875
     5         38. Based on the foregoing, it is my opinion that the rates sought herein are
     6 reasonable for attorneys of comparable skill, experience and reputation in the Los
     7 Angeles legal market.
     8
     9         I declare under penalty of perjury that the foregoing is true and correct.

    10
         Executed this 27th day of September, 2021 at Santa Monica, California.

    11
    12
                                              CAROL A. SOBEL
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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 14 of 199 Page ID
                                   #:46261




     Exhibit 1 to Sobel Declaration
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 15 of 199 Page ID
                                   #:46262


   CAROL A. SOBEL
   725 Arizona Avenue• Suite 300 • Santa Monica, CA 90401 •
   Tel. 310 393-3055 • Email carolsobellaw@gmail.com



   Employment:
              LAW OFFICE OF CAROL A. SOBEL                                                                    APRIL, 1997 TO PRESENT
              Solo civil rights law firm.

              SENIOR STAFF COUNSEL                                                                                1990 TO APRIL, 1997
              ACLU Foundation of Southern California

              Responsible for conducting civil rights and civil liberties litigation in state and federal courts in California;
              supervise litigation by ACLU volunteer counsel and other ACLU legal staff.

              STAFF ATTORNEY                                                                                             1 985 TO 1990
              ACLU Foundation of Southern Califonria

              Civil liberties litigation, primarily in the areas of Establishment Clause and Free Exercise violations, as well as other
              First Amendment rights.

              ASSOCIATE DIRECTOR                                                                                         1 979 TO 1985
              ACLU Foundation of Southern California
              American Civil Liberties Union of Southern California

              Under the direction of the Executive Director, responsible for administration of two non-profit organizations,
              including working with Boards of Directors on development of policy on civil liberties issues. Engaged in litigation
              and assisted Legal Director in coordination and supervision of pro bono attorneys.

              DEVELOPMENT DIRECTOR                                                                                       1 977 TO 1979
              ACLU Foundation of Southern California
              American Civil Liberties Union of Southern California

              Responsible for conducting a variety of fundraising efforts to meet a million-dollar plus annual budget for a
              501(c)(3) and a 501(c)(4).




   Admitted to Practice:
              California Supreme Court                                                                                  November, 1978

              United States Supreme Court                                                                              September, 1991

              Ninth Circuit Court of Appeals                                                                              A ugust, 1986

              U.S.D.C. Central District of California                                                                   February, 1986

              U.S.D.C. Eastern District of California                                                                        June, 1990


   Litigation Experience:

    Federal courts: (Partial listing of published opinions and significant cases)

                     CPR for SKID ROW,
                     779 F.3d 1098 (9th Cir. 2015)
                     Partial reversal of summary judgment in favor of the Defendant and holding that California Penal Code §403
                     could not lawfully be applied to criminalize the expressive activity of the Plaintiffs for protesting on Skid
                     Row.
                     (Lead counsel and argued on appeal)
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 16 of 199 Page ID
                                   #:46263


              Desertrain v. City of Los Angeles
              754 F.3d 1114 (9th Cir. 2014)
              Reversal of summary judgment in favor of the Defendants and holding that Los Angeles Municipal Code
              §85.02, prohibiting parking a vehicle on public streets or parking lots any time of day or night if a person
              “lives” in the vehicle, is unconstitutionally vague.
              (Lead counsel and argued on appeal)

              Lavan v. City of Los Angeles
              693 F.3d 1022 (9th Cir. 2012), affirming grant of preliminary injunction 797 F.Supp.2d 1005 (C.D. Cal.
              2011)
              Preliminary injunction barring City from confiscating and immediately destroying the property of homeless
              individuals on Los Angeles’ Skid Row.
              (Lead Counsel)

              Long Beach Area Peace Network v. City of Long Beach
              522 F.3d 1010 (9th Cir. 2008), as amended July 24, 2009
              Upholding and reversing in part on appeal a decision of the district court granting Plaintiffs’ request for a
              preliminary injunction to enjoin a municipal parade ordinance that included vague permit standards setting, inter
              alia, advance-notice requirements police charges based on the past unlawful conduct of third parties without
              adequate standards to limit the discretion of public officials charged with implementing the parade ordinance.
              (Lead counsel)

              Fitzgerald v. City of Los Angeles
              485 F.Supp.2d 1137 (CD CA 2008)
              Extending injunction against police sweeps of homeless persons on Los Angeles’ Skid Row on the grounds of
              searching for parole and probation violations. See below for discussion of permanent injunction in 2003.
              (Co-Counsel)

              Multi-Ethnic Immigrant Worker Organizing Network (MIWON) v. City of Los Angeles
              246 F.R.D. 621 (C.D. Cal. 2007)
              Order granting class certification in challenge to police assault on a lawful assembly of immigrant rights
              supporters by the Los Angeles Police Department on May Day, 2007.
              (Class Co-Counsel)

              Edward Jones, et al., v. City of Los Angeles,
              444 F.3d 1118 (9th Cir. 2006), vacated pursuant to settlement 505 F.3d 1006 (2007)
              Challenge to City of Los Angeles Municipal Code §41.18(d), prohibiting sitting, lying or sleeping on any street
              or sidewalk anywhere in the City at any time of day or night. Plaintiffs, all of whom are homeless persons,
              brought an 8th Amendment as-applied challenge to their arrests and citations for violating the ordinance when
              their was no available adequate shelter.
              (Co-counsel)

              Terry Tipton-Whittingham, et al. v. City of Los Angeles
              316 F.3d 1059 (9thCir. 2003)
              Challenge by City of Los Angeles to interim fee award granting plaintiffs’ fees as “catalysts” under state civil
              rights fee shifting statutes. Following oral argument, the Ninth Circuit certified issue of continued availability
              of “catalyst” fees under California law after adverse decision by the United States Supreme Court rejecting
              catalyst fee doctrine under federal law absent express legislative authorization. Certified for hearing before the
              California Supreme Court and ultimately upheld the catalyst fee doctrine under California law.
              (Co-counsel; argued in Ninth Circuit)

              Fitzgerald v. City of Los Angeles
              2003 U.S. Dist. LEXIS 27382 (CD CA 2003)
              Permanent injunction enjoining Fourth Amendment violations by the Los Angeles Police Department (LAPD).
              The injunction prevents the LAPD from engaging in stops of homeless persons for parole and probation sweeps
              on Skid Row without reasonable suspicion to believe that specific individuals are on parole or probation and
              subject to a search condition, or that the individual has engaged in, or is about to commit a crime.
              (Lead counsel)

              Khademi v. South Orange County Community College District
              194 F.Supp.2d 1011 (C.D. CA 2002)
              First Amendment facial challenge invalidating college policy regulating time, place and manner of student
              speech on campus.
              (Lead counsel)

              Mardi Gras of San Luis Obispo v. City of San Luis Obispo
              189 F. Supp.2d 1018 (C.D. Cal. 2002)
              Preliminary injunction to enjoin a municipal parade ordinance that required lengthy advance-notice requirement
              and permitted high insurance and police charges based on the past unlawful conduct of third parties without
              adequate standards to limit the discretion of public officials charged with implementing the parade ordinance.



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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 17 of 199 Page ID
                                   #:46264


              Bauer v. Sampson
              261 F.3d 775 (9th Cir. 2001)
              First Amendment challenge to disciplinary action against college professor for publication of an alternative
              newsletter criticizing elected and appointed public officials and disclosing wrongdoing by college officials and
              personnel. The college sought to discipline the professor for violating the district’s policies on discrimination
              and work-place violence. The polices were declared unconstitutional as applied to the professor’s speech.

              H.C. v. Koppel
              203 F.3d 610 (9th Cir. 2000)
              Dismissal of federal civil rights action filed in federal court against state court judge and appointed counsel for
              minor in family law matter. Circuit held that Younger Abstention applied and non-custodial parent had adequate
              state court remedy.

              Justin v. City of Los Angeles
              2000 U.S. Dist. LEXIS (CD Cal. 2000)
              Class action to enjoin police sweeps of homeless population on Los Angeles’ Skid Row. Permanent injunction
              stipulated to in settlement following certification of the injunctive relief class.
              (Lead counsel)

              Los Angeles Alliance for Survival, et al. v. City of Los Angeles
              987 F. Supp. 819 (1997); 157 F.3d 1162 (9th Cir. 1998); on certification to the California Supreme Court, 22
              Cal.4th 352 (2000); 224 F.3d 1076 (9th Cir. 2000)
              Injunction issued in challenge to municipal ordinance barring so-called “aggressive solicitation” in broad areas
              of traditional public fora. Preliminary injunction entered by district court based on California Constitution. On
              appeal, the Ninth Circuit certified the California Constitution question to the California Supreme Court.
              Following decision by the California Supreme Court, the Ninth Circuit upheld the original injunction.
              (Co-counsel)

              Service Employees International Union 660 v. City of Los Angeles
              114 F. Supp.2d 966 (C.D. Cal. 2000)
              Challenge to the “no-protest zone” at the Democratic National Convention in Los Angeles in 2000, as well as
              a preliminary injunction to enjoin the City of Los Angeles parade ordinance.
              (Co-counsel)

              United States v. Wunsch
              54 F.3d 579 (9th Cir. 1995);84 F.3d 1110 (9th Cir. 1996) (reargument)
              First Amendment challenge to discipline of male attorney for “gender bias” in sending note to female Asst. U.S.
              Attorney after she successfully moved to disqualify him as defense counsel in a criminal case. Ninth Circuit
              invalidated the penalty and declared unconstitutional California’s “offensive personality” regulation on attorneys’
              professional conduct. (Argued and briefed on appeal).

              American Jewish Congress v. City of Beverly Hills
              65 F.3d 1539 (9th Cir. 1995);90 F.3d 379 (9th Cir. 1996) (en banc)
              First Amendment challenge to display of a religious symbol on public property and to permit scheme for
              expressive activities in public fora in the City of Beverly Hills. The en banc panel held the permit scheme
              unconstitutional and found that a preference had occurred for the display of a particular religious symbol. The
              en banc decision was unanimous. (Argued and briefed on appeal)

              Baca v. Moreno Valley Unified School District
              936 F. Supp. 719 (C.D. Cal. 1996)
              First Amendment challenge to school board regulations preventing speakers from making disparaging remarks
              about public employees during public board meetings.

              Wallin v. City of Los Angeles,
              1194 U.S. App. LEXIS 2343 (9th Cir. 2004)

              Circuit dismissed appeal of defendant City and law enforcement officers from denial of qualified immunity.
              Appellee, a female officer with the Los Angeles Police Department, alleged that appellants violated her right
              to equal protection, due process and right to petition the government because they violated LAPD
              confidentiality regulations and delayed the investigation into her allegations of co-worker rape.
              (Lead counsel)


              National Abortion Federation v. Operation Rescue
              8 F.3d 680 (9th Cir. 1993)
              Class-action state-wide injunction against blockades of women’s health care clinics by anti-abortion activists.
              First case decided under the “frustrate and hinder” clause of 42 U.S.C. § 1985(3), the 1871 Ku Klux Klan
              Act. Appeals court held cause of action under “frustrate and hinder” clause was properly plead and reversed
              12(b)(6) ruling on that claim.
              (Co-lead counsel throughout; argued on appeal)


                                                                                                                          Page 3
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 18 of 199 Page ID
                                   #:46265


                 Hewitt v. Joyner
                 940 F.2d 1561 (9th Cir. 1991)
                 Establishment Clause challenge to Christian theme park, Desert Christ Park, owned and operated by San
                 Bernardino County. Ninth Circuit held County ownership and operation of the park violated the
                 Establishment Clause.
                 (Lead counsel throughout litigation; argued on appeal).

                 Standing Deer v. Carlson
                 831 F.2d 1525 (9th Cir. 1986)
                 First Amendment challenge for Native Americans at Lompoc Federal Penitentiary to regulation barring
                 religious headbands in the dining facilities for purported health reasons.
                 (Argued and briefed on appeal)


                 Burbridge v. Sampson
                 74 F.Supp.2d 940 (C.D. Ca. 1999)
                 First Amendment challenge to community college policy regulating student speech in public fora on campus.
                 Court issued a preliminary injunction, declaring the college’s speech regulations unconstitutional.


                 Rubin v. City of Santa Monica
                 823 F.Supp. 709 (C.D. Ca. 1993)
                 First Amendment challenge to city permit scheme limiting access to public parks for protected expressive
                 activities. Court issued a preliminary injunction and declared the permit scheme unconstitutionally on
                 vagueness grounds and procedural due process grounds. (Lead counsel)



   State Court
                 Terry Tipton-Whittingham, et al. v. City of Los Angeles
                 34 Cal.4th 604 (2002)
                 California continues to recognize “catalyst” fee awards to prevailing parties under the private attorney-
                 general statute (Cal. Code of Civ. Proc. §1021.5) and Fair Employment and Housing Act (FEHA) despite
                 change in federal civil rights fee-shifting law. Under California law, there is no requirement of a judicial
                 determination establishing a change in the legal obligations of the parties.
                 (Co-counsel and argued at California Supreme Court)


                 Los Angeles Alliance for Survival v. City of Los Angeles
                 22 Cal.4th 352 (2000)
                 Ordinance restricting certain activity as “aggressive solicitation” was not content-based under California
                 Constitution
                 (co-counsel)
                 Williams v. Garcetti
                 5 Cal.4th 561 (1993), sub nom Williams v. Reiner, 13 Cal.App.4th 392 (1991)
                 Challenge on due process grounds to portion of STEPP law which imposed a criminal penalty on parents of
                 minor children engaged in or at risk of delinquent conduct.
                 (Argued and brief on appeal to California Supreme Court)

                 Sands v. Morongo Unified School District
                 53 Cal.3d 863 , cert denied, 112 U.S. 3026 (1991)
                 225 Cal.App.3d 1385 (1989)
                 Establishment Clause challenge invalidating prayers at public high-school graduations.
                 (Argued and briefed as lead counsel throughout litigation)




                                                                                                                         Page 4
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 19 of 199 Page ID
                                   #:46266


              Walker v. Superior Court of Sacramento
              47 Cal.3d 112 (1988)
              Establishment Clause/Free Exercise/Due Process challenge to criminal prosecution of Christian
              Science parents for death resulting from use of prayer instead of traditional medicine in treatment
              of ill child. (Wrote amicus brief on due process issues).

              Irvine Valley College Academic Senate, et al. v. South Orange County Community College District
              129 Cal.App.4th 1482 (2005)
              Statutory construction of plain language of Education Code §87360, bolstered by legislative intent, requires
              actual joint agreement and mutual development of revisions to faculty hiring policies.
              (co-counsel, drafted final briefs on appeal)

              Fashion 21, et al. v. Coalition for Humane Immigrant Rights (CHIRLA), et al.
              111 Cal.App.4th 1128 (2004)
              Special motion to strike defamation complaint by retainer against garment worker advocates must be granted
              as the plaintiff retailer could not establish a probability of prevailing on the merits of their claims. Garment
              worker advocates properly relied on draft labor commission regulations suggesting retailer could be liable for
              sweatshop conditions of manufacturing of its retail goods.
              (lead counsel at all stages)

              Gonzalez v. Superior Court
              33 Cal.App.4th 1539 (1995)
              Challenge to discovery order in sexual harassment case requiring plaintiff to disclose name of confidential
              informant who provided her with photographic evidence of harassment. “After-acquired evidence” rule
              applied to require disclosure.
              (Lead counsel in trial court and appeal)

              Lantz. v. Superior Court of Kern County
              28 Cal.App.4th 1839 (1994)
              Privacy rights challenge to interpretation of Consumer Personnel Records Statute (CCP § 1985(3), requiring
              strict adherence to statutory procedures and limiting exemption of local government agencies from adhering
              to statutory requirements.
              (Lead counsel throughout litigation)

              Rudnick v. McMillan
              25 Cal.App.4th 1183 (1994)
              Defamation verdict involving public figure plaintiff and local environmentalist author of letter to editor
              overturned on basis that letter was protected opinion and public figure subject to constitutional malice proof
              burden. Wrote amicus brief which formed basis of appellate ruling.

              Westside Sane/Freeze v. Hahn
              224 Cal.App.3d 546 (1990)
              Challenge to restrictions on First Amendment petition activities in shopping center.
              (Co-counsel, co-wrote appeal)

              City of Glendale v. Robert George
              208 Cal.App.3d 1394 (1989)
              Reversal of trial court order imposing prior restraints on speech of “Presidential Santa” on the basis that he
              constituted a public nuisance to his neighbors in a residential area.
              (Argued and briefed on appeal)

              McCarthy v. Fletcher
              207 Cal.App.3d 130 (1989)
              Challenge to removal of textbooks from school reading list based on community-based religious objections.
              Court of Appeal reversed summary judgment decision, holding that there was sufficient evidence of
              constitutionally impermissible factors in evaluation of appropriateness of class-room reading materials.
              (Argued and brief on appeal)

                                                                                                                       Page 5
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 20 of 199 Page ID
                                   #:46267


                Fiske v. Gillespie
                200 Cal.App.3d 130 (1988)
                Challenge to sex-based actuarial presumptions in insurance industry rate for particular types of life insurance
                and annuity benefits.
                (Co-Counsel, Argued on appeal)




     Publications:
     (Partial listing)s

                Catalyst Fees After Buckhannon
                Civil Rights Litigation and Attorney Fees Annual Handbook
                (January 2006)

                Free Speech and Harassment: An Overview
                in the Public Employee Sector
                CPER: CALIFORNIA PUBLIC EMPLOYEE RELATIONS
                Institute of Industrial Relations - UC Berkeley
                June 1999 No. 136

                Defeating Employer Defenses to Supervisor Liability
                After Ellerth and Faragher
                ADVOCATE, October 1998

                Student Expression Under California Law
                UCLA Journal of Education
                Volume 3, pp. 127-137 (1989)

                Should Attorneys Be Disciplined For Gender Bias
                Point/Counterpoint ABA Journal August, 1995

                Fight Illegal Police Practices in State Court
                Los Angeles Daily Journal
                March 6, 1992

                Judicial Oversight Limited by Supreme Court
                Los Angeles Daily Journal
                May 6, 1991

                Jury Nullification is Conscience of Community
                Los Angeles Daily Journal
                August 31, 1990

                A Basic Right Merits Shield From The Mob
                Los Angeles Times
                August 11, 1991 p.M5




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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 21 of 199 Page ID
                                   #:46268


                Prop 115 revisited: Police charged with crimes
                deserve fair trials too
                Los Angeles Daily News
                May 7, 1991

                Prayer Doesn’t Belong at Graduation
                USA Today
                May 15, 1991 p. A10

                Killea Tactic Can Only Hurt the Church in the Long Run
                Los Angeles Times (San Diego)
                November 20, 1989 p.B7

                The Fifth is a Shield for All
                Los Angeles Times
                August 6, 1988 II8
                (authored for Exec. Dir. ACLU)

                Which Way Will Rehnquist Court Turn?
                Los Angeles Daily News
                June 18, 1986 p.21

                Constitution Exacts Cost for Religious Freedom
                Los Angeles Daily News
                June 8, 1986 FOCUS p.3


   Education:
                Peoples College of Law                                                              J.D. May, 1978

                Douglass College.For Women, Rutgers University                                     B.A . June, 1968


   Professional and
   Community Activities:

                Adjunct Professor - Loyola Law School                                                 2007-present
                Civil Rights Advocacy Practicum


                Blue Ribbon Panel on LAPD Rampart Inquiry, Member                                       2004-2006


                Ninth Circuit Gender Bias Task Force                                                     1992-1993
                Convenor, Advisory Committee on Employment Law


                Ninth Circuit Conference on “Ethnicity, Race, and Religion in the Ninth Circuit”              1993
                Member, Working Subcommittee

                Los Angeles Public Interest Law Journal                                               2007-present
                Advisory Board



                                                                                                            Page 7
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 22 of 199 Page ID
                                   #:46269


                 Los Angeles Center for Law and Community Action                    2015-present
                 Member, Board of Directors


                 National Police Accountability Project                             2006-present
                 Member, Advisory Board and Board of Directors


                 National Lawyers Guild, Los Angeles - President                     2001-2008


                 National Lawyers Guild - National Executive Vice President          2009-2011


                 National Lawyers Guild Far West Regional Vice-President             2003-2005


                 National Lawyers Guild, National Executive Committee                2003-2012


                 NLG National Mass Defense Committee, Co-chair                       2003-2012


                 Women Lawyers Association of Los Angeles                            1985-2002
                 Member, ProChoice Committee


                 The California Anti-SLAPP Project                                    1995-2010
                 Member, Board of Directors


   Awards:
   (Partial listing)

                 PEN Freedom to Write Award                                                1991


                 American Jewish Congress Tzedek Award                                     1992


                 Planned Parenthood Los Angeles, Distinguished Service Award               1990


                 Freethought Heroine Award                                                 1992


                 National Lawyers Guild - Los Angeles                                      1999


                 ACLU of Southern California Pro Bono Attorney Award                       2001


                 Asian Pacific American Legal Center Pro Bono Award                        2003


                 California Lawyer: Super Lawyer -Civil Rights/Constitutional Law    2004-2019


                 ACLU of Southern California Freedom of Expression Award                   2007


                 Daily Journal Top 100 Most Influential Lawyers in California              2007


                                                                                         Page 8
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 23 of 199 Page ID
                                   #:46270


              National Lawyers Guild - Ernie Goodman Award                                                  2007


              Angel Award - California Lawyer Magazine Award for pro bono work                              2007


              CLAY Award (California Lawyer of the Year - civil rights) - California Lawyer Magazine        2008


              Top 75 Women Litigators in California - Daily Journal                                    2008, 2013


              California Super Lawyers - Top 50 Women Lawyers in Southern California                        2014


              National Lawyers Guild, Los Angeles Law for the People Award                                  2014


              ACLU Lifetime Achievement Award                                                               2017




                                                                                                           Page 9
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 24 of 199 Page ID
                                   #:46271




     Exhibit 2 to Sobel Declaration
Case 2:10-cv-02211-DMG-DTB
Case 2:85-cv-04544-DMG-AGR Document
                           Document 866
                                     1217-12
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                                              10/08/15   PagePage
                                                              1 of 825Page
                                                                      of 199ID Page ID
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                                    #:46272

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      8                     UNITED STATES DISTRICT COURT

      9                    CENTRAL DISTRICT OF CALIFORNIA

     10
     11 JOSE ANTONIO FRANCO-                 )    Case No.: CV 10-2211 DMG (DTBx)
        GONZALEZ, et al.,                    )
     12                                      )    ORDER APPROVING PARTIES’
             Plaintiffs-Petitioners,         )    SETTLEMENT AGREEMENT
     13                                      )    RESOLVING PLAINTIFFS’
                     v.                      )    MOTION FOR ATTORNEYS’
     14                                      )    FEES AND COSTS [827, 864]
        ERIC H. HOLDER, Jr., Attorney        )
     15 General, et al.,                     )
                                             )
     16        Defendants-Respondents.       )
                                             )
     17                                      )
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Case 2:10-cv-02211-DMG-DTB
Case 2:85-cv-04544-DMG-AGR Document
                           Document 866
                                     1217-12
                                         FiledFiled 01/12/22
                                              10/08/15   PagePage
                                                              2 of 826Page
                                                                      of 199ID Page ID
                                                                               #:22665
                                    #:46273

      1         WHEREAS, the Parties provided proper notice to the Class [Doc. # 860];
      2         WHEREAS, the Court has already approved the notice provided to the Class
      3   as satisfying the requirements of Federal Rule of Civil Procedure 23(e)(1) and due
      4   process [Doc. ## 856, 860];
      5         WHEREAS, the notice provided to the Class stated that Plaintiffs would
      6   seek attorneys’ fees and costs up to $15,000,000, and no Class Member has
      7   objected;
      8         WHEREAS, Plaintiffs did not seek the full $15,000,000 in fees and costs of
      9   which they gave notice to the Class, and instead filed a Motion for Attorneys’ Fees
     10   and Costs (“Fee Motion”) seeking $11,632,425.73 in attorneys’ fees and
     11   $81,701.73 in costs (as corrected) [Doc. ## 827, 843];
     12         WHEREAS, Defendants were granted, by order of this Court, over two
     13   months to analyze and respond to Plaintiffs’ Fee Motion and indicated that they
     14   would engage an expert to assist them in analyzing and responding to Plaintiffs’
     15   Fee Motion [Doc. ## 822 at 14-16, 825];
     16         WHEREAS, the Parties engaged in non-collusive, arms’-length negotiations
     17   to resolve Plaintiffs’ Fee Motion, and have now reached a settlement (“Fee
     18   Settlement Agreement”);
     19         WHEREAS, the Fee Settlement Agreement, attached hereto as Exhibit A, is
     20   the entire agreement between the Government and Plaintiffs regarding attorneys’
     21   fees and costs;
     22         WHEREAS, the Fee Settlement Agreement requires Defendants to pay
     23   Plaintiffs $9,500,000.00 in full satisfaction of all attorneys’ fees and costs that
     24   Plaintiffs have sought or could seek in this matter as of September 29, 2015;
     25         WHEREAS, Plaintiffs’ Fee Motion provides ample support for an award of
     26   at least $9,500,000;
     27         WHEREAS, there is no evidence of collusion between the Parties regarding
     28   fees, or of Plaintiffs putting their interests in obtaining fees ahead of the interests of

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Case 2:10-cv-02211-DMG-DTB
Case 2:85-cv-04544-DMG-AGR Document
                           Document 866
                                     1217-12
                                         FiledFiled 01/12/22
                                              10/08/15   PagePage
                                                              3 of 827Page
                                                                      of 199ID Page ID
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      1   the Class [Doc. # 854 at 15-16];
      2         The Court hereby awards Plaintiffs $9,500,000 in attorneys’ fees and costs,
      3   subject to the terms set forth in the Fee Settlement Agreement. The Fee Settlement
      4   Agreement is a compromise reached by the Parties as a result of arms’-length
      5   negotiations, including negotiations after Defendants had the opportunity to review
      6   Plaintiffs’ entire Fee Motion, which contained voluminous time records and
      7   supporting materials. The Fee Settlement Agreement does not prejudice the Class
      8   and was not the result of collusion between the Parties. The Class has received
      9   notice of Plaintiffs’ Fee Motion that complied with the requirements of Federal
     10   Rule of Civil Procedure 23(e)(1), and no Class Member has objected to the Fee
     11   Motion. The Court therefore finds the award to be fair, adequate, and reasonable.
     12         The Parties are hereby ordered to implement the terms of the Fee Settlement
     13   Agreement. The Court retains jurisdiction for the purpose of enforcing compliance
     14   with the terms of the Fee Settlement Agreement.
     15         IT IS SO ORDERED.
     16
     17   DATED: October 8, 2015                ______________________________
                                                        DOLLY M. GEE
     18
                                                UNITED STATES DISTRICT JUDGE
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Case 2:85-cv-04544-DMG-AGR Document
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                                              10/08/15   PagePage
                                                              4 of 828Page
                                                                      of 199ID Page ID
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                                                  Exhibit A
Case 2:10-cv-02211-DMG-DTB
Case 2:85-cv-04544-DMG-AGR Document
                           Document 866
                                     1217-12
                                         FiledFiled 01/12/22
                                              10/08/15   PagePage
                                                              5 of 829Page
                                                                      of 199ID Page ID
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Case 2:85-cv-04544-DMG-AGR Document
                           Document 866
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                                              10/08/15   PagePage
                                                              6 of 830Page
                                                                      of 199ID Page ID
                                                                               #:22669
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Case 2:10-cv-02211-DMG-DTB
Case 2:85-cv-04544-DMG-AGR Document
                           Document 866
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                                              10/08/15   PagePage
                                                              7 of 831Page
                                                                      of 199ID Page ID
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Case 2:10-cv-02211-DMG-DTB
Case 2:85-cv-04544-DMG-AGR Document
                           Document 866
                                     1217-12
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                                              10/08/15   PagePage
                                                              8 of 832Page
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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 33 of 199 Page ID
                                   #:46280




     Exhibit 3 to Sobel Declaration
Case 2:85-cv-04544-DMG-AGR
   Case                     Document
        2:10-cv-02211-DMG-DTB        1217-12
                              Document       Filed07/31/15
                                        838 Filed  01/12/22 Page
                                                             Page134
                                                                   of of
                                                                      23199  Page
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      1   AHILAN T. ARULANANTHAM (State Bar No. 237841)
          aarulanantham@aclusocal.org
      2   CARMEN IGUINA (State Bar No. 277369)
          ciguina@aclusocal.org
      3   ACLU FOUNDATION OF SOUTHERN CALIFORNIA
          1313 West 8th Street
      4   Los Angeles, California 90017
          Telephone: (213) 977-5211
      5   Facsimile: (213) 417-2211
      6   MICHAEL H. STEINBERG (State Bar No. 134179)
          steinbergm@sullcrom.com
      7   SULLIVAN & CROMWELL LLP
          1888 Century Park East, Suite 2100
      8   Los Angeles, California 90067-1725
          Telephone: (310) 712-6600
      9   Facsimile: (310) 712-8800
    10
          Attorneys for Plaintiffs-Petitioners
    11    (Additional Counsel for Plaintiffs on Following Page)
    12
                             UNITED STATES DISTRICT COURT
    13
                            CENTRAL DISTRICT OF CALIFORNIA
    14
    15
       JOSE ANTONIO FRANCO-                   )     Case No. 10-CV-02211 DMG (DTBx)
    16 GONZALEZ, et al.,                      )
                                              )     DECLARATION OF CAROL
    17      Plaintiffs-Petitioners,           )     SOBEL IN SUPPORT OF
                                              )     PLAINTIFFS’ MOTION FOR
    18                v.                      )     ATTORNEYS’ FEES
                                              )
    19 ERIC H. HOLDER, Jr., Attorney          )     Honorable Dolly M. Gee
       General, et al.,                       )
    20                                        )
            Defendants-Respondents.           )
    21                                        )
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                              Document       Filed07/31/15
                                        838 Filed  01/12/22 Page
                                                             Page235
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                                                                      23199  Page
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                                    #:46282
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      1   JUDY LONDON (State Bar No. 149431)
          jlondon@publiccounsel.org
      2   TALIA INLENDER (State Bar No. 253796)
          tinlender@publiccounsel.org
      3   PUBLIC COUNSEL
          610 South Ardmore Avenue
      4   Los Angeles, California 90005
          Telephone: (213) 385 2977
      5   Facsimile: (213) 385-9089
      6   JUDY RABINOVITZ (State Bar No. JR-1214)
          JRabinovitz@aclu.org
      7   ACLU IMMIGRANTS’ RIGHTS PROJECT
          125 Broad Street, 18th Floor
      8   New York, New York 10004-2400
          Telephone: (212) 549-2618
      9   Facsimile: (212) 549-2654
    10    BARDIS VAKILI (State Bar No. 247783)
          bvakili@aclusandiego.org
    11    DAVID LOY (SBN 229235)
          davidloy@aclusandiego.org
    12    ACLU OF SAN DIEGO & IMPERIAL COUNTIES
          P.O. Box 87131
    13    San Diego, California 92138
          Telephone: (619) 232-2121
    14    Facsimile: (619) 232-0036
    15    JAMES PREIS (State Bar No. 82690)
          jpreis@mhas-la.org
    16    MENTAL HEALTH ADVOCACY SERVICES
          3255 Wilshire Boulevard, Suite 902
    17    Los Angeles, California 90010
          Telephone: (213) 389-2077
    18    Facsimile: (213) 389-2595
    19    MATT ADAMS (State Bar No. 28287)
          matt@nwirp.org
    20    NORTHWEST IMMIGRANT RIGHTS PROJECT
          615 2nd Avenue, Suite 400
    21    Seattle, Washington 98104-2244
          Telephone: (206) 957-8611
    22    Facsimile: (206) 587-4025
    23    JAMES LYALL (State Bar No. 330045)
          jlyall@acluaz.org
    24    ACLU FOUNDATION OF ARIZONA
          3707 N. 7th Street, Suite 235
    25    Phoenix, Arizona 85014
          Telephone: (602) 773-6001
    26    Facsimile: (602) 650-1376
    27    Attorneys for Plaintiffs-Petitioner
    28
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        2:10-cv-02211-DMG-DTB        1217-12
                              Document       Filed07/31/15
                                        838 Filed  01/12/22 Page
                                                             Page336
                                                                   of of
                                                                      23199  Page
                                                                          Page ID ID
                                    #:46283
                                     #:21871



       1                      DECLARATION OF CAROL A. SOBEL
       2         I, CAROL A. SOBEL, declare:
       3         1.     I am an attorney admitted to practice before the Supreme Court of
       4   the State of California and the Central District of California. Because few, if any,
       5   of the public interest lawyers involved in this litigation are paid by clients to
       6   establish a market rate, I am submitting this declaration to provide the court with
       7   information concerning reasonable market rates in support of the attorney fees
       8   requested by Plaintiffs’ counsel in the above-captioned matter. I have personal
       9   knowledge of the facts set forth below and, if I were called to testify to those
      10   facts, I could and would do so competently.
      11         2.     I graduated from law school in 1978 and was admitted to practice in
      12   December of that same year. Until April of 1997, I was employed by the ACLU
      13   Foundation of Southern California (ACLU). For the six years prior to leaving, I
      14   was a Senior Staff Counsel. Throughout the time that I was an attorney at the
      15   ACLU, my primary areas of litigation were First Amendment rights and police
      16   litigation. A true and correct copy of my résumé is attached at Exhibit 1. I have
      17   received numerous awards for my work in the area of First Amendment litigation
      18   and, more recently, on behalf of homeless persons. I have been qualified as an
      19   expert in ethics and practices of public-interest legal groups, including once
      20   before the State Bar and once in the Los Angeles Superior Court.
      21         3.     For many years, I have regularly gathered and submitted
      22   declarations containing information about reasonable market rates in support of
      23   fee motions filed by civil rights lawyers in private practice and public interest
      24   attorneys in Los Angeles. My declarations have been approved by numerous
      25   courts as evidence of reasonable market rates throughout California.            The
      26   decisions that have noted my declarations favorably include, among others,
      27   Nadarajah v. Holder, 569 F.3d 906, 916-917 (9th Cir. 2009); Orantes-
      28   Hernandezv. Holder, 713 F.Supp.2d 29, 963-964(C.D.Cal.2010); Torrance

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Case 2:85-cv-04544-DMG-AGR
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        2:10-cv-02211-DMG-DTB        1217-12
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                                        838 Filed  01/12/22 Page
                                                             Page437
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                                                                      23199  Page
                                                                          Page ID ID
                                    #:46284
                                     #:21872



       1   Unified Sch. Dist. v. Magee, CV 07-2164 CAS (Rzx) (C.D.Cal. 2008), [2008
       2   U.S.Dist. Lexis 11 95074, 21]; Atkins v. Miller, CV-01-01574 DDP (C.D.Cal
       3   2007); Jochimsen v. County of Los Angeles, B223518 (2d Dist. June 23, 2011)
       4   (unpublished); Dugan v. County of Los Angeles, cv 11-08145 CAS (C.D. Cal.
       5   Mar. 3, 2014); and Flores v. City of Westminster, SA-CV-11-0278 (C.D. Cal.
       6   2014). In Jochimsen, the appellate court found me qualified as an expert on
       7   rates.
       8            4.   My current billing rate is $875 an hour for complex civil rights
       9   litigation. Although I have settled several cases calculating the lodestar on my
      10   annual rate, I have limited my discussion in this paragraph to the contested fee
      11   awards over the last six years in which judges of this Court found my rate to be
      12   reasonable.    I was awarded fees in 2008 at $695 an hour by the Hon. Manuel
      13   Real in Jones v. City of Los Angeles, 444 F.3d 1118 (2006), vacated per
      14   settlement 505 F.3d 1006 (9th Cir. 2007. In 2009, I was awarded fees at $710 an
      15   hour by the Hon. Dean Pregerson in Fitzgerald v. City of Los Angeles, 2009 U.S.
      16   Dist. LEXIS 34803 (C.D. Cal. 2009). Later in 2009, I was awarded fees at the
      17   same rate by the Hon. A. Howard Matz in Multi-Ethnic Immigrant Worker
      18   Organizing Network v. City of Los Angeles, cv 07-3072 AHM (C.D. Cal.), a
      19   hybrid class-action. Exhibit 2. In 2010, I was awarded fees at $725 an hour by
      20   the Hon. S. James Otero in Long Beach Area Peace Network v. City of Long
      21   Beach, 574 F.3d 1011 (9th Cir. 2009). Although I rarely have paying clients, I
      22   was paid at $795 an hour in 2012 in a case in which I defended an outside
      23   director of a small bank taken over and sued by the Federal Deposit Insurance
      24   Corporation (“FDIC”) in an attempt to recover investment losses.        Federal
      25   Deposit Insurance Company v. Faigin, et al., cv-12-03448 DDP (CWx) (C.D.
      26   Cal.). Most recently, the Ninth Circuit awarded me full fees in CPR for Skid
      27   Row v. City of Los Angeles, 779 F.3d 1098 (9th Cir. 2015). The 2015 rate of
      28   $875 an hour is shown in the motion filed with the Court, a copy of which is

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Case 2:85-cv-04544-DMG-AGR
   Case                     Document
        2:10-cv-02211-DMG-DTB        1217-12
                              Document       Filed07/31/15
                                        838 Filed  01/12/22 Page
                                                             Page538
                                                                   of of
                                                                      23199  Page
                                                                          Page ID ID
                                    #:46285
                                     #:21873



       1   attached at Exhibit 7.
       2         5.      As Senior Staff Counsel at the ACLU, I was responsible for
       3   preparing many fee motions in cases where the ACLU represented the prevailing
       4   party. Since the ACLU does not bill clients on an hourly basis, I had to obtain
       5   information to establish market rates for the ACLU lawyers. I did this annually
       6   by telephoning partners at firms who knew the ACLU lawyers in question so
       7   that they could make an informed judgment about the comparable skill levels of
       8   attorneys at their firms whose rates were then used to set ACLU billing rates.
       9         6.      Since entering private practice, I have continued to survey firms
      10   each year to obtain relevant comparisons for billing rates as I do not charge my
      11   clients for representation and continue to do the same type of cases as I did at the
      12   ACLU. My cases are brought on behalf of low-income persons, who are unable
      13   to afford legal representation. I generally survey annual billing rates at firms the
      14   first time each year I prepare a fee motion or enter into settlement discussions
      15   regarding fees. I apply this methodology based on my understanding of the U.S.
      16   Supreme Court in Blum v. Stenson, 465 U.S. 886 (1984), holding that
      17   representation by a non-profit legal group is not a factor in arriving at billing
      18   rates for attorneys of comparable skill, experience and reputation.           I also
      19   research information on rates approved for lawyers at boutique civil rights firms
      20   and public-interest organizations whose skills and experience are comparable to
      21   those of attorneys who do other types of complex litigation.
      22         7.      I understand that Plaintiffs are seeking market rate fees under both
      23   the Rehabilitation Act and enhanced EAJA fees for the following attorneys:
      24   Attorney          Entity         Grad.   2015    2014   2013 2012 2011        2010
      25 James Preis          MHAS          1978    $875    $850   $825   $775    $725      $685
      26 Judy Rabinovitz      ACLU IRP      1985    $825    $790   $760   $720    $680      $630

      27 Michael Steinberg    Sullivan      1986    $1040   $1020 $1010 $1000 $950          $890
           Judy London        Pub.Counsel   1990    $775    $750   $725   $680    $630      $600
      28

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Case 2:85-cv-04544-DMG-AGR
   Case                     Document
        2:10-cv-02211-DMG-DTB        1217-12
                              Document       Filed07/31/15
                                        838 Filed  01/12/22 Page
                                                             Page639
                                                                   of of
                                                                      23199  Page
                                                                          Page ID ID
                                    #:46286
                                     #:21874



       1 Matt Adams           NW IRP       1998    $710    $680   $650    $620        $580   $550
       2 A.Arulanantham       ACLUSoCal    1999    $690    $670   $640    $600        $550   $525
       3   I am informed that the rates for Michael Steinberg are discounted from his
       4   customary billing rate.
       5         8.     In addition to the attorneys listed above, I am informed that
       6   Plaintiffs are seeking market-rate fees under the Rehabilitation Act for the
       7   attorneys listed in the table below, but not enhanced EAJA rates.
       8                Attorney                  Entity          Grad.        2015
       9              Victoria Lopez           ACLU AZ            2001    $640
      10              Bardis Vakili            ACLU SDIC          2006    $535
      11              Talia Inlender           Pub. Counsel       2007    $535
      12              Sean Riordan             ACLU SDIC          2007    $535
      13
                      James Lyall              ACLU AZ            2007    $535
                      Shawn Lichaa             Sullivan           2007    $865
      14
                      Damion D.D. Robinson     Sullivan           2007    $865
      15
                      Marisol Orihuela         ACLU SoCal         2008    $510
      16
                      Asel Aliyasova           Sullivan           2008    $850
      17              Theresa Buckley          Sullivan           2008    $850
      18              Alexa Lawson-Remer       Sullivan           2009    $800
      19              Sarah Mehta              ACLU IRP           2009    $490
      20              Victor Leung             ACLU SoCal         2009    $490
      21              Jennifer Stark           ACLU SoCal         2009    $490
      22              Riddhi Mukhopadyay       NW IRP             2009    $490
                      Antonia Stamenova-       Sullivan           2009    $800
      23
                      Dancheva
      24
                      Michael Murtagh          Sullivan           2010    $750
      25
                      Carmen Iguina            ACLU SoCal         2010    $475
      26              Esha Bhandari            ACLU IRP           2010    $475
      27              Thea Bernas              Pub. Counsel       2011    $450
      28              Stephen Kang             ACLU IRP           2011    $450

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Case 2:85-cv-04544-DMG-AGR
   Case                     Document
        2:10-cv-02211-DMG-DTB        1217-12
                              Document       Filed07/31/15
                                        838 Filed  01/12/22 Page
                                                             Page740
                                                                   of of
                                                                      23199  Page
                                                                          Page ID ID
                                    #:46287
                                     #:21875



       1               Sofia Corona             ACLU SDIC       2014     $340
       2               Lauren Cruz              Sullivan        2014     $370
       3
                9.     Of the attorneys who seek enhanced EAJA rates by this motion, I am
       4
           most familiar with James Preis, Judy Rabinovitz, Judy London         and Ahilan
       5
           Arulanantham. Most of these attorneys I know primarily by reputation. I have
       6
           known James Preis for more than 30 years. Although I never worked with him
       7
           on a case, he co-counseled several cases with other staff attorneys at the ACLU
       8
           when I was there. In my experience, he is widely regarded as the expert on
       9
           mental health litigation. Similarly, I am of the opinion that Judy Rabinovitz and
      10
           Judy London are both widely respected and highly skilled immigration
      11
           attorneys. I have been at award presentations for each of them recently where
      12
           there experience and accomplishments have been detailed.
      13
                 10.    Ahilan Arulanantham and I worked together on several cases,
      14
           including Barakat v. Arrellano, CV 05-08635 SVW, a de novo hearing on the
      15
           denial of a naturalization application involving a one-week trial in the District
      16
           Court in June, 2006.       We have also worked together on other immigration-
      17
           related matters that, ultimately, were resolved without litigation. Based on my
      18
           discussions with other attorneys on Barakat, including Georgetown law
      19
           professor David Cole, and other immigration attorneys who have worked with
      20
           Mr. Arulanantham, I am of the opinion that he enjoys an exceptional reputation
      21
           as an attorney and displays skills and experience far beyond those of most
      22
           attorneys practicing for 16 years.
      23
                 11.    Finally, although they are only seeking market rates for 2015, I
      24
           know three of the ACLU attorneys. I know Sean Riordan and Bardis Vakili. I
      25
           have spoken with them about their litigation at various times and reviewed briefs
      26
           written by them. In addition, before he transferred to the ACLU of San Diego,
      27
           Mr. Vakili and I participated in a coalition working on homelessness issues in
      28
           Orange County. I also have known Marisol Orihuela since she was a summer
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Case 2:85-cv-04544-DMG-AGR
   Case                     Document
        2:10-cv-02211-DMG-DTB        1217-12
                              Document       Filed07/31/15
                                        838 Filed  01/12/22 Page
                                                             Page841
                                                                   of of
                                                                      23199  Page
                                                                          Page ID ID
                                    #:46288
                                     #:21876



       1   student at the ACLU after her first year of law school. She assisted on the
       2   Barakat case.     I continued to have contact with her and an opportunity to
       3   observe her work during the years she was at the ACLU as a fellow and then a
       4   staff attorney.   For those attorneys I do not know personally, I reviewed
       5   materials on line regarding each attorney’s experience, successful litigation they
       6   have brought, and recognition they have received for their work. With these
       7   factors in mind, I believe that all are highly skilled and enjoy exceptional
       8   reputations as such.
       9       12.     Based on my knowledge of billing rates for lawyers of similar skill,
      10   reputation a nd experience in the greater Los Angeles area, I am of the opinion
      11   that the hourly compensation sought for these attorneys is well within the range
      12   of reasonable market rates in Los Angeles. I base this opinion on the court
      13   orders and declarations of counsel identified below and attached as exhibits to
      14   my declaration. Each exhibit is a true and correct copy of the document as it
      15   appears in the Court’s records, bearing the ECF filing header for documents
      16   from the federal courts and the filing stamp for state court documents.
      17         JAMES PREIS - 1978
      18         13.    Mr. Preis and I have been practicing the same length of time. As
      19   stated above, in my experience in the civil rights community in Los Angeles
      20   over the past 37 years, James Preis is widely recognized as the expert on mental
      21   health issues. I was informed by Mr. Preis that he was awarded fees at the rate
      22   of $685 an hour in 2010 by former Judge Matz. This is below the rate I was
      23   awarded by Judge Real two years earlier in Jones v. City of Los Angeles, and
      24   below the rate of $710 an hour I was awarded in 2009 by Judges Pregerson and
      25   Matz, as well as the 2010 rate of $725 an hour I was awarded by Judge Otero.
      26   Attached at Exhibit 3 is a copy of the fee award issued in Jones. See ¶3, supra.
      27   Because the 2008 award in Jones did not set out the individual rates approved, I
      28   have also attached a copy of the Court’s order on remand, explaining the basis

                                                   6
Case 2:85-cv-04544-DMG-AGR
   Case                     Document
        2:10-cv-02211-DMG-DTB        1217-12
                              Document       Filed07/31/15
                                        838 Filed  01/12/22 Page
                                                             Page942
                                                                   of of
                                                                      23199  Page
                                                                          Page ID ID
                                    #:46289
                                     #:21877



       1   for the 2008 decision and setting out the approved rates.         See Exhibit 4.
       2   Attached at Exhibit 5 is a copy of the 2010 fee award identified in paragraph 3 in
       3   Long Beach Area Peace Network v. City of Long Beach, approving the rate of
       4   $725 an hour for me when I was practicing 32 years.
       5          14.    Attached at Exhibit 6 is an excerpt from the order awarding fees to
       6   attorneys at Litt, Estuar and Hadsell & Stormer at 2011 rates in Pierce v. County
       7   of Orange, cv-01-00981 ABC. The case involved both PRLA and non-PRLA
       8   fees. In Pierce, Barbara Hadsell was awarded market rate fees at $775 an hour
       9   for 2011. Exhibit 6, p.3. I know Ms. Hadsell personally and, on that basis, am
      10   aware that we both graduated law school in 1978, the same year as Mr. Preis.
      11   Ms. Hadsell’s approved rate for 2011 is $50 an hour higher than the historic rate
      12   sought for James Preis. In 2012, I was paid an hourly rate of $795 an hour to
      13   represent John Lannan in an action brought by the Federal Deposit Insurance
      14   Corporation (“FDIC”) to recover assets from a small regional bank that failed
      15   during the recent economic downturn. See para. 3, supra. My role in the case
      16   was to file a motion to dismiss based on procedural due process, as I would do in
      17   a civil rights case.
      18          15.    I filed no fee motions in 2013. However, I note that Mr. Preis’
      19   requested rate of $825 an hour is only $30, or 3.75 percent, above the rate I was
      20   paid on a non-contingent basis in 2012, as described in the preceding paragraph.
      21   In 2014, I filed a motion seeking fees at the rate of $875 an hour in the Ninth
      22   Circuit in Desertrain v. City of Los Angeles, 754 F.3d 1147 (9th Cir. 2014). The
      23   Circuit approved the entitlement to fees and transferred the matter to the
      24   Appellate Commissioner to determine the amount of fees.          While that was
      25   pending, the fee award in the district court in Desertrain was decided by Judge
      26   Klausner, who reduced my rate to $750 an hour, a rate just three percent above
      27   the rate I was awarded in 2010 and about an equal percentage below the hourly
      28   rate I was paid on a non-contingent basis in 2012. Because of the fee order in

                                                   7
Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page1043
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46290
                                      #:21878



        1   Desertrain, I did not raise my rate for 2015: however, just a few weeks after the
        2   settlement of fees at the reduced rate in Desertrain, the Ninth Circuit approved
        3   full fees in CPR for Skid Row v. City of Los Angeles, 779 F.3d 1098 (9th Cir.
        4   2015). Exhibit 7. My rate for the motion was $875 an hour. Exhibit 8, pp. 7,11.
        5         JUDY RABINOVITZ - 1985
        6         16.    Judy Rabinovitz seeks enhanced EAJA rates of $630 an hour for
        7   2010, $680 for 2011, $720 for 2012, $760 for 2013, $790 for 2014 and $825 for
        8   2015. Ms. Rabinovitz has been practicing the same length of time as V. James
        9   DeSimone, a named partner in the Schonbrun, DeSimone, Seplow, Harris &
       10   Hoffman firm, and Laurence Paradis, an attorney with Disability Rights
       11   Advocates (“DRA”).       She has been practicing two years longer than Ron
       12   Elsberry, an attorney formerly at DRA and then at Disability Rights Legal
       13   Center (“DRLC”), and one year less than civil rights attorney Theresa Traber. I
       14   am familiar with each of these attorneys. In my opinion, they have litigation.
       15         17.    In 2010, Laurence Paradis was awarded fees at $740 an hour in
       16   Californians for Disability Rights v. California Dept. of Transportation, 2010
       17   U.S. Dist. LEXIS 141030, C 06-05125 SBA (N.D. Cal. 2010), *15. Exhibit 9, p.
       18   11. In the same decision, Ron Elsberry was awarded fees at the rate of $640 an
       19   hour. Id. Although this decision issued in the Northern District, attorneys at
       20   DRA apply the same rates statewide. See Exhibit 11, ¶ 17 (Decl. of Laurence
       21   Paradis of Disability Rights Advocates (“DRA”) filed in the Ninth Circuit in
       22   support of the motion for attorney fees by Disability Rights Legal Center in Los
       23   Angeles Unified School District v. Michael Garcia, Ninth Circuit Case No. 10-
       24   55879) (attesting that DRA applies the same rates statewide).                    The
       25   interchangeability of rates in Los Angeles and San Francisco was also noted in
       26   Minor v. Christie, 2011 U.S. Dist. LEXIS 9219 (N.D. Cal. 2011) (rates are
       27   essentially the same in Los Angeles, San Francisco and New York). Also in
       28   2010, Jim DeSimone was awarded fees at $650 an hour in Taylor-Ewing v. City

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Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page1144
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46291
                                      #:21879



        1   of Los Angeles, cv-07-5556 GHK (C.D. Cal. 2010), an excessive force case.
        2   Exhibit 12, p. 7.
        3         18.    In 2012, in Hickman Mechanical v. FTR International, LASC Case
        4   No. BC 398074, the Court awarded fees to Theresa Traber in an anti-SLAPP
        5   case at her 2011 rate of $675 an hour. Exhibit 13, ¶ 12. Also in 2012, the Hon.
        6   David Carter approved the rate of $695 an hour for Mr. DeSimone in Charlebois
        7   v. Angels Baseball, LP., 2012 U.S. Dist. LEXIS 91069 (C.D. Cal. 2012), SACV
        8   10-0853 DOC. Exhibit 14, pp. 4,10.
        9         19.    In 2013, based on fees set at 2012 rates, the Court approved fees for
       10   Laurence Paradis at the rate of $800 an hour in Communities Actively Living
       11   Free and Independent v. City of Los Angeles, cv-09-0287 CBM (C.D. Cal. June
       12   10, 2013) based on a 2012 rate of $800 an hour. Exhibit 10, pp. 6-7.          Final
       13   approval of the settlement was entered in 2013; however, the parties reached
       14   agreement on the terms of the settlement in 2012. Exhibit 10, ¶ 3, p. 3, l.15-18.
       15         20.    In Hernandez v. Goliath, Inc., LASC BC 462953, the Los Angeles
       16   Superior Court approved the 2013 rate of $795 an hour for Theresa Traber in a
       17   lodestar crosscheck used in the settlement of a class action. Exhibit 15, p. 5, ¶ 9.
       18   Laurence Paradis of DRA attested that his 2013 rate was $825 an hour. Exhibit
       19   11 ¶ 12, Ex. A. Finally, in 2014, in Rodriguez v. County of Los Angeles, cv-10-
       20   6432 CBM (C.D. Cal. Dec. 16, 2014), fees were awarded to attorneys Ron Kaye
       21   (1988), and Dave McLane and Marilyn Bednarski (1986),at $775 an hour in a
       22   police misconduct case. Exhibit 16, p. 14.
       23         21.    Ms. Rabinovitz’s requested 2014 rate of $790 an hour is two
       24   percent above the rate approved for attorneys with one to three years less
       25   experience. Her 2015 rate of $825 an hour is the same as the 2013 rate for Mr.
       26   Paradis and less than four percent above the 2013 rate approved for Ms. Traber.
       27   Thus, the rates sought for Ms. Rabinovitz are fully consistent with            rates
       28   approved in the Central District. In fact, in most instances, they are slightly

                                                     9
Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page1245
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46292
                                      #:21880



        1   lower that the rates approved for comparable civil rights attorneys.
        2           MICHAEL STEINBERG - 1986
        3           22. I am informed that Michael Steinberg is requesting rates below the
        4   customary billing rates he applies to his commercial clients, and below Sullivan
        5   & Cromwell LLP rates approved by other courts. He seeks a rate of $890 for
        6   2010. At that time, he was practicing 24 years. I have reviewed the Declaration
        7   of Michael Steinberg submitted in support of this fee application, as well as the
        8   various court filings and decisions referenced in his declaration regarding rates
        9   approved for Sullivan & Cromwell. These rates are the customary billing rates
       10   for attorneys at the firm and have been repeatedly approved as reasonable
       11   market rates by courts across the country.
       12           23.   In addition to the evidence submitted by Mr. Steinberg, I am
       13   providing additional fee awards in the Los Angeles legal market.           These
       14   decisions support the reasonableness of the rates sought. In 2009, partners at
       15   Gibson Dunn & Crutcher were awarded fees at the rate of $785 to $905 an hour
       16   in Rogel v. City of Lynwood, 194 Cal.App.4th 1319 (2011), where the firm co-
       17   counseled with several public interest organizations, including Public Counsel.
       18   The trial judge accepted the requested rates but, because the defendant was a
       19   government entity, applied a significant negative multiplier, which was reversed
       20   by the Court of Appeal. Id. A true and correct copy of the declaration of Wayne
       21   Barsky, setting out the 2009 billing rates at Gibson Dunn, is attached at Exhibit
       22   17. Mr. Barsky, who attested in his declaration that he was a 1983 law graduate,
       23   was the highest biller at $905 an hour. Exhibit 17, p. 14.         Fees were also
       24   approved at $785 an hour for Marcellus McRae, then practicing 21 years. Id.
       25   The 2009 rate for Wayne Barsky is above the rate sought by Mr. Steinberg for
       26   2010.    Although Mr. Steinberg had two years less experience in 2010, Mr.
       27   Barsky’s rate would be expected to increase significantly for 2010. With three
       28   additional years of experience, Mr. Steinberg’s 2010 rate is approximately $100

                                                    10
Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page1346
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46293
                                      #:21881



        1   higher than the 2009 rate for Mr. McRae. It would be reasonable to anticipate
        2   that Mr. McRae’s rate would also increase significantly for 2010, reducing the
        3   differential between his rate and Mr. Steinberg’s.
        4         24.    In 2011, Skadden, Arps, Slate, Meagher & Flom LLP, was awarded
        5   attorney fees in the Mattel v. MGA Entertainment, 2011 U.S. Dist. LEXIS 85998
        6   (C.D. Cal. 2011), cv-04-9049 DOC (C.D. Cal.). The motion sought fees at the
        7   rate of $1,030 an hour for Jason Russell, a 1993 law. I obtained the year of
        8   graduation for Mr. Russell by reviewing his profile on the firm’s website.
        9   Attached at Exhibit 19 is a “Time Summary” identified as Exhibit 50 to
       10   Document 10684, setting out the rates for the Skadden counsel. With seven
       11   years more experience, Mr. Steinberg’s requested 2011 rate is well below the
       12   rate for the 1993 Skadden partner. In the same case, Orrick requested fees for a
       13   number of attorneys. Attached at Exhibit 20 is a list of the attorneys seeking
       14   fees at Orrick. Orrick partner Joshua Rosenkranz is listed with a 2011 rate of
       15   $985 an hour. Exhibit 20, p. 4.      According to what I observed on the firm’s
       16   website, he is a 1986 law graduate, the same year as Mr. Steinberg. Mr.
       17   Rosenkranz’s 2011 customary billing rate is comparable to Mr. Steinberg’s rate.
       18         25.    As further support for the rates sought by Mr. Steinberg, I have
       19   attached at Exhibit 21 an order from the United States Bankruptcy Court for
       20   Nevada, approving 2012 compensation rates for attorneys at Milbank Tweed.
       21   Circus and Eldorado Joint Venture, BK-12-51156 (D.Nev. BK 2012). The 2012
       22   standard billing rates for Milbank Tweed set out in the order were $825 to
       23   $1,140 for partners. Mr. Steinberg’s 2012 requested rate of $1,000 an hour is
       24   well within the partner range of compensation approved for Milbank Tweed
       25   attorneys.
       26         26.    Attached at Exhibit 23 is the Declaration of Hannah Cannom of
       27   Milbank, Tweed, Hadley & McCloy LLP filed in Los Angeles Unified School
       28   District v. Garcia, Ninth Circuit Case No. 10-55879, cv09-9289 VBF (C.D.

                                                    11
Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page1447
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46294
                                      #:21882



        1   Cal.).    Milbank was pro bono counsel with the Disability Rights Legal Center
        2   (“DRLC”). Ms. Cannom attested that she was a 2006 law graduate with a 2014
        3   billing rate of $800 an hour. Exhibit 23, ¶ 6. She also attested that the 2014
        4   customary rate for the partner at Milbank Tweed who worked on the case,
        5   Daniel Perry, a 1999 law graduate, was $1,135 an hour. With 14 years less
        6   experience, Mr. Perry’s 2014 rate was higher than Mr. Steinberg’s rate for 2010
        7   through 2015.
        8            JUDY LONDON - 1990
        9            27.   Ms. London seeks rates ranging from $600 an hour in 2010 to $775
       10   an hour in 2015. She graduated from law school 25 years ago. In 2010, Melissa
       11   Kasnitz, an attorney at DRA identified as a 1992 law graduate, was awarded fees
       12   at the rate of $650 an hour. Exhibit 9, p. 11. This rate is almost 10 percent
       13   above the 2010 rate sought by Ms. London. In the same decision, the Court
       14   approved fees to Julie Nepveu, an attorney with the AARP Foundation
       15   Litigation office, at $660 an hour for 2010. Id. Ms. Nepveu is identified in the
       16   order as a 1991 law graduate. Id. Ms. London seeks a rate of $630 an hour for
       17   2011, well below the 2010 approved rates for Melissa Kasnitz and Julie Nepveu.
       18   It is only slightly above the rate of $600 an hour approved for ACLU attorney
       19   Hector Villagra, a 1994 law graduate, in 2011 in Vasquez. Exhibit 18, p. 3. Ms.
       20   London’s requested rate is more than 25 percent below the 2011 rate of $820 an
       21   hour for Orrick partner Annette Hurst, who is listed on the firm’s website as a
       22   1990 law graduate.      Ms. Hurst’s rate was applied in the Mattel litigation.
       23   Exhibit 20.
       24            28.   Ms. London seeks a rate of $680 an hour for 2012. In 2013, Judge
       25   Marshall approved the 2012 rate of $700 an hour for Michelle Uzeta, identified
       26   in the decision as a 1992 law graduate. Exhibit 10, pp. 6-7. In 2012, Judge
       27   Wright approved fees for Glen Jonas and Christopher Driscoll, 1993 law
       28   graduates, at $650 an hour in a police misconduct case. See Exhibit 24, p. 5.

                                                   12
Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page1548
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46295
                                      #:21883



        1   While Ms. London’s requested rate is $30 higher than the rate approved by
        2   Judge Wright, she has three more years of experience than either Mr. Jonas or
        3   Mr. Driscoll according to the information available on their firm website and the
        4   State Bar. I reviewed both sources and also downloaded the supporting fee
        5   declarations in Dirks to form the opinion that Mssrs. Jonas and Driscoll are 1993
        6   law graduates.
        7         29.    The 2013 rate of $700 an hour, the 2014 rate of $730 an hour and
        8   the 2015 rate of $750 an hour requested for Ms. London are all below the rates
        9   approved for civil rights attorneys with less experience than Ms. London. For
       10   example, in Hernandez v. Goliath, Inc., LASC Case No. BC 462953, the Court
       11   approved fees at the 2013 rate of $695 an hour for Emily Rich of Weinberg,
       12   Roger & Rosenfeld, just $5 more than is requested as the 2013 rate for Ms.
       13   London. Exhibit 15, p. 5. Based on reviewing her profile on the firm’s website,
       14   I have formed the opinion that Ms. Rich is a 1993 law graduate.
       15         30.    Additional evidence of the reasonableness of the rates sought for
       16   Ms. London is provided in the order by Judge Otero in Avila v. Los Angeles
       17   Police Department, 11-cv-01326 SJO (C.D. Cal. Aug. 5, 2012), awarding fees at
       18   the 2012 hourly rate of $700 an hour to Matthew McNicholas, a 1997 law
       19   graduate. See Exhibit 25, p. 5. The next year, in a declaration filed in Simplis v.
       20   Culver City Police Dept., cv 10-09497 MWF (C.D. Cal. 2013) [Dkt.# 257-1],
       21   Mr. McNicholas attested that his 2013 rate was $750 an hour. Exhibit 26, ¶ 16.
       22   Based on my review of the PACER docket, I understand that the Simplis case
       23   settled. Ms. London has seven years more experience than Mr. McNicholas. Her
       24   requested rates are also reasonable when measured against the rates previously
       25   approved for Peter Eliasberg, a 1994 law graduate at the ACLU, was awarded
       26   fees in post-appeal proceedings in Vasquez in 2014 at the rate of $730 an hour,
       27   the same rate Ms. London seeks for 2014. Exhibit 27; Exhibit 28, p. 7.
       28         31.    As a point of comparison with commercial rates in similarly

                                                    13
Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page1649
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46296
                                      #:21884



        1   complex litigation in the Central District, attached at Exhibit 23 is the 2014 fee
        2   declaration filed by Hannah Cannom, then an associate at Milbank Tweed &
        3   Hadley and pro bono co-counsel in the Garcia case with attorneys from the
        4   Disability Rights Legal Center. Ms. Cannom attested to the fact that she was
        5   then an eighth-year associate and that her 2014 rate was $800 an hour. Exhibit
        6   23, ¶¶ 2,6. The senior Milbank attorney on the case, a 1997 law graduate, was
        7   billed at $1,135 an hour, more than 50 percent above the rate now sought for Ms.
        8   London with nearly a decade more experience. Id. at ¶ 7.          Other Milbank
        9   attorneys for whom fees were sought in the case included a 2002 graduate with
       10   12 years’ experience billed at $900 an hour in 2014 and a 2008 graduate billed at
       11   the 2014 rate of $760 an hour. Id. at ¶¶ 8,10.
       12         MATT ADAMS 1998 and AHILAN ARULANANTHAM 1999
       13         32.    I have discussed Matt Adams and Ahilan Arulanantham in the same
       14   section because there is only one year difference in their experience.         In
       15   addition, there are very few civil rights attorneys in Los Angeles who are 1998
       16   law graduates. Matt Adams seeks a market rate of $710 for 2015, $680 for 2014,
       17   $650 for 2013, $620 for 2012, $580 for 2011 and $550 for 2010.             Ahilan
       18   Arulanantham seeks a market rate of $690 for 2015, $670 for 2014, $640 for
       19   2013, $600 for 2012, $550 for 2011 and $525 for 2010. Mr. Arulanantham was
       20   awarded fees at the rate of $550 an, hour in 2011 in Islamic Shura Council of
       21   Southern Counsel v. Federal Bureau of Investigation, 2011 U.S. Dist. LEXIS
       22   143832, SACV 07-1088 CJC (C.D. Cal. Dec. 14, 2011), rev’d on other grounds,
       23   725 F.3d 1012 (9th Cir. 2013). I understand that the sanctions upon which the
       24   fee award was based were later overturned for reasons unrelated to the nature or
       25   amount of the fee award.
       26         33.    In 2012, Judge Otero approved $700 an hour for Matthew
       27   McNicholas, a 1997 law graduate, in Avila v. Los Angeles Police Department,
       28   11-cv-01326 SJO (C.D. Cal. Aug. 2, 2012), an employment/First Amendment

                                                    14
Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page1750
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46297
                                      #:21885



        1   retaliation case against the Los Angeles Police Department. Exhibit 25, p. 4. I
        2   am familiar with the McNicholas law firm. In the past, Patrick McNicholas and
        3   I had similar cases on behalf of female officers with the Los Angeles Police
        4   Department subjected to sex discrimination. McNicholas and McNicholas is a
        5   small civil rights firm, primarily engaged in employment and civil rights
        6   litigation.   Based on reviewing the docket and speaking to Mr. Galipo’s
        7   associate, it is my understanding that the fees and damages were resolved by a
        8   settlement. This rate of $700 an hour is considerably above the 2012 rates of
        9   $620 and $600 an hour requested for Mssrs. Adams and Arulanantham,
       10   respectively. In Communities Actively Living, the Court approved the 2012 rate
       11   of $665 an hour for Shawna Parks, identified in the order as a 1999 law
       12   graduate. Exhibit 10, pp. 6,7.
       13          34.    In Simplis v. Culver City Police Department, 10-cv-09497 MWF, a
       14   wrongful death case. I filed a fee declaration for attorney Dale Galipo, who
       15   represented a co-plaintiff in Simplis. Simplis The Simplis attorneys sought $750
       16   an hour for Matthew McNicholas, a 1997 graduate and the same attorney who
       17   was awarded fees in 2012 in Avila. Mr. McNicholas’ declaration in Simplis is
       18   attached at Exhibit 26. In Avila, Judge Otero rejected the defense assertion that
       19   McNicholas should only receive $650 an hour and approved the 2012 rate of
       20   $700 an hour based on the Court’s conclusion that rates increase as attorneys
       21   gain more skills. See Exhibit 25, pp. 3-4. Mr. Adams is practicing two years
       22   longer than Mr. McNicholas was when he was awarded fees in Avila. His
       23   requested 2015 rate is only $10 above the rate approved for Mr. McNicholas in
       24   2012. Mr. Arulanantham has now been practicing for 15 years, the same length
       25   of time that Matthew McNicholas was when he was awarded fees in 2012 at
       26   $700 an hour in Avila. Mr. Arulanantham’s requested 2015 rate is $10 below the
       27   rate approved for Matthew McNicholas in 2012 in Avila.
       28          35.    In his declaration filed in the Garcia case, Laurence Paradis attested

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Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page1851
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46298
                                      #:21886



        1   that the 2013 rate for a 1998 law graduate at DRA was $655 an hour. See
        2   Exhibit 11, Ex. A. For 2012, the rate for the same attorney was $645 an hour.
        3   Exhibit 11, Ex. B. Mr. Paradis also attested that the 2013 rate for Shawna Parks,
        4   a 1999 law graduate like Mr. Arulanantham, was $675 an hour. Exhibit 11, Ex.
        5   A. The requested 2012 rates of $600 and $620, as well as the 2013 rates of $640
        6   and $650 for Mr. Arulanantham and Mr. Adams, respectively, are below the
        7   comparable year rates for attorneys practicing the same length of time at DRA.
        8   Exhibit 11. In 2014, the Court awarded fees at the rate of $640 an hour to Mr.
        9   Arulanantham’s colleague at the ACLU, Peter Bibring, a 2002 law graduate with
       10   12 years of experience in 2014. See Exhibit 27; Exhibit, 28 at ¶ 16. With three
       11   additional years of experience, Mr. Arulanantham requests a 2014 rate only $30
       12   an hour higher than the rate approved for Peter Bibring. This rate is also only
       13   $10 above the $600 an hour approved by Judge Marshall for Kevin LaHue, a
       14   2004 law graduate, in Rodriguez. Exhibit 16, p. 14.
       15         36.   As a point of comparison to comparable attorneys in large firms, I
       16   have submitted a declaration filed in the Eastern Division in Jones v. Upland
       17   Housing Authority, EDCV 12-2074 VAP (C.D. Cal. Feb. 24, 2014), by Amy
       18   Lally, a partner at Sidley Austin in Los Angeles serving as co-counsel with
       19   public interest lawyers. Exhibit 22. Ms. Lally attested that she is a 1998 law
       20   graduate and that her 2012 customary billing rate was $700 an hour and her
       21   2014 rate was $825 an hour, an increase of almost 20 percent in just two years.
       22   Ms. Lally’s 2014 rate is more than 20 percent higher than Mr. Adams’ requested
       23   rate of $680 and Mr. Arulanantham’s rate of $670.
       24         2015 RATES FOR SULLIVAN & CROMWELL ASSOCIATES
       25         37.   Sullivan & Cromwell is seeking compensation for 2007, 2008 and
       26   2009 law graduates at the 2015 rate of $865 an hour. These rates are supported
       27   by the declaration of Michael Steinberg and the various orders and awards
       28   identified in, and submitted with, his declaration. In addition to the evidence

                                                   16
Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page1952
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46299
                                      #:21887



        1   submitted by Mr. Steinberg, additional support for these market rates is found in
        2   the rates for Milbank Tweed.       Milbank attorney Hannah Cannom attested that
        3   her billing rate for 2014 was $800 an hour with eight years of experience.
        4   Exhibit 23, ¶¶ 2,6. This rate is comparable to the $865 requested for the Sullivan
        5   2007 associates.     It represents approximately a 7.5 percent increase for an
        6   additional year of experience and an increase in base rates.
        7         38.    Similarly, the rates for sixth-year associates are comparable.
        8   Milbank Tweed’s 2014 billing rate for an associate with six years of experience
        9   was $760 an hour. Sullivan now requests $800 an hour, which is little more than
       10   a five percent increase from 2014. The rate requested for the 2010 law graduate
       11   is also reasonable when compared to the Milbank 2014 rates.             Last year,
       12   Milbank billed an associate with six years of experience at $760 an hour. With
       13   one year less experience, but allowing for a rise in base rates for all associates,
       14   the Sullivan rate is $10 below the 2014 Milbank rate for an associate with one
       15   year less experience. Sullivan also seeks fees at a 2015 market rate of $370 an
       16   hour for a 2014 law graduate. In 2009, Gibson Dunn billed an attorney with the
       17   same experience at $345 an hour. Exhibit 17, p. 15. The $25 differential in these
       18   rates over six years is little more than a $4 a year increase. As demonstrated by
       19   the various fee awards submitted with my declaration, this is far below the actual
       20   increases in rates over the past six years.
       21         2015 RATE FOR 2001 GRADUATE
       22         39.    The requested 2015 rate for Victoria Lopez, a 2001 law graduate, of
       23   $640 an hour is also consistent with the rates approved for civil rights attorneys.
       24   For example, in 2014, Peter Bibring, a 2002 law graduate and a staff attorney at
       25   the ACLU of Southern California, was awarded fees at $640 an hour by the Hon.
       26   Valerie Baker Fairbank in Vasquez. Exhibits 27 and 28. With two additional
       27   years of experience, Ms. Lopez seeks the same rate for 2015 that was approved
       28   for Mr. Bibring last year. Ms. Lopez’s requested rate is comparable to the 2013

                                                      17
Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page2053
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46300
                                      #:21888



        1   rate of $585 an hour approved for Laboni Hoq. See Exhibit 15, p. 5. Both are
        2   2001 law graduates; however, Ms. Lopez has two additional years of experience
        3   at this point.   The $55 difference in their rates represents an increase of
        4   approximately 4.55 annually, including both an adjustment of base rates an step
        5   increases.
        6         2015 RATE FOR 2007 GRADUATES
        7         40.    Three attorneys graduated in 2007. They seek fees at the 2015 rate
        8   of $535 an hour. They are now practicing eight years. In Rodriguez, Judge
        9   Marshall approved the 2014 rate of $600 an hour for Kevin LaHue, identified as
       10   a 2006 law graduate. Exhibit 16, p. 14. In Communities Actively Living, Judge
       11   Marshall approved the 2012 rate of $555 an hour for Mary-Lee Smith, a
       12   seventh-year attorney.   Exhibit 10, p. 6.     In the same decision, the Court
       13   approved $525 an hour as the 2012 rate for Matthew Strugar, then an eighth-year
       14   attorney. I am very familiar with Sean Riordan, who was an attorney with the
       15   ACLU of San Diego and Inland Counties until recently. I am also very familiar
       16   with Matthew Strugar, as previously stated, as he was my law clerk and is now
       17   my co-counsel. Their skills are comparable as attorneys practicing eight years.
       18   The $10 difference in their rates is insignificant in view of the three year time
       19   difference since the rates approved for Communities Actively Living.
       20         2015 RATE FOR 2008 GRADUATE
       21         41.    The 2008 graduate, Marisol Orihuela, is now practicing seven
       22   years. She seeks a rate of $510 an hour. In 2012, Judge Marshall approved the
       23   rate of $555 an hour for Mary-Lee Smith of Disability Rights Advocates, then
       24   practicing the same length of time. Exhibit 10, p. 6. That same year, Judge
       25   Carter approved the rate of $460 an hour for David Sarnoff, then an associate at
       26   Schonbrun DeSimone. Exhibit 14, p. 8. Ms. Orihuela’s proposed rate is at the
       27   mid-point of what district court’s awarded to civil rights lawyers with seven
       28   years experience three years ago.

                                                   18
Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page2154
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46301
                                      #:21889



        1         2015 RATE FOR 2009 GRADUATES
        2         42.    The 2009 graduates are now practicing six years. They seek a 2015
        3   rate of $490 an hour. In Communities Actively Living, the Court approved the
        4   2012 rates of $430-450 an hour for attorneys then practicing five years. Exhibit
        5   10, pp. 6-7. In Rodriguez, Judge Marshall approved the 2014 rate of $500 an
        6   hour for Caitlin Weisberg, identified as a 2008 law graduate. Exhibit 16, p. 14.
        7   Laurence Paradis attested that the rate for a sixth-year attorney at DRA in 2013
        8   was $455. Exhibit 11. The increase of $35 over two years represents an annual
        9   increase of approximately 3.5 percent.
       10         2015 RATE FOR 2010 GRADUATES
       11         43.    The 2010 graduates are now practicing five years. They seek a 2015
       12   rate of $475 an hour.      As noted in the preceding section, in Communities
       13   Actively Living, Judge Marshall approved rates of $430 to $450 an hour for civil
       14   rights attorneys practicing five years at the time. Exhibit 10, pp. 6,7. The
       15   increase of the base rate over three years is a modest 1.5 to 3.3 percent annual
       16   increase. In 2010, DRA attorney Mary Lee Kimber was awarded fees at the
       17   same rate of $475 an hour when she was practicing five years. Exhibit 9, p. 11.
       18         2015 RATE FOR 2011 GRADUATES
       19         44.    The 2011 graduates are now practicing four years. They seek a
       20   2015 market rate of $450 an hour. In Charlebois, Judge Carter awarded fees to
       21   Schonbrun DeSimone associate Amanda Canning, a 2006 graduate, at the 2010
       22   rate of $450 an hour. Exhibit 14, p. 10. The rate of $450 an hour is the same as
       23   the 2012 rate approved for a fifth-year attorney in Communities Actively Living.
       24   Exhibit 10, pp. 6,7. This rate is the same rate approved by Judge Otero in Avila
       25   for Alyssa Shabloski, a 2008 law graduate with the McNicholas law firm in
       26   Avila. Exhibit 25, p. 4. At the time of this award in 2012, Ms. Shabloski had
       27   only four years of experience.
       28         2015 RATE FOR 2014 GRADUATE

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Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page2255
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46302
                                      #:21890



        1             45.   Plaintiffs are seeking fees at $340 an hour for the 2014 graduate.
        2   The 2013 rate for a second-year attorney at DRA was $295 an hour. Exhibit 11,
        3   Ex. A. The Court approved the 2012 rate of $330 an hour for Kara Janssen,
        4   identified as a 2010 graduate.       Exhibit 10, p. 7.   Also in 2012, the Court
        5   approved the rate of $325 an hour for Menaka Fernando, listed as a 2010
        6   graduate. Exhibit 14, p. 8.
        7             PARALEGALS AND LAW STUDENTS:
        8             46.   Plaintiffs also seek compensation for paralegals with varying
        9   degrees of experience. As the exhibits attached to my declaration demonstrate,
       10   it is the practice in Los Angeles to bill the time of paralegals. The rates recently
       11   approved for paralegals in civil rights cases range from $150 an hour for a
       12   certificated, but relatively new paralegal, to $260 an hour for a highly
       13   experienced paralegal.      In Hickman, the Court approved the 2011 paralegal
       14   billling rate of $200 an hour at the firm of Traber & Voorhees. Exhibit 13, ¶ 12.
       15   In 2011 in Vasquez, Judge Baker approved compensation for paralegals at the
       16   ACLU at rates ranging from $165 an hour to $200 an hour. Exibit 18, p. 3. In
       17   Charlebois, Judge Carter approved compensation for paralegals at Schonbrun
       18   DeSimone at a 2012 rate of $150 an hour. Exhibit 14, p. 8. The 2012 rates
       19   approved for paralegals in Communities Actively Living ranged from $230 to
       20   $240 an hour. Exhibit 10, p. 7. In Hernandez, the Court approved fees to
       21   Traber & Voorhees at $200 to $250 an hour for time incurred by paralegals.
       22   Exhibit 15, p. 5. In 2014 in Rodriguez, the Court approved paralegal rates of
       23   $175 to $295 an hour at the Kaye, McLane, Bednarski & Litt firm. Exhibit 16,
       24   p. 14.1
       25             47.   In Charlebois, the Court approved $200 an hour for law students at
       26
       27
                 Michael Steinberg’s Declaration and Exhibits provide support for the rates
                 1

       28    of Sullivan & Cromwell LLP support staff.
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Case 2:85-cv-04544-DMG-AGR
  Case  2:10-cv-02211-DMG-DTBDocument 1217-12
                               Document        Filed
                                         838 Filed   01/12/22Page
                                                   07/31/15   Page2356
                                                                     ofof
                                                                        23199 Page
                                                                            Page ID ID
                                     #:46303
                                      #:21891



        1   Schonbrun DeSimone. Exhibit 14, p. 8. In Jones v. City of Los Angeles, Judge
        2   Real approved fees for law clerks at $200 an hour for 2008. Exhibit 4, p. 4. The
        3   rate approved for DRA summer law clerks in Communities Actively Living was
        4   $250 an hour. Exhibit 10, p.7. In Hernandez, the Court approved fees for law
        5   clerks at Traber & Voorhees at $225 an hour for 2013. Exhibit 15, p. 5, ¶ 9.
        6         48.    Based on all of the decisions and declarations identified above, I am
        7   of the opinion that the rates sought by this motion are well within the range of
        8   reasonable market rates for attorneys of comparable skill, experience and
        9   reputation engaged in similarly complex litigation in the Central District.
       10
       11         I declare under penalty of perjury that the foregoing is true and correct.
       12
            Executed this 31st day of July, 2015, at Los Angeles, California.
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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 57 of 199 Page ID
                                   #:46304




     Exhibit 4 to Sobel Declaration
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                           11365823, DktEntry:
                                                  Filed        88, Page 1
                                                        01/12/22        58ofof22
                                                                               199 Page ID
                                         #:46305
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                          UNITED STATES COURT OF APPEALS                      JUL 17 2019

                                                                         MOLLY C. DWYER, CLERK
                                 FOR THE NINTH CIRCUIT                    U.S. COURT OF APPEALS




    GUILLERMO GOMEZ-SANCHEZ,                        No.   14-72506

                   Petitioner,                      Agency No. A092-924-179
     v.

    WILLIAM P. BARR, Attorney General,              ORDER

                   Respondent.

   Before: Peter L. Shaw, Appellate Commissioner.

                                           I
                                       Background

          Guillermo Gomez-Sanchez, a Mexican citizen, was charged with

   removability and applied for withholding of removal and relief under the

   Convention Against Torture (“CAT”). See Gomez-Sanchez v. Sessions, 892 F.3d

   985, 988 (9th Cir. 2018). Gomez-Sanchez, who has schizophrenia and speaks poor

   English, was detained for two-and-one-half years while his case was

   administratively closed to obtain a competency evaluation. After a pro bono

   attorney learned about Gomez-Sanchez’s case and began representing him, an

   Immigration Judge (“IJ”) determined that Gomez-Sanchez was statutorily

   ineligible for withholding of removal because he had been convicted of a


   MH/Appellate Commissioner
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                           11365823, DktEntry:
                                                  Filed        88, Page 2
                                                        01/12/22        59ofof22
                                                                               199 Page ID
                                         #:46306



   particularly serious crime, and that an applicant’s mental health as a factor in a

   criminal act falls within the criminal court’s province and is not a factor to be

   considered in the particularly serious crime analysis. Id. The IJ also determined

   that Gomez-Sanchez was entitled to deferral of removal under the CAT. Id. at 989

   n.2.

          Gomez-Sanchez appealed the IJ’s denial of withholding of removal. Id. at

   988, 989. The Board of Immigration Appeals (“BIA”) issued a published decision

   dismissing the appeal, and remanded for background checks needed for CAT

   relief. Id. at 988.

          Gomez-Sanchez filed a petition for review of the denial of withholding of

   removal. Id. at 989. This court granted the petition, vacated the BIA’s decision,

   and remanded to the BIA for further proceedings consistent with its amended

   opinion. Id. at 988, 989, 996-97. The court held that the agency must take all

   relevant information into consideration when making the particularly serious crime

   determination, including the individual’s mental condition at the time of the crime,

   whether it was considered during the criminal proceedings or not, and that the

   BIA’s interpretation of the Immigration and Nationality Act was not entitled to

   deference. Id. at 996-97. Gomez-Sanchez filed a petition for panel rehearing




   MH/Appellate Commissioner                  2                                    14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                           11365823, DktEntry:
                                                  Filed        88, Page 3
                                                        01/12/22        60ofof22
                                                                               199 Page ID
                                         #:46307



   requesting to change part of the court’s opinion that cited a BIA decision then

   under review. The court amended the opinion and denied rehearing. Id. at 987.

          Gomez-Sanchez filed a motion for attorneys’ fees under the Equal Access to

   Justice Act (“EAJA”), 28 U.S.C. § 2412. The government filed an opposition, and

   Gomez-Sanchez filed a reply. The court granted the motion and referred the fee

   amount determination to the Appellate Commissioner. See 9th Cir. R. 39-1.9.

                                            II
                                        Discussion

   A. Attorneys’ Fees

          “The most useful starting point for determining the amount of a reasonable

   fee is the number of hours reasonably expended on the litigation multiplied by a

   reasonable hourly rate.” Hensley v. Eckerhart, 461 U.S. 424, 433 (1983).

          Gomez-Sanchez requests $109,960.42 in attorneys’ fees for 232.93 hours of

   work by five attorneys and one paralegal from the ACLU Foundation of Southern

   California and the ACLU Foundation of San Diego and Imperial Counties.1

   Gomez-Sanchez requests enhanced, prevailing market hourly rates of $710 to $785

   for attorney Ahilan T. Arulanantham, $510 to $620 for attorney Bardis Vakili, and

   $450 to $475 for attorney Carmen Iguina. Gomez-Sanchez requests cost-of-living-

          1
           The result of the requested hours multiplied by the requested hourly rates
   is $109,960.42. An unexplained $0.02 “time slip adjustment” is disallowed.

   MH/Appellate Commissioner                 3                                   14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                           11365823, DktEntry:
                                                  Filed        88, Page 4
                                                        01/12/22        61ofof22
                                                                               199 Page ID
                                         #:46308



   adjusted EAJA statutory maximum hourly rates of $190.06 for 2014, $190.28 for

   2015, $192.68 for 2016, and $200.78 for 2018 for attorney Lorie Alexander,

   attorney Jonathan Markovitz, and paralegal Geneva Tien.

          1. Enhanced Hourly Rates

          The government objects to awarding enhanced hourly rates for

   Arulanantham, Vakili, and Iguina. EAJA provides that fees may be awarded based

   upon prevailing market rates for the kind and quality of the services furnished,

   except that attorneys’ fees shall not be awarded in excess of $125 per hour unless

   the court determines that an increase in the cost of living or a special factor, such

   as the limited availability of qualified attorneys for the proceedings involved,

   justifies a higher fee. See 28 U.S.C. § 2412(d)(2)(A).

                  a. Special Factor Enhancement

          Gomez-Sanchez requests enhanced hourly rates based on the special factor

   of the limited availability of qualified attorneys for the proceedings involved. Id.

   In support of the request, Gomez-Sanchez provides declarations by Arulanantham,

   Iguina, and experienced Los Angeles immigration attorney Stacy Tolchin and Los

   Angeles civil rights attorney Carol Sobel.

          Enhanced hourly rates based on the special factor of the limited availability

   of qualified attorneys for the proceedings involved may be awarded where the

   MH/Appellate Commissioner                    4                                     14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                           11365823, DktEntry:
                                                  Filed        88, Page 5
                                                        01/12/22        62ofof22
                                                                               199 Page ID
                                         #:46309



   attorneys “hav[e] some distinctive knowledge or specialized skill needful to the

   litigation in question [that] can be obtained only at rates in excess of the [statutory]

   cap.” Pierce v. Underwood, 487 U.S. 552, 572 (1988).

                         i. Distinctive Knowledge Or Specialized Skill

          Gomez-Sanchez shows, and the government does not dispute, that

   Arulanantham has distinctive knowledge and specialized skill “in constitutional

   immigration law and litigation involving the rights of detained immigrants,” as this

   court determined in awarding enhanced hourly rates in Nadarajah v. Holder, 569

   F.3d 906, 912 (9th Cir. 2009), as well as at the intersection of criminal,

   immigration, mental health, and disability law, and that Vakili and Iguina have

   distinctive knowledge and specialized skill at the intersection of immigration and

   mental health law.

          Arulanantham has 15 years of experience as an ACLU attorney litigating

   numerous cases involving the intersection of criminal and immigration law, as well

   as the statutory and constitutional rights of non-citizens. Vakili has 11 years of

   experience as an ACLU attorney representing individuals with mental disabilities

   and individuals subject to removal for criminal convictions in immigration

   proceedings. Iguina spent five years as an ACLU attorney working on many cases

   at the intersection of mental health and immigration issues.

   MH/Appellate Commissioner                   5                                     14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                           11365823, DktEntry:
                                                  Filed        88, Page 6
                                                        01/12/22        63ofof22
                                                                               199 Page ID
                                         #:46310



          Arulanantham was lead counsel in Nadarajah, where the court concluded

   that Nadarajah’s indefinite detention was unreasonable, unjustified, and illegal;

   reversed the district court’s denial of Nadarajah’s habeas corpus petition; and

   ordered Nadarajah’s immediate release. See Nadarajah v. Gonzales, 443 F.3d

   1069, 1084 (9th Cir. 2006). Arulanantham was co-lead counsel, and Vakili and

   Iguina were co-counsel, in Franco-Gonzales v. Holder, 2013 WL 3674492, at *20

   (C.D. Cal. 2013), where the court held as a matter of first impression under Section

   504 of the Rehabilitation Act that detained mentally ill immigrants have a right to

   counsel. Franco resulted in an injunction requiring the government to identify and

   provide counsel to mentally ill immigrants in detention. See Franco-Gonzalez v.

   Holder, 2018 WL 8115423, at *1-2 (C.D. Cal. 2013). Later, the government

   voluntarily chose to apply the Franco injunction nationwide.

          Arulanantham, Vakili, and Iguina were awarded the American Immigration

   Lawyers’ Association Jack Wasserman Memorial Award for Excellence in the

   Field of Immigration Law for their Franco-Gonzales work. Arulanantham has

   received many other awards for his immigration work, including a MacArthur

   Fellowship, and he serves as a resource for immigration attorneys nationwide.

   Tolchin states that Arulanantham is “unquestionably one of the most skilled

   [immigration] litigators in the country,” and that Arulanantham, Vakili, and Iguina

   MH/Appellate Commissioner                 6                                       14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                           11365823, DktEntry:
                                                  Filed        88, Page 7
                                                        01/12/22        64ofof22
                                                                               199 Page ID
                                         #:46311



   all have particular knowledge and specialized skill in immigration cases involving

   people with serious mental disorders.

                         ii. Needful To The Litigation In Question

          The government argues that Gomez-Sanchez has not shown that

   Arulanantham’s, Vakili’s, and Iguina’s distinctive knowledge or specialized skill

   was needful to the litigation in question, or that “knowledge of foreign cultures or

   of particular, esoteric nooks and crannies of immigration law . . . [was] needed to

   give the alien a fair shot at prevailing.” Thangaraja v. Gonzales, 428 F.3d 870,

   876 (9th Cir. 2005). The government argues that Gomez-Sanchez’s case was

   dictated by existing Ninth Circuit precedent and was not as novel or complex as

   Nadarajah, where Arulanantham’s prevailing market hourly rates were awarded,

   and that Gomez-Sanchez’s case did not involve Arulanantham’s distinctive

   knowledge or specialized skill in constitutional immigration law and litigation

   involving detained immigrants’ rights, as Nadarajah did. See Nadarajah, 569 F.3d

   at 913-15. The government argues that the court did not address Gomez-Sanchez’s

   argument that the BIA’s categorical bar against considering mental health in the

   particularly serious crime analysis discriminates against the mentally disabled in

   violation of the Rehabilitation Act, see Gomez-Sanchez, 892 F.3d at 997 n.11, and

   that only the Rehabilitation Act argument required the attorneys’ distinctive

   MH/Appellate Commissioner                  7                                    14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                           11365823, DktEntry:
                                                  Filed        88, Page 8
                                                        01/12/22        65ofof22
                                                                               199 Page ID
                                         #:46312



   knowledge or specialized skill at the intersection of criminal, immigration, mental

   health, and disability law. The government’s arguments lack merit.

          Like Nadarajah, Gomez-Sanchez’s case involved more than established

   principles of law with which the majority of attorneys are familiar, and more than a

   straightforward application of the rules of immigration law and appellate practice.

   See Nadarajah, 569 F.3d at 914; Ramon-Sepulveda v. INS, 863 F.2d 1458, 1462-63

   (9th Cir. 1988). Gomez-Sanchez’s case was novel and complex, as evidenced by

   the court’s lengthy amended opinion holding that the BIA’s published decision

   interpreting the Immigration and Nationality Act to establish the categorical bar

   was contrary to congressional intent, unreasonable, based on a flawed assumption,

   inconsistent with earlier BIA decisions, and not entitled to deference. See Gomez-

   Sanchez, 892 F.3d at 990-97. Indeed, the government argues elsewhere in its

   opposition that its position was substantially justified because the BIA decision

   was “a novel but credible extension or interpretation of the law.”

          Arulanantham’s distinctive knowledge or specialized skill in constitutional

   immigration law and litigation involving detained immigrants’ rights was

   necessary to this litigation, as it was in Nadarajah. Moreover, Arulanantham’s

   distinctive knowledge or specialized skill at the intersection of criminal,

   immigration, mental health, and disability law, and Vakili’s and Iguina’s

   MH/Appellate Commissioner                  8                                   14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                           11365823, DktEntry:
                                                  Filed        88, Page 9
                                                        01/12/22        66ofof22
                                                                               199 Page ID
                                         #:46313



   distinctive knowledge or specialized skill at the intersection of immigration and

   mental health law were needed to give Gomez-Sanchez a fair shot at prevailing

   here. Although the court determined in light of its disposition not to address the

   Rehabilitation Act argument, see Gomez-Sanchez, 892 F.3d at 997 n.11, Gomez-

   Sanchez’s attorneys’ distinctive knowledge or specialized skill was necessary to

   every argument presented, not only the Rehabilitation Act argument.

          As Tolchin states, even though the court decided Gomez-Sanchez’s case

   under existing law, the preparation and presentation of Gomez-Sanchez’s briefs

   and oral argument, which effectively demonstrated to the court that the BIA’s

   decision was not entitled to deference, required the attorneys’ distinctive

   knowledge or specialized skill regarding particular, esoteric nooks and crannies of

   federal immigration and state criminal law. See Thangaraja, 428 F.3d at 876.

   Specifically, Gomez-Sanchez’s case involved an interplay of the laws governing

   the consideration in removal proceedings of whether an individual has been

   convicted of a particularly serious crime and is a danger to the community, the

   question whether reliable, relevant evidence of mental health at the time of a crime

   must be considered in removal proceedings, the mens rea element of criminal

   offenses, and the insanity defense in criminal cases. See Gomez-Sanchez, 892 F.3d

   at 990-97.

   MH/Appellate Commissioner                 9                                    14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page10
                                                                       67of
                                                                          of22
                                                                             199 Page ID
                                         #:46314



                         iii. Not Available Elsewhere At Statutory Rate

          The government argues that Gomez-Sanchez has not shown, and Tolchin’s

   declaration does not state, that Arulanantham’s, Vakili’s, and Iguina’s distinctive

   knowledge or specialized skill was not available elsewhere at cost-of-living-

   adjusted EAJA statutory maximum hourly rates, citing United States v. Real Prop.

   Known As 22249 Dolorosa St., 190 F.3d 977, 985 (9th Cir. 1999) and Ramon-

   Sepulveda, 863 F.2d at 1463. In the government’s cases, however, courts had

   determined that distinctive knowledge or specialized skills were not needed for the

   litigation. Id.

          Also, Gomez-Sanchez submits in reply a second declaration by Tolchin,

   stating that “I know of no one with expertise in the specialized subject matter

   needed to litigate this case who would have been available to do so at the statutory

   EAJA rate of $200.78 an hour. I am confident that no such person exists.”

   Tolchin’s second declaration satisfies Gomez-Sanchez’s burden to show that

   qualified counsel is not available elsewhere at the cost-of-living-adjusted EAJA

   statutory maximum hourly rates. See Nadarajah, 569 F.3d at 915 (citing Atl. Fish

   Spotters Ass’n v. Daley, 205 F.3d 488, 493 (1st Cir. 2000)); Pirus v. Bowen, 869

   F.2d 536, 542 (9th Cir. 1989).




   MH/Appellate Commissioner                  10                                     14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page11
                                                                       68of
                                                                          of22
                                                                             199 Page ID
                                         #:46315



                         iv. Prevailing Market Hourly Rates

          The government argues that Gomez-Sanchez has not shown that the

   requested enhanced hourly rates of $710 to $785 for Arulanantham, a 1999 law

   school graduate; $510 to $620 for Vakili, a 2006 law school graduate; and $450 to

   $475 for Iguina, a 2010 law school graduate, are “in line with those prevailing in

   the community for similar services by lawyers of reasonably comparable skill,

   experience and reputation.” Blum v. Stenson, 465 U.S. 886, 895 n.11 (1984). The

   government argues that Sobel’s declaration is not probative of prevailing market

   hourly rates for immigration litigation, because her expertise is in complex civil

   rights and class action litigation and her opinion relies on hourly rates for large

   commercial law firms engaged in complex business litigation. The government

   argues that Tolchin’s declaration does not state the prevailing market hourly rate

   for immigration practitioners in the relevant community, or her own hourly rate.

   The government’s arguments lack merit.

          The market for Gomez-Sanchez’s attorneys’ services is defined more

   broadly than immigration cases. See Blum, 465 U.S. at 893; Prison Legal News v.

   Schwarzenegger, 608 F.3d 446, 455 (9th Cir. 2010); Van Skike v. Dir., OWCP, 557

   F.3d 1041, 1046-47 (9th Cir. 2009). “[T]he proper scope of comparison is not so

   limited, but rather extends to all attorneys in the relevant community engaged in

   MH/Appellate Commissioner                  11                                    14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page12
                                                                       69of
                                                                          of22
                                                                             199 Page ID
                                         #:46316



   ‘equally complex Federal litigation,’ no matter the subject matter.” See Prison

   Legal News, 608 F.3d at 455 (quoting Blum, 465 U.S. at 893)).

          Gomez-Sanchez has satisfied his burden to show that the requested hourly

   rates are in line with prevailing market hourly rates in the community for similar

   services by comparable attorneys. See Blum, 465 U.S. at 895 n.11. Arulanantham

   states that the ACLU polls Los Angeles attorneys and then sets its attorneys’

   hourly rates “at or near the low end of the spectrum.” Sobel states that she has

   analyzed the fees charged by and awarded to Southern California attorneys in a

   variety of civil rights and other contexts. In Sobel’s opinion, Gomez-Sanchez’s

   requested enhanced hourly rates are reasonable. In Tolchin’s opinion, the

   requested enhanced hourly rates are “well within the range of reasonable rates for

   attorneys of their skill, experience, and reputation in Southern California.”

          Sobel, a 1978 law school graduate, states that her 2018 hourly rate is $990.

   Tolchin, a 2001 graduate, replies in her second declaration that her 2018 hourly

   rate is between $500 and $630. The requested hourly rates for Gomez-Sanchez’s

   attorneys are in line with Sobel’s and Tolchin’s hourly rates. In addition, Sobel

   provides many specific examples showing that Gomez-Sanchez’s requested

   enhanced hourly rates are in line with hourly rates requested and awarded for

   similar services by comparable attorneys in Southern California, and she supports

   MH/Appellate Commissioner                 12                                    14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page13
                                                                       70of
                                                                          of22
                                                                             199 Page ID
                                         #:46317



   these examples with the fee requests and awards accompanying her declaration.

   This court relied in part on a declaration by Sobel to award $300 to $335 enhanced

   hourly rates for Arulanantham’s 2004 to 2006 work in Nadarajah, 569 F.3d at

   916-918.

           The government submits nothing to refute Arulanantham’s, Sobel’s, and

   Tolchin’s declarations, and fails to meet its own “burden of rebuttal that requires

   submission of evidence . . . challenging the accuracy and reasonableness of the . . .

   facts asserted by the prevailing party in its submitted affidavits.” Gates v.

   Deukmejian, 987 F.2d 1392, 1397-98 (9th Cir. 1992). Gomez-Sanchez’s requested

   enhanced hourly rates are reasonable, and they are awarded. See Blum, 465 U.S. at

   895 n.11; see also Ingram v. Oroudjian, 647 F.3d 925, 928 (9th Cir. 2011) (court

   also may rely on its own knowledge of prevailing market hourly rates).

                  b. Cost-Of-Living-Adjusted EAJA Statutory Maximum Hourly Rates

          The government does not object to the requested cost-of-living-adjusted

   EAJA statutory maximum hourly rates for attorneys Alexander and Markovitz, and

   they are awarded. But the government objects to the requested cost-of-living-

   adjusted EAJA statutory maximum hourly rates for paralegal Tien, arguing that

   Gomez-Sanchez has not provided evidence of prevailing market hourly rates for




   MH/Appellate Commissioner                 13                                    14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page14
                                                                       71of
                                                                          of22
                                                                             199 Page ID
                                         #:46318



   paralegals and that a paralegal should not be compensated at the same hourly rates

   as attorneys. This objection lacks merit.

          The requested cost-of-living-adjusted EAJA statutory maximum hourly rates

   for paralegal Tien are in line with prevailing market rates for comparable

   paralegals, and they are awarded. See Blum, 465 U.S. at 895 & n.11. According to

   their website, after serving as a legal assistant at the Federal Public Defender’s

   office, Tien joined the ACLU of Southern California as a paralegal in 2007, and

   she is now the director of advocacy support.

          Arulanantham states that the requested cost-of-living-adjusted EAJA

   statutory maximum hourly rates for paralegal Tien are comparable to hourly rates

   awarded for paralegals in other EAJA litigation. The court may also rely on its

   own knowledge of prevailing market hourly rates for paralegals. See Ingram, 647

   F.3d at 928. Moreover, EAJA caps paralegal and attorney fees at the same rate;

   Congress was not troubled that paralegals’ fees could be recovered at a greater

   percentage of their full market value than attorneys fees’ could be recovered under

   EAJA. See Richlin Sec. Serv. v. Chertoff, 553 U.S. 571, 587-88 (2008).

          2. Reasonably Expended Hours

          Gomez-Sanchez requests 232.93 hours for the attorneys’ and paralegal’s

   preparation of a petition for review, a motion to proceed in forma pauperis, a

   MH/Appellate Commissioner                   14                                   14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page15
                                                                       72of
                                                                          of22
                                                                             199 Page ID
                                         #:46319



   motion to stay proceedings pending completion of the remand, two status reports,

   four notices regarding counsel, six motions for extensions of time or supplements

   to such motions, a 10,367-word opening brief, a 6,952-word reply brief, a hearing

   acknowledgment notice, a supplemental authorities citation, a letter to the court, a

   petition for panel rehearing, a fee motion, and a fee reply, as well as for Vakili’s

   appearance at oral argument in San Francisco.

          Arulanantham states that he analyzed the time records and eliminated

   duplicative or unnecessary hours, including some of Alexander’s time for

   researching issues not critical to the fee motion. The government objects to the

   requested 232.93 hours, arguing that they are excessive and should be substantially

   reduced. (Gomez Sanchez originally requested more hours but, in reply to certain

   objections by the government, Gomez-Sanchez submitted corrected time records

   and reduced the requested hours.)

                  a. Level Of Success

          The government argues that Gomez-Sanchez’s requested hours should be

   reduced, because the court did not address Gomez-Sanchez’s argument that the

   agency’s determination that mental health can never be considered as a factor in

   the particularly serious crime determination violates the Rehabilitation Act, 29

   U.S.C. § 794. See Gomez-Sanchez, 892 F.3d at 997 n.11. The government argues

   MH/Appellate Commissioner                 15                                    14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page16
                                                                       73of
                                                                          of22
                                                                             199 Page ID
                                         #:46320



   that Gomez-Sanchez’s fee award “should be reduced to represent the portion of his

   counsels’ efforts that led to his success.” This argument lacks merit.2

          “Litigants in good faith may raise alternative legal grounds for a desired

   outcome, and the court’s rejection of or failure to reach certain grounds is not

   sufficient reason for reducing a fee. The result is what matters.” Hensley, 461

   U.S. at 435; see Ibrahim v. U.S. Dep’t of Homeland Sec., 912 F.3d 1147, 1173

   (2019). Thus, when a party prevails on only some claims, the court must consider

   whether: (1) the party failed to prevail on claims that were unrelated to the claims

   on which the party succeeded, and (2) the party achieved a level of success that

   makes the hours reasonably expended a satisfactory basis for the fee award. See

   Hensley, 461 U.S. at 434; Ibrahim, 912 F.3d at 1172.

          Gomez-Sanchez’s prevailing arguments and the unaddressed Rehabilitation

   Act argument were related because they involved a common core of facts or were

   based on related legal theories. See Hensley, 461 U.S. at 435; Ibrahim, 912 F.3d at

          2
            Contrary to the government’s argument, Hardisty v. Astrue, 592 F.3d
   1072, 1077 (2010), is not relevant to the reasonably expended hours determination.
   In Hardisty, the district court denied EAJA fees because the government’s position
   was substantially justified regarding the prevailing issue. Id. at 1075. This court
   held that the district court was not required to evaluate whether the government’s
   position was substantially justified as to unaddressed issues. Id. at 1076-78. Here,
   in contrast, the court has held that the government’s position was not substantially
   justified, and the question whether fees may be recovered for related issues is
   subject to a different, well-developed analysis.
   MH/Appellate Commissioner                 16                                   14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page17
                                                                       74of
                                                                          of22
                                                                             199 Page ID
                                         #:46321



   1172. The focus is on whether the claims arose out of a common course of

   conduct. Id. The relief sought on Gomez-Sanchez’s unaddressed Rehabilitation

   Act argument was not intended to remedy a course of conduct “entirely distinct

   and separate” from the course of conduct that gave rise to the injury upon which

   the relief granted was premised -- the denial of withholding of removal based on a

   determination that Gomez-Sanchez was convicted of a particularly serious crime

   that did not consider his mental health as a factor. See Ibrahim, 912 F.3d at 1174

   & n.23; O’Neal v. City of Seattle, 66 F.3d 1064, 1069 (9th Cir. 1995). As Tolchin

   states, Gomez-Sanchez’s attorneys might have violated their ethical duties if they

   failed to raise the Rehabilitation Act as an alternative ground for relief, as that

   statute was the source of the most significant change in the law governing people

   with serious mental disorders in the immigration context. See Ibrahim, 912 F.3d at

   1177.

           Gomez-Sanchez achieved full relief based on his prevailing arguments -- the

   court granted Gomez-Sanchez’s petition for review, vacated the BIA’s decision,

   and remanded for further proceedings consistent with the amended opinion. See

   Gomez-Sanchez, 892 F.3d at 996-97. The precedential BIA decision affected every

   person with a mental disorder who seeks withholding of removal and is subject to a

   particularly serious crime determination, underscoring Gomez-Sanchez’s

   MH/Appellate Commissioner                  17                                     14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page18
                                                                       75of
                                                                          of22
                                                                             199 Page ID
                                         #:46322



   achievement. See Ibrahim, 912 F.3d at 1178. Courts have uniformly declined to

   apportion fees where full relief was granted on some claims, rendering it

   unnecessary to reach related claims. See Ibrahim, 912 F.3d at 1173. Also, the

   Rehabilitation Act argument was not lost or unsuccessful; the court decided it was

   unnecessary to address it. Id. Because Gomez-Sanchez obtained excellent results

   on review, his attorneys should recover a fully compensable fee. See Hensley, 461

   U.S. at 435. Gomez-Sanchez’s level of success makes his attorneys’ hours

   reasonably expended on the litigation as a whole a satisfactory basis for the fee

   award. See Hensley, 461 U.S. at 434; Ibrahim, 912 F.3d at 1178.

                  b. Correspondence Regarding Gathering Fee Records

          The government objects to a portion of 1.33 hours block billed by

   Arulanantham in part for correspondence regarding gathering fee records, arguing

   that the government should not have to pay for time spent seeking to reconstruct

   Iguina’s lost records and that the work was clerical in nature. See Missouri v.

   Jenkins, 491 U.S. 274, 288 n.10 (1989). Gomez-Sanchez replies that most of the

   record-gathering time was billed by an administrative assistant and not included in

   the fee request. Gomez-Sanchez contends that it was most efficient for

   Arulanantham to perform this particular work, because of his unique awareness of

   who worked on the case and when they did so.

   MH/Appellate Commissioner                 18                                   14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page19
                                                                       76of
                                                                          of22
                                                                             199 Page ID
                                         #:46323



          Nevertheless, the record-gathering work was not legal in nature, and it may

   not be billed at an attorney’s hourly rate, regardless of who performed it. Id.

   Arulanantham block billed the work with other tasks, so the court cannot determine

   what portion of time he spent on it. See Welch v. Metro. Life Ins. Co., 480 F.3d

   942, 948 (9th Cir. 2007). The entire 1.33 hours ($1,044.05 in fees) are disallowed.

                  c. Moot And Oral Argument Travel

          Gomez-Sanchez objects to 11.5 hours billed by Vakili for moot and oral

   argument travel, arguing that the time should be disallowed or awarded at half of

   the EAJA statutory maximum hourly rate. Gomez-Sanchez argues that it is not

   clear whether Vakili worked on this matter or worked at all during the travel, citing

   Furtado v. Bishop, 635 F.2d 915, 922 (1st Cir. 1980). In reply, Gomez-Sanchez

   submits Vakili’s declaration stating that he worked on this case during 4.83 hours

   of train travel to and from San Diego to Los Angeles for the moot, preparing for

   the moot and following up on matters arising from the moot. Vakili also states that

   he worked on the case during 3.67 hours of plane travel from San Diego to San

   Francisco for the oral argument, finalizing his preparations for oral argument.

          Vakili’s 8.5 hours of travel while working on this matter were reasonably

   expended, and these hours are awarded at Vakili’s enhanced hourly rate. See Davis

   v. City & Cnty. of San Francisco, 976 F.2d 1536, 1543 (9th Cir. 1992); Henry v.

   MH/Appellate Commissioner                 19                                      14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page20
                                                                       77of
                                                                          of22
                                                                             199 Page ID
                                         #:46324



   Webermeier, 738 F.2d 188, 194 (7th Cir. 1984). Because Vakili does not state if

   he worked on another case during his 3 hours of return travel from the oral

   argument, these hours ($1,770 in fees) are disallowed. See Henry, 738 F.2d at 194.

                  d. Other Objections

          The government’s objection to Iguina’s billing of 3.17 hours and 3.83 hours

   for the same work on the same date lacks merit. Iguina reasonably expended 7

   hours in one day reviewing the administrative record and relevant case law and

   drafting a litigation memorandum for approval of the litigation. See Hensley, 461

   U.S. at 433-34; Moreno v. City of Sacramento, 534 F.3d 1106, 1112 (9th Cir.

   2008). The government’s objection to discrepancies in the hours that

   Arulanantham and Vikili billed for the same activities also lacks merit. In reply,

   Vakili states that Arulanantham left moots or co-counsel calls earlier than he did.

          The government argues that Iguina’s reconstruction of 40 hours based on the

   other attorneys’ time records, after her post-August 2015 time records were lost,

   makes it difficult to determine the hours’ accuracy or reasonableness. The

   government also questions the reliability of the recordkeeping, and requests

   reduction of the fee award on this ground. These arguments lack merit.

          Although the court prefers contemporaneous records, they are not absolutely

   necessary. See Fischer v. SJB-P.D. Inc., 214 F.3d 1115, 1121 (9th Cir. 2000).

   MH/Appellate Commissioner                 20                                   14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page21
                                                                       78of
                                                                          of22
                                                                             199 Page ID
                                         #:46325



   “Fee requests can be based on ‘reconstructed records developed by reference to

   litigation files.’” Id. (quoting Davis, 976 F.2d at 1473). Iguina states she

   conservatively estimated that she spent 40 hours reviewing the agency record,

   researching the relevant case law, and drafting the opening and reply briefs.

   Because the time claimed is corroborated by the other attorneys’ time records, the

   court’s docket, and Gomez-Sanchez’s pleadings, the reliability of the

   recordkeeping is not reasonably in question, and no reduction is warranted on this

   ground.

                  e. Reasonably Expended Hours Summary

          A review of the time records, the docket, the briefs and other pleadings, and

   the oral argument reveals no excessive, redundant, or otherwise unnecessary hours.

   See Hensley, 461 U.S. at 434. No other clerical work was billed at attorney or

   paralegal hourly rates. See Jenkins, 491 U.S. at 288 n.10. Gomez-Sanchez’s

   attorneys and paralegal reasonably expended the remaining 228.6 hours, and these

   hours are awarded. See Hensley, 461 U.S. at 433-34; Moreno, 534 F.3d at 1112.

          3. Attorneys’ Fees Summary

          Gomez-Sanchez is awarded $107,146.37 in attorneys’ fees.




   MH/Appellate Commissioner                 21                                    14-72506
           Case: 14-72506, 07/17/2019,
Case 2:85-cv-04544-DMG-AGR     DocumentID:1217-12
                                          11365823, DktEntry:
                                                  Filed       88, Page
                                                        01/12/22  Page22
                                                                       79of
                                                                          of22
                                                                             199 Page ID
                                         #:46326



   B. Costs

          Gomez-Sanchez requests $57.52 in costs for a FedEx delivery to the court

   and for Pacer research. The government argues that these costs should be denied

   because Gomez-Sanchez did not file a timely bill of costs, citing Federal Rule of

   Appellate Procedure 39(d)(1) and Haselwander v. McHugh, 797 F.3d 1, 2 (D.C.

   2015). This argument lacks merit. Only certain limited costs for copying the

   briefs and excerpts of record are taxable in a cost bill. See Fed. R. App. P. 39(c);

   9th Cir. R. 39-1.1 - 1.3. Gomez-Sanchez’s requested costs are non-taxable, and

   they may be included in an EAJA fee award. See Grove v. Wells Fargo Fin. Cal.,

   Inc., 606 F.3d 577, 579-82 (9th Cir. 2010); Trs. of Constr. Indus. & Laborers

   Health & Welfare Trust, 460 F.3d 1253, 1257-59 (9th Cir. 2006). Gomez-

   Sanchez’s requested non-taxable costs are reasonable, and they are awarded.

                                           III
                                        Conclusion

          Pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412, attorneys’

   fees and non-taxable costs in the amount of $107,203.89 are awarded in favor of

   Guillermo Gomez-Sanchez and against William P. Barr, Attorney General.

          This order amends the court’s mandate.




   MH/Appellate Commissioner                 22                                    14-72506
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 80 of 199 Page ID
                                   #:46327




     Exhibit 5 to Sobel Declaration
Case 2:85-cv-04544-DMG-AGR     Document
           Case 2:17-cv-00094-RAJ       1217-12
                                   Document 223 Filed
                                                Filed01/12/22
                                                      02/27/19 Page
                                                               Page81 of13
                                                                    1 of 199 Page ID
                                       #:46328



 1                                                         HONORABLE RICHARD A. JONES
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 7
                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
10          ABDIQAFAR WAGAFE, et al., on
11          behalf of themselves and others
            similarly situated,                              CASE NO. C17-94 RAJ
12                                                           ORDER

13                                Plaintiffs,

14                v.
            DONALD TRUMP, President of the
15          United States, et al.,
16
                                  Defendants.
17
18
            This matter comes before the Court on Plaintiffs’ Motion for Sanctions. Dkt. #
19
     137. Defendants oppose the Motion. Dkt. # 146. For the following reasons, the
20
     Court GRANTS IN PART AND DENIES IN PART Plaintiffs’ Motion for
21
            I.
     Sanctions.    BACKGROUND
22
            The procedural and factual history of this case is exhaustive, and the Court will
23
     not endeavor to recount every fact in this saga. However, a discussion of the events
24
     serving as the basis for Plaintiffs’ present Motion for Sanctions is necessary to
25
     understand the full context of Plaintiffs’ request.
26
27


     ORDER- 1
Case 2:85-cv-04544-DMG-AGR     Document
           Case 2:17-cv-00094-RAJ       1217-12
                                   Document 223 Filed
                                                Filed01/12/22
                                                      02/27/19 Page
                                                               Page82 of13
                                                                    2 of 199 Page ID
                                       #:46329



 1           On June 21, 2017, the Court granted Plaintiffs’ motion to certify two classes: a
 2 Naturalization Class and an Adjustment Class. Dkt. # 69. Sometime in 2017, Plaintiffs
 3 propounded discovery on Defendants. As part of their Requests for Production, Plaintiffs
 4 sought information regarding why Named Plaintiffs’ applications were subjected to
 5 CARRP. Dkt. # 140 at 138-45. Defendants responded to these Requests by objecting
 6 “insofar as [they] assume[] that” the Named Plaintiffs’ applications were subjected to
 7 CARRP. Id. Defendants neither confirmed nor denied that Named Plaintiffs’
 8 applications were subjected to CARRP and stated that “USCIS intends to withhold such
 9 Documents, as disclosure of the fact that such documents exist would negate the
10 privilege, and any such documents are, themselves, likely to be privileged.” See, e.g., id.
11 at 138.
12           Plaintiffs were not satisfied with Defendants’ response and moved to compel,
13 among other items, the production of documents indicating whether the Named Plaintiffs
14 were subjected to CARRP, and if so, the reasons why. Dkt. # 91 at 8. Defendants did not
15 address this issue in their Response to Plaintiffs’ Motion to Compel, and Plaintiffs argued
16 in reply that this lack of opposition was a concession. Dkt. ## 94, 95. The Court found
17 merit in Plaintiffs’ Motion to Compel and granted it in part, requiring Defendants to
18 disclose information explaining why the Named Plaintiffs’ applications were subjected to
19 CARRP. Dkt. # 98. Defendants sought reconsideration of this Order with regard to the
20 section addressing the class list, but did not raise any issue with the Court’s order to
21 produce information regarding why the Named Plaintiffs’ applications were subjected to
22 CARRP. Dkt. # 99. The Court denied Defendants’ motion for reconsideration. Dkt. #
23 102.
24           In December 2017, Defendants represented that they would produce documents
25 “referring or relating to the reasons why each named Plaintiffs’ immigration benefit
26 application was subjected to the CARRP.” Dkt. # 140 at 246. No party addressed what
27 kinds of documents contained this information. At some point, Defendants apparently


     ORDER- 2
Case 2:85-cv-04544-DMG-AGR     Document
           Case 2:17-cv-00094-RAJ       1217-12
                                   Document 223 Filed
                                                Filed01/12/22
                                                      02/27/19 Page
                                                               Page83 of13
                                                                    3 of 199 Page ID
                                       #:46330



 1 indicated to Plaintiffs that the “why” information was contained in the Named Plaintiffs’
 2 A Files. Dkt. # 137 at 15 (“According to Defendants, the relevant information regarding
 3 why Named Plaintiffs were subjected to CARRP is in their Alien Files.”); see also Dkt. #
 4 146 at 9 (explaining that “the Court acknowledged that Defendants intended to claim
 5 privilege over documents in the A Files, including ‘why’ documents”). To be sure, the
 6 Court has no independent record that Defendants have confirmed that the “why”
 7 documents are synonymous with the A Files. See, e.g., Dkt. # 140 at 246 (delineating
 8 between “why” documents and A Files).
 9           In February 2018, Defendants agreed to produce non-privileged documents
10 contained in the A Files, stating that they would produce these documents by February
11 28, 2018. Dkt. # 114. Defendants subsequently produced redacted A Files, though
12 Plaintiffs allege that none of them contained information related to why the Named
13 Plaintiffs’ applications were subjected to CARRP. Dkt. # 132 at 6. At this point,
14 Defendants apparently did not produce documents—whether in the form of unredacted A
15 Files or otherwise—related to why Named Plaintiffs’ applications were subjected to
16 CARRP.
17         In the instant motion, Defendants assert that “[a]t the time of Plaintiffs’ September
18 2017 motion to compel, the issue in dispute was whether Defendants had to acknowledge
19 that named Plaintiffs were subjected to CARRP, not whether any particular piece of
20 information in their A files was privileged.” Dkt. # 169 at 2 n.1. It is true that the
21 Motion to Compel did not directly address whether certain documents within the A Files
22 were privileged, or even whether these A Files contained the “why” information that
23 Plaintiffs sought. However, the Motion to Compel directly sought both the “whether”
24 and the “why” information, and Defendants raised no objection; Defendants did not argue
25 that either the “whether” or “why” information was privileged, nor did Defendants argue
26 that merely addressing the “whether” issue was privileged. Defendants remained silent
27 on the matter even though they raised these threshold objections in response to the initial


     ORDER- 3
Case 2:85-cv-04544-DMG-AGR     Document
           Case 2:17-cv-00094-RAJ       1217-12
                                   Document 223 Filed
                                                Filed01/12/22
                                                      02/27/19 Page
                                                               Page84 of13
                                                                    4 of 199 Page ID
                                       #:46331



 1 Requests for Production. Dkt. # 140 at 138, 140, 142, 143, 144, 145. Therefore, the
 2 issue before the Court at the time of the Motion to Compel was whether Defendants
 3 needed to produce documents regarding why the Named Plaintiffs’ applications were
 4 subjected to CARRP, and the Court found affirmatively.
 5         On March 29, 2018, Plaintiffs filed the present Motion for Sanctions against
 6 Defendants based on their discovery conduct and refusal to abide by the Court’s orders.
 7 Plaintiffs argued, in part, that Defendants are violating the Court’s order compelling
 8 production of information about why Named Plaintiffs’ applications were subjected to
 9 CARRP. Plaintiffs’ argument is based on Defendants’ refusal to produce unredacted A
10 Files, and requested relief in the form of these unredacted A Files and attorneys’ fees
11 incurred in litigating these discovery abuses. Dkt. # 137 at 17-20. In response to the
12 Motion for Sanctions, Defendants requested leave to submit two documents ex parte and
13 in camera that would contain “sensitive nonpublic explanations of the harms and risks
14 that can be expected to result if information Defendants have withheld from production
15 were disclosed outside the U.S. government.” Dkt. # 147 at 2. Defendants’ motion
16 argued that the parties have not had the opportunity to brief the privilege issues
17 associated with unredacting the A Files. Id. As such, Defendants proposed submitting
18 documents ex parte and in camera to explain to the Court why Defendants were unable to
19 produce unredacted A Files. Id. On May 4, 2018, in light of the national security claims
20 and new privilege issues raised, this Court granted Defendants’ request to file two such
21 documents ex parte and in camera. Dkt. # 181. The Court then reviewed the documents
22 Defendants submitted.
23         On December 18, 2018, this Court held a telephonic conference with the parties to
24 discuss, among other issues, the status of Plaintiff’s Motion for Sanctions. Dkt. # 211.
25 In this conference, Plaintiffs explained that they no longer sought sanctions relief for
26 Defendants’ failure to produce the class list or identify custodians on the President-
27 Elect’s transition team. Plaintiffs stated, however, that they still sought sanctions for


     ORDER- 4
Case 2:85-cv-04544-DMG-AGR     Document
           Case 2:17-cv-00094-RAJ       1217-12
                                   Document 223 Filed
                                                Filed01/12/22
                                                      02/27/19 Page
                                                               Page85 of13
                                                                    5 of 199 Page ID
                                       #:46332



 1 Defendants’ refusal to comply with previous Court orders concerning the production
 2 schedule and compelling information for why the named Plaintiffs were subject to
 3 CARRP in the form of unredacted A Files. Defendants responded that the Court’s May
 4 4, 2018 Order essentially acted as a reconsideration of its directive ordering Defendants
 5 to produce the “why” information, and that this information would be addressed in the
 6 parties’ upcoming discovery briefing.
 7         This case was stayed due to a lapse of appropriations from January 14, 2019 to
 8 January 29, 2019. Now that the stay is lifted, the Court considers Plaintiff’s Motion for
 9 Sanctions. Dkt. # 137.
10         II.    LEGAL STANDARD
11         The Court has broad discretion to control discovery. Hallett v. Morgan, 296 F.3d
12 732, 751 (9th Cir. 2002); see also Avila v. Willits Envtl. Remediation Trust, 633 F.3d 828,
13 833 (9th Cir. 2011), In re Sealed Case, 856 F.2d 268, 271 (D.C. Cir. 1988). That
14 discretion is guided by several principles. Most importantly, the scope of discovery is
15 broad. “Parties may obtain discovery regarding any nonprivileged matter that is relevant
16 to any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P.
17 26(b)(1).
18         Under the Federal Rules of Civil procedure, if requested discovery is withheld
19 inappropriately or not answered, the requesting party may move for an order compelling
20 such discovery. Fed. R. Civ. P. 37(a)(1). “The party who resists discovery has the
21 burden to show that discovery should not be allowed, and has the burden of clarifying,
22 explaining, and supporting its objections.” Cable & Computer Tech., Inc. v. Lockheed
23 Saunders, Inc., 175 F.R.D. 646, 650 (C.D. Cal. 1997). If a party fails to comply with a
24 discovery order, the Court may also sanction that party accordingly. Fed. R. Civ. P.
25 37(b)(2). The Court has broad discretion to decide whether to compel disclosure of
26 discovery and whether to award sanctions. Fed. R. Civ. P. 37(a)(5); Phillips ex rel.
27 Estates of Byrd v. General Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002). Sanctions


     ORDER- 5
Case 2:85-cv-04544-DMG-AGR     Document
           Case 2:17-cv-00094-RAJ       1217-12
                                   Document 223 Filed
                                                Filed01/12/22
                                                      02/27/19 Page
                                                               Page86 of13
                                                                    6 of 199 Page ID
                                       #:46333



 1 under Rule 37(b) are likewise left to the Court’s discretion. David v. Hooker, Ltd., 560
 2 F.2d 412, 418 (9th Cir. 1977). Rule 37 sanctions also apply to government actors and
 3 agencies. United States v. Nat’l Med. Enterprises, Inc., 792 F.2d 906, 911 (9th Cir.
 4 1986); Chilcutt v. United States, 4 F.3d 1313, 1326 (5th Cir. 1993); see also Hernandez v.
 5 Sessions, EDCV16620JGBKKX, 2018 WL 276687, at *3 (C.D. Cal. Jan. 3, 2018)
 6 (ordering governmental defendants to pay $22,820.00 as reasonable attorney’s fees and
 7 costs pursuant to Fed. R. Civ. P. 37(a)(5)(A)).
 8         Moreover, Courts are vested with inherent powers that are “governed not by rule
 9 or statute but by the control necessarily vested in courts to manage their own affairs so as
10 to achieve the orderly and expeditious disposition of cases.” Chambers v. NASCO, Inc.,
11 501 U.S. 32, 43 (1991) (quoting Link v. Wabash R.R. Co., 370 U.S. 626, 630-631
12 (1962)). The Ninth Circuit “has recognized as part of a district court’s inherent powers
13 the broad discretion to make discovery and evidentiary rulings conducive to the conduct
14 of a fair and orderly trial.” Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982
15 F.2d 363, 368 (9th Cir. 1992). Additionally, a district court “has the inherent authority to
16 impose sanctions for bad faith, which includes a broad range of willful improper
17 conduct.” Fink v. Gomez, 239 F.3d 989, 992 (9th Cir. 2001).
18         Sanctions issued under a court’s inherent power “are available if the court
19 specifically finds bad faith or conduct tantamount to bad faith.” B.K.B. v. Maui Police
20 Dep’t, 276 F.3d 1091, 1107-08 (9th Cir. 2002) (quoting Fink, 239 F.3d at 994). The
21 court may therefore issue sanctions “for a variety of types of willful actions, including
22 recklessness when combined with an additional factor such as frivolousness, harassment,
23 or an improper purpose.” Id. (quoting Fink, 239 F.3d at 994). For example, a finding of
24 bad faith is warranted where an attorney “knowingly or recklessly raises a frivolous
25 argument, or argues a meritorious claim for the purpose of harassing an opponent.”
26 Primus Auto. Fin. Servs., Inc. v. Batarse, 115 F.3d 644, 649 (9th Cir. 1997). A party also
27 demonstrates bad faith by “delaying or disrupting the litigation or hampering


     ORDER- 6
Case 2:85-cv-04544-DMG-AGR     Document
           Case 2:17-cv-00094-RAJ       1217-12
                                   Document 223 Filed
                                                Filed01/12/22
                                                      02/27/19 Page
                                                               Page87 of13
                                                                    7 of 199 Page ID
                                       #:46334



 1 enforcement of a court order.” Id. (quoting Hutto v. Finney, 437 U.S. 678, 689 n.14
 2 (1978)).
 3         III.   DISCUSSION
 4         Defendants are correct in that the world now is very different than the one that
 5 existed when Plaintiff’s Motion for Sanctions was first filed. Both parties acknowledge
 6 that the communication between the parties had improved dramatically as compared to
 7 the early stages of this case. The Court appreciates the parties’ transition to a more civil
 8 mode of discourse. However, with Plaintiff’s Motion for Sanctions still outstanding, the
 9 Court must look back in time to determine if sanctions would be appropriate in light of
10 Defendants’ previous conduct.
11         Following the December 18, 2018 conference between the parties, the Court
12 understands that Plaintiffs’ Motion for Sanctions now only seeks relief on two of the
13 original grounds they identified: (1) production of unredacted A Files; and (2) attorneys’
14 fees incurred with Plaintiffs’ discovery efforts. Dkt. ## 137, 211. As for the other
15 grounds of relief identified in Plaintiffs’ Motion for Sanctions, Plaintiffs’ Motion is
16 DENIED. The Court will consider Plaintiffs’ remaining grounds in turn.
17         A. Production of Unredacted A-Files
18         As stated above, Plaintiffs’ Motion for Sanctions seeks disclosure of the Named
19 Plaintiffs’ unredacted A Files, which Plaintiffs argue were subject to disclosure via this
20 Court ‘s October 19, 2017 Order. Dkt. # 137 at 20. Defendants had produced the A Files
21 for the Named Plaintiffs, but in redacted form. In their Response to Plaintiff’s Motion for
22 Sanctions, Defendants filed another motion arguing that the parties had not previously
23 had the opportunity to brief the privilege issues associated with producing unredacted A
24 Files. After supplemental briefing from the parties, the Court permitted Defendants to
25 file two classified documents attesting to the national security risks of disclosure ex parte
26 and in camera, though it also expressed skepticism that Defendants could not have
27 brought these issues to light sooner. Dkt. # 181.


     ORDER- 7
Case 2:85-cv-04544-DMG-AGR     Document
           Case 2:17-cv-00094-RAJ       1217-12
                                   Document 223 Filed
                                                Filed01/12/22
                                                      02/27/19 Page
                                                               Page88 of13
                                                                    8 of 199 Page ID
                                       #:46335



 1         The Court has reviewed the documents Defendants’ furnished and finds that
 2 Defendants’ motion (Dkt. # 141) raised facially credible national security arguments.
 3 Although the Court believes Defendants could have, and should have, asserted its
 4 privilege claims much sooner, after reviewing the documents submitted to the Court, the
 5 Court does not believe that Defendants’ ultimate position in not producing the unredacted
 6 A Files was “substantially unjustified” to the point of deserving sanctions from this Court
 7 for noncompliance. While the Court does not rule on the ultimate viability of these
 8 privilege claims in this Order, it will not compel the production of the unredacted A Files
 9 as a sanction for noncompliance under Fed. R. Civ. P. 37(b)(2)(C).
10         Accordingly, on this point, the Court will DENY Plaintiffs’ Motion for Sanctions.
11 At this time, the Court will not direct Defendants to produce unredacted A Files.
12         B. Attorneys’ Fees
13         Plaintiffs’ other remaining request for sanctions relief centers on Defendants’
14 resistance to Plaintiffs’ discovery request and Plaintiffs’ need to file motions to compel
15 Defendants’ compliance. Dkt. # 137 at 17-19. Pursuant to Federal Rule of Civil
16 Procedure 37, if a court grants in part and denies in part a motion for an order compelling
17 disclosure or discovery, as was the case with Plaintiffs’ Motion to Compel (Dkt. # 91),
18 the court may “apportion reasonable expenses” after giving the parties “an opportunity to
19 be heard.” See Fed. R. Civ. P. 37(a)(5)(C). Moreover, as stated above, if a party fails to
20 comply with a discovery order, as Plaintiffs allege in the present Motion for Sanctions,
21 the Court may also sanction that party accordingly. Fed. R. Civ. P. 37(b)(2). The Court
22 also has inherent authority to impose sanctions for discovery conduct undertaken in bad
23 faith. Primus, 115 F.3d at 649.
24         As stated above, the ultimate justification for withholding unredacted A Files
25 based on did not rise to the level of being “substantially unjustified.” Defendants
26 eventually put forth credible arguments for why certain information in these A Files
27 should not be disclosed without additional protections for national security reasons.


     ORDER- 8
Case 2:85-cv-04544-DMG-AGR     Document
           Case 2:17-cv-00094-RAJ       1217-12
                                   Document 223 Filed
                                                Filed01/12/22
                                                      02/27/19 Page
                                                               Page89 of13
                                                                    9 of 199 Page ID
                                       #:46336



 1 Defendants’ delays in bringing these privilege assertions before the Court are of a more
 2 dubious nature. As indicated above and in a previous order (Dkt. # 181), the Court finds
 3 that these explanations and justifications should have been asserted much sooner in the
 4 case. It took multiple motions, including Plaintiff’s Motion to Compel (Dkt. # 91) and
 5 this Motion for Sanctions, to yield a response from Defendants that passed muster,
 6 despite the presence of orders from this Court directing disclosure of this information.
 7         For nearly a year, Defendants’ positions in refusing to allow any discovery, or
 8 greatly limited discovery, delayed this case schedule and increased the cost of this
 9 litigation significantly. Defendants resisted, without providing adequate support, most of
10 Plaintiffs’ attempts to obtain relevant documentation in any form. The Court issued
11 multiple orders against Defendants directing them to produce the discovery sought by
12 Plaintiffs, which Defendants met with pushback and delayed production schedules. It
13 was not until Defendants’ Response to this Motion for Sanctions that a credible basis for
14 their privilege assertions as to the unredacted A Files was first articulated.
15         The Court finds that Defendants’ conduct early in this case in resisting Plaintiff’s
16 discovery efforts was undertaken in bad faith. Defendants’ conduct delayed resolution in
17 this case and greatly hampered enforcement of this Court’s early discovery-related
18 orders. In the months that followed the briefing of this Motion for Sanctions,
19 Defendants’ behavior improved, and there are plenty of indications that the parties
20 eventually reached a higher level of courtesy and cooperation regarding outstanding
21 discovery issues. See, e.g., Dkt. # 205. The Court applauds this improvement in
22 decorum and civility. However, the Court expects this to be the starting point for
23 discovery negotiations, not the end result of nearly a year of discovery battles. Plaintiffs
24 expended a large amount of time and resources in litigating against Defendants’
25 discovery abuses early in this litigation, and there is no question Defendants’ behavior
26 greatly delayed resolution of this case.
27


     ORDER- 9
Case 2:85-cv-04544-DMG-AGR    Document
          Case 2:17-cv-00094-RAJ       1217-12
                                 Document  223 Filed
                                               Filed 01/12/22
                                                     02/27/19 Page
                                                              Page 90
                                                                   10 of
                                                                      of 199
                                                                         13 Page ID
                                      #:46337



 1          Accordingly, the Court will GRANT IN PART Plaintiffs’ Motion for Sanctions
 2 on this point. In doing so, the Court will ORDER Defendants to pay Plaintiffs’
 3 reasonable attorney fees incurred in bringing the September 2017 Motion to Compel
 4 (Dkt. # 91) and this Motion for Sanctions (Dkt. # 137). The question then turns as to the
 5 proper amount of the fee award. District courts have broad discretion to determine the
 6 reasonableness of fees. Gates v. Deukmejian, 987 F.2d 1392, 1398 (9th Cir. 1992). To
 7 make this determination, courts determine the “lodestar amount,” which is calculated by
 8 multiplying the number of hours reasonably expended by a reasonable hourly rate.
 9 Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008). The lodestar figure
10 is presumptively a reasonable fee award. Id. at 977. The moving party has the burden to
11 produce evidence that the rates and hours worked are reasonable. See Intel Corp. v.
12 Terabyte Int’l, 6 F.3d 614, 623 (9th Cir. 1983).
13          To assist the Court in calculating the lodestar, the fee applicant must submit
14 “satisfactory evidence . . . that the requested rates are in line with those prevailing in the
15 community for similar services by lawyers of reasonably comparable skill, experience,
16 and reputation.” Blum v. Stenson, 465 U.S. 886, 895–96 n.11 (1984). The relevant
17 community is that in which the district court sits. See Schwarz v. Sec’y of Health &
18 Human Serv., 73 F.3d 895, 906 (9th Cir. 1995). As for the fees incurred in in bringing
19 the September 2017 Motion to Compel (Dkt. # 91), Plaintiffs have submitted a number of
20 declarations attached to this Motion for Sanctions that detail the experience, hourly rate,
21 hours, and work performed by Plaintiffs’ attorneys. Dkt. ## 138-45. Defendants do not
22 address the reasonableness of Plaintiffs’ attorneys’ rates in their Response, with the
23 exception of a footnote where Defendants “request the opportunity to provide the Court
24 both a line-item analysis and an evaluation of the hourly rates claimed by Plaintiffs’
25 counsel.” Dkt. # 146 at p. 17, n.8. The Court rejects this request. Defendants had such
26 an opportunity to contest the rates and hours worked by Plaintiffs’ attorneys’ in their
27 Response, but chose instead to include only a footnote and a short argument that the


     ORDER- 10
Case 2:85-cv-04544-DMG-AGR    Document
          Case 2:17-cv-00094-RAJ       1217-12
                                 Document  223 Filed
                                               Filed 01/12/22
                                                     02/27/19 Page
                                                              Page 91
                                                                   11 of
                                                                      of 199
                                                                         13 Page ID
                                      #:46338



 1 award should be limited to the hours spent after February 28, 2018. Id. at 17. This
 2 approach ignores the fact that the Court has the power to award attorneys’ fees under
 3 either Rule 37(a), Rule 37(b), or this Court’s inherent authority to award sanctions for
 4 bad faith discovery abuses, all of which permit the Court to award fees before February
 5 2018.
 6         The Court has reviewed the rates claimed for Plaintiffs’ attorneys and finds them
 7 reasonable. In reaching that determination, the Court relies on declarations that the rates
 8 identified are the normal hourly rates, the experience of Plaintiffs’ attorneys, the
 9 Declaration of Carol Sobel (Dkt. # 138) to the extent it addresses the rates of attorneys
10 outside of this District, Defendant’ lack of stated opposition to the reasonableness of the
11 rates, and on its familiarity with legal fees in the Western District of Washington at the
12 relevant time period.
13         As for the number of hours worked, in determining the reasonableness of hours
14 spent preparing a motion, the Court may exclude any hours that are excessive, redundant,
15 or otherwise unnecessary. Hensley v. Eckerhart, 461 U.S. 424, 433–34 (1983). The
16 Court believes that the award should be limited to the time incurred litigating the Motion
17 to Compel, not the resulting discovery communications or time spent litigating
18 Defendants’ Motion for Reconsideration. Fed. R. Civ. P. 37(a)(5). Fortunately, the
19 declarations of Matt Adams, Sameer Ahmed, Nicholas P. Gellert, Hugh Handeyside,
20 Trina Realmuto, and Stacy Tolchin submitted by Plaintiffs delineate the hours and fees
21 incurred in bringing that Motion to Compel.
22         Here, the Court finds the amount of time Plaintiffs’ counsel spent litigating the
23 Motion to Compel, i.e. 125.76 hours, to be reasonable in light of the complicated and
24 difficult nature of the case, the number of attorney timekeepers, the lack of opposition
25 from Defendants, and Defendants’ resistance and delayed responses to Plaintiff’s
26 discovery efforts. The Court also believes that because Plaintiffs were not fully
27 successful on their Motion to Compel (Dkt. ## 91, 98), a 75% reduction of the total fees


     ORDER- 11
Case 2:85-cv-04544-DMG-AGR    Document
          Case 2:17-cv-00094-RAJ       1217-12
                                 Document  223 Filed
                                               Filed 01/12/22
                                                     02/27/19 Page
                                                              Page 92
                                                                   12 of
                                                                      of 199
                                                                         13 Page ID
                                      #:46339



 1 claimed is warranted. This apportionment is approximately in line with the percentage of
 2 arguments Plaintiffs prevailed on in their Motion to Compel. Dkt. # 98. The Court
 3 calculates the total amount of attorneys’ fees to be awarded in connection with the
 4 Motion to Compel as $50,507.92. This amount represents 75% of the sum of the hours
 5 and fees claimed in the declarations as follows:
 6
      Timekeeper                     Hourly Rate        Hours Worked       Total
 7
      Hugh Handeyside                $646.64            1.6                $1,034.62
 8
      Matt Adams                     $779.74            6.3                $4,912.36
 9
      Harry H. Schneider, Jr.        $895               5.1                $4,564.50
10
      Nicholas P. Gellert            $600               5.7                $3,420.00
11
      David Perez                    $510               9.5                $4,845.00
12
      Laura Hennessey                $440               56.8               $24,992.00
13
      Sameer Ahmed                   $573.95            9.05               $5,194.25
14
      Jennifer Pasquarella           $646.64            7.51               $4,856.27
15
      Stacy Tolchin                  $646.64            5.4                $3,491.86
16
      Trina Realmuto                 $779.74            6.7                $5,224.26
17
      Kristin Macleod-Ball           $397.42            12.1               $4,808.78
18
19         As for the Motion for Sanctions, the Court agrees that fees incurred in bringing
20 this additional motion seeking to compel compliance with this Court’s Orders and the
21 Civil Rules may be recoverable. However, Plaintiffs did not submit any declarations
22 setting forth the time incurred in drafting the Motion for Sanctions, but requested leave to
23 do so. Dkt. # 137 at 18-19. Defendants do not appear to respond to this request, other
24 than to “reserve the right to challenge any fees the records for which were not appended
25 to the motion for sanctions” in the aforementioned footnote. Dkt. # 146 at p. 17, n.8.
26
27


     ORDER- 12
Case 2:85-cv-04544-DMG-AGR    Document
          Case 2:17-cv-00094-RAJ       1217-12
                                 Document  223 Filed
                                               Filed 01/12/22
                                                     02/27/19 Page
                                                              Page 93
                                                                   13 of
                                                                      of 199
                                                                         13 Page ID
                                      #:46340



 1         Accordingly, the Court will require supplemental briefing from the parties on this
 2 issue. Within fourteen (14) days of this Order, Plaintiffs are directed to file
 3 supplemental briefing detailing the reasonable attorneys’ fees incurred in preparing
 4 and filing its Motion for Sanctions, in a filing not to exceed ten (10) pages. Within
 5 fourteen (14) days of Plaintiffs’ filing, Defendants may file an opposition not to
 6 exceed ten (10) pages.
 7         IV.    CONCLUSION
 8         For the foregoing reasons, the Court GRANTS in part and DENIES in part
 9 Plaintiffs’ Motion for Sanctions. Dkt. # 137. Defendants are hereby ORDERED to pay
10 Plaintiff’s attorneys’ fees incurred in litigating Plaintiffs’ Motion to Compel (Dkt. # 91)
11 in the amount of $50,507.92. Within fourteen (14) days of this Order, Plaintiffs are
12 directed to file supplemental briefing detailing the reasonable attorneys’ fees incurred in
13 preparing and filing its Motion for Sanctions (Dkt. # 137), in a filing not to exceed ten
14 (10) pages. Within fourteen (14) days of Plaintiffs’ filing, Defendants may file an
15 opposition not to exceed ten (10) pages.
16
17         Dated this 27th day of February, 2019.
18
19
20
                                                     A
21                                                   The Honorable Richard A. Jones
                                                     United States District Judge
22
23
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25
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     ORDER- 13
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 94 of 199 Page ID
                                   #:46341




     Exhibit 6 to Sobel Declaration
Case
 Case2:85-cv-04544-DMG-AGR
       8:19-cv-00815-JGB-SHK Document
                              Document1217-12
                                       53 FiledFiled 01/12/22
                                                01/02/20  PagePage
                                                               1 of 795 Page
                                                                        of 199ID Page
                                                                                 #:866ID
                                     #:46342



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

    Case No.       SACV 19-815 JGB (SHKx)                               Date January 2, 2020
    Title Ubaldo Arroyo, et al. v. United States Department of Homeland Security, et al.


    Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


                  MAYNOR GALVEZ                                          Not Reported
                    Deputy Clerk                                        Court Reporter


       Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):
                    None Present                                         None Present

    Proceedings:      Order (1) GRANTING Plaintiffs’ Motion for Attorneys’ Fees (Dkt. No.
                      50); and (2) VACATING the January 6, 2020 Hearing (IN CHAMBERS)


           Before the Court is a Motion for Attorneys’ Fees filed by Plaintiffs Ubaldo Arroyo, Jorge
   Poroj Sac, Atemnkeng Becky Njualem, Sergio Jonathan Moreno, Elieser David Blea, Santiago
   Guevara-Melgar, Bashir Abdi Wabare, Tanyi Ferick Awungdeu, Nguanyi Atabong Queenida,
   Asmerom Zemede Enabi, Public Law Center, and Public Counsel (collectively, “Plaintiffs”).1
   (“Motion,” Dkt. No. 50.) The Court finds the Motion appropriate for resolution without a
   hearing. See Fed. R. Civ. P. 78; L.R. 7-15. After considering the papers filed in support of and in
   opposition to the Motion, the Court GRANTS the Motion. The Court vacates the hearing set
   for January 6, 2020.

                                          I. BACKGROUND

          On March 27, 2019, the Orange County Sherriff’s Department (“OCSD”) notified
   Defendant United States Immigration and Customs Enforcement (“ICE”) that it would
   terminate its contract to house immigrant detainees. (Motion at 2.) Both ICE and OCSD
   subsequently announced that the affected detainees, including those represented by local
   counsel, would be moved out of the ICE Los Angeles Field Office’s Area of Responsibility
   (“AOR”) to detention facilities in San Francisco, Florida, and other states. (Id. at 2–3.)

           1
           Plaintiffs Arroyo, Sac, Njualem, Moreno, Blea, Guevara-Melgar, Wabare, Awungdeu,
   Queenida, and Enabi will be referred to collectively as “Immigrant Plaintiffs.” Public Law
   Center and Public Counsel will be referred to as “Organization Plaintiffs.”

    Page 1 of 7                       CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk iv
Case
 Case2:85-cv-04544-DMG-AGR
       8:19-cv-00815-JGB-SHK Document
                              Document1217-12
                                       53 FiledFiled 01/12/22
                                                01/02/20  PagePage
                                                               2 of 796 Page
                                                                        of 199ID Page
                                                                                 #:867ID
                                     #:46343




           On May 2, 2019, Plaintiffs filed a complaint against the following Defendants: United
   States Department of Homeland Security (“DHS”), Kevin K. McAleenan, ICE, Ronald D.
   Vitello, Thomas Giles, Jennifer Herrera, Luke South, and Lisa Von Nordheim (collectively,
   “Defendants”). (“Complaint,” Dkt. No. 1.) Plaintiffs’ Complaint is a verified petition for writ
   of habeas corpus and a complaint for injunctive and declaratory relief. (Id.) The Complaint
   alleges that Defendants’ conduct violates the Immigration and Nationality Act (“INA”), the
   Due Process Clause of the Fifth Amendment, the First Amendment (on behalf of Immigrant
   Plaintiffs), the First Amendment (on behalf of Organization Plaintiffs), and the Administrative
   Procedure Act (“APA”).

           On May 13, 2019, Plaintiffs moved to certify a class and for a preliminary injunction.
   (Dkt. Nos. 14, 17.) On June 20, 2019, the Court granted-in-part and denied-in-part those motions
   and provisionally certified a class of “[a]ll immigrants imprisoned at the James A. Musick Facility
   and the Theo Lacy Facility and who have attorneys within the ICE Los Angeles Field Office’s
   Area of Responsibility.” (“Order,” Dkt. No. 46 at 33.) The Court further enjoined Defendants
   from “transferring immigration detainees currently held at the Theo Lacy and James A. Musick
   Facilities to facilities outside the ICE Los Angeles Field Office’s Area of Responsibility if those
   detainees have attorneys within the ICE Los Angeles Field Office’s Area of Responsibility.”
   (Id.) On July 18, 2019, Federal Defendants filed a declaration stating that there were no
   immigration detainees housed in either facility maintained by the OCSD. (Dkt. No. 41.)
   Plaintiffs voluntarily dismissed their complaint on August 5, 2019. (Dkt. No. 44.)

           On October 21, 2019, Plaintiffs filed this Motion. (Motion.) In support of the Motion,
   Plaintiffs filed the Declaration of Ahilan Arulanantham, the Declaration of Carol Sobel, and the
   Declaration of Jayashri Srikantiah. (“Arulanantham Declaration,” Dkt. No. 50-2, “Sobel
   Declaration,” Dkt. No. 50-4, “Srikantiah Declaration,” Dkt. No. 50-6.) Defendants Thomas
   Giles, Jennifer Herrera, Kevin K. McAleenan, United States Department of Homeland Security,
   United States Immigration and Customs Enforcement, and Ronald D. Vitiello (collectively,
   “Federal Defendants”) opposed the Motion on November 25, 2019. (“Opposition,” Dkt. No.
   51.) Plaintiffs replied on December 16, 2019. (“Reply,” Dkt. No. 52.) In support of the Reply,
   Plaintiffs filed a Supplemental Declaration of Ahilan Arulanantham. (“Arulanantham
   Supplemental Declaration,” Dkt. No. 52-1.)

                                      II.   LEGAL STANDARD

           The Equal Access to Justice Act (“EAJA”) provides that “a court shall award to a
   prevailing party . . . fees and other expenses . . . incurred by that party in any civil action . . .
   including proceedings for judicial review of agency action, brought by or against the United
   States . . . unless the court finds that the position of the United States was substantially justified
   or that special circumstances make an award unjust.” 28 U.S.C. § 2412(d)(1)(A). The burden of
   proving the substantial justification exception to the mandatory award of fees under the EAJA
   lies with the government. Love v. Reilly, 924 F.2d 1492, 1495 (9th Cir. 1991). The Supreme
   Court has defined “substantial justification” as:

    Page 2 of 7                        CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk iv
Case
 Case2:85-cv-04544-DMG-AGR
       8:19-cv-00815-JGB-SHK Document
                              Document1217-12
                                       53 FiledFiled 01/12/22
                                                01/02/20  PagePage
                                                               3 of 797 Page
                                                                        of 199ID Page
                                                                                 #:868ID
                                     #:46344




           justified in substance or in the main – that is, justified to a degree that could satisfy
           a reasonable person. [This standard] is no different from the “reasonable basis in
           both law and fact” formulation adopted by the Ninth Circuit and the vast majority
           of other Courts of Appeals that have addressed this issue.

   Pierce v. Underwood, 487 U.S. 552, 565 (1988). A position does not have to be correct to be
   substantially justified; rather, the standard is satisfied if there is a “genuine dispute.” Id. at 565
   and 566 n.2; see also Lewis v. Barnhart, 281 F.3d 1081, 1083 (9th Cir. 2002). In determining the
   reasonableness of the government’s position under the ‘totality of the circumstances’ test, the
   district court reviews both the underlying governmental action being defended in the litigation
   and the positions taken by the government in the litigation itself. 28 U.S.C. § 2412(d)(1)(B);
   Gutierrez v. Barnhart, 274 F.3d 1255, 1259 (9th Cir. 2001).

            “The amount of attorneys’ fees awarded under EAJA must be reasonable.” Nadarajah v.
   Holder, 569 F.3d 906, 910 (9th Cir. 2009). Attorney’s fees for hours that are not “reasonably
   expended” or that are “excessive, redundant, or otherwise unnecessary” are not compensable.
   See Hensley v. Eckerhart, 461 U.S. 424, 434 (1983); see also I.N.S. v. Jean, 496 U.S. 154, 161
   (1990) (holding Hensley applies to EAJA cases). “The most useful starting point for
   determining the amount of a reasonable fee is the number of hours reasonably expended on the
   litigation multiplied by a reasonable hourly rate.” Hensley, 461 U.S. at 433–34. However, in
   determining what constitutes a reasonable fee award under the EAJA, “courts should generally
   defer to the ‘winning lawyer’s professional judgment as to how much time he was required to
   spend on the case.’” See Costa v. Commissioner of Social Security Administration, 690 F.3d
   1132, 1136 (9th Cir. 2012) (quoting Moreno v. City of Sacramento, 534 F.3d 1106, 1112 (9th Cir.
   2008)).

                                           III. DISCUSSION

           Plaintiffs argue that they are entitled to $144,876.04 in attorneys’ fees and costs because
   (1) they are the prevailing party2, (2) Defendants’ position was not substantially justified, and (3)
   the hours they expended and the enhanced rates they seek are reasonable considering the
   complexity of the issues involved. (See Motion; Reply.) Federal Defendants disagree on all
   three points and argue that an award of attorneys’ fees is inappropriate. (See Opposition.)

   A. Prevailing Party

           A party is a “prevails” for the purposes of EAJA recovery when it achieves a “material
   alteration of the legal relationship between the parties” that is “judicially sanctioned.”

           2
            Plaintiffs also argue that because Organization Plaintiffs are nonprofit organizations as
   described by section 501(c)(3) of the Internal Revenue Code and Individual Plaintiffs are
   individuals, all are eligible to recover attorneys’ fees under EAJA. (Motion at 5.) Defendants do
   not dispute this point.

    Page 3 of 7                         CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk iv
Case
 Case2:85-cv-04544-DMG-AGR
       8:19-cv-00815-JGB-SHK Document
                              Document1217-12
                                       53 FiledFiled 01/12/22
                                                01/02/20  PagePage
                                                               4 of 798 Page
                                                                        of 199ID Page
                                                                                 #:869ID
                                     #:46345



   Buckhannon Bd. & Care Home, Inc. v. W. Virginia Dep't of Health & Human Res., 532 U.S. 598,
   605 (2001). Therefore, when “the plaintiff wins a preliminary injunction and the case is
   subsequently rendered moot by the defendant’s own actions” the plaintiff may be the prevailing
   party. See Higher Taste, Inc. v. City of Tacoma, 717 F.3d 712, 717 (9th Cir. 2013).

           Federal Defendants argue that Plaintiffs did not prevail because Defendants never
   intended to do what Court ultimately enjoined them from doing. (Opposition at 1–3.) They
   assert that “[e]ven before Plaintiffs filed their Complaint, a pre-existing ICE policy directive
   prohibited Defendants from transferring any detainee with immediate family or attorney of
   recorded within the AOR” and “Defendants never intended to deviate from that policy.” (Id. at
   1.) But what Defendants intended to do is irrelevant to whether the preliminary injunction
   altered the legal relationship between the parties. Before the preliminary injunction issued,
   Defendants were theoretically free to choose their position with respect to the represented
   detainees—they could (as they claim they were planning to do) choose to keep represented
   immigrants within the AOR. Alternatively, they could opt to move the represented detainees to
   detention facilities elsewhere. After the preliminary injunction issued, they no longer had a
   choice to move the represented detainees out of the AOR. The injunction thereby altered the
   parties’ legal relationship—even if the outcome was no different than what Defendants intended
   to do.

           Moreover, based upon the arguments Federal Defendants asserted in the preliminary
   injunction briefing, the Court is skeptical that Defendants never intended to transfer the
   represented detainees. (See, e.g., “Preliminary Injunction Opposition,” Dkt. No. 24 at 1
   (“should any transfers out of the AOR be dictated by the twin realities of Congress’s mandate
   that certain aliens be detained and the emergent need of loss of facility space in the AOR, those
   transfers would fully comport with ICE policy, the Immigration and Nationality Act (“INA”),
   and the Constitution”)). As Plaintiffs point out, “if Defendants had agreed in advance to wind
   down operations at the Orange County facilities without transferring represented immigrants
   outside the Los Angeles AOR, then Plaintiffs would not have filed this suit.” (Reply at 3.)
   Accordingly, the Court concludes that Plaintiffs prevailed for the purposes of EAJA.

   B. Substantially Justified Position

           Defendants bear the burden to establish their position was substantially justified under
   the “totality of the circumstances.” See Gutierrez, 274 F.3d at 1259; Meinhold v. U.S. Dep’t of
   Defense, 123 F.3d 1275, 1277 (9th Cir. 1997). Federal Defendants’ position includes both the
   underlying action being defended and the arguments advanced during the litigation. See
   Gutierrez, 274 F.3d at 1259. The underlying act here is Defendant’s decision to move detainees
   out of the AOR. Throughout the preliminary injunction briefing, Federal Defendants argued
   they were entitled to move detainees, even when those detainees had attorneys or family
   members within the AOR. (See, e.g., Preliminary Injunction Opposition at 1.)

          Federal Defendants first argue that their position was substantially justified because the
   Court accepted Defendants’ argument that it lacked jurisdiction to hear the claims of

    Page 4 of 7                       CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk iv
Case
 Case2:85-cv-04544-DMG-AGR
       8:19-cv-00815-JGB-SHK Document
                              Document1217-12
                                       53 FiledFiled 01/12/22
                                                01/02/20  PagePage
                                                               5 of 799 Page
                                                                        of 199ID Page
                                                                                 #:870ID
                                     #:46346



   unrepresented detainees. (Opposition at 4.) While this argument does show that some of the
   litigation positions taken by Defendants were substantially justified, it does not show that the
   underlying acts, namely the decision to move the detainees, was substantially justified. By de

            Next, Federal Defendants argue that because the Court determined Plaintiffs were not
   likely to succeed on the merits of their APA and First Amendment claims, their position was
   substantially justified. (Opposition at 4.) Again, this argument fails to show that the “totality of
   the circumstances” justify Federal Defendants’ position. While the Court did not find a
   likelihood of success on the APA and First Amendment claims—it did find a likelihood of
   success for the Due Process and INA claims. (Preliminary Injunction Order at 25.) The APA,
   First Amendment, INA, and Due Process claims arose from the same underlying act:
   Defendants’ decision to move detainees out of the AOR. The Court therefore found that the
   underlying act was likely unlawful. That the underlying act as alleged likely violated only two
   rights rather than the claimed four does not make it substantially justified.

           Finally, Federal Defendants argue that their position that the Court lacked jurisdiction
   over the claims of represented detainees was substantially justified because it was the result
   reached in Alvarez. (Opposition at 5–6.) Federal Defendants are correct—their reliance on
   Alvarez was substantially justified. However, the Alvarez court found only that it lacked over
   jurisdiction to hear any claims regarding the right to representation in removal proceedings.
   Alvarez v. Sessions, 338 F. Supp 3d 1042, 1048 (N.D. Cal.). It made no finding about whether
   the government’s decision to move detained immigrants away from their attorneys violated that
   right. In fact, the Alvarez Court explicitly noted:

           This order should not [be] interpreted as a judicial approval of ICE’s decision to
           transfer Petitioners. While the court’s application of the law compels it to dismiss
           this case, the law does not compel it to countenance an agency’s action that is
           contrary to the norms of this country’s justice system.

   Id. at 1050–51. Alvarez, therefore, fails to provide any support for Federal Defendants’ claim
   that their underlying acts were substantially justified. Quite the contrary—it is further evidence
   that Defendants’ position contravened clearly established law and norms.

            Notably, while the Opposition points to small litigation points on which Federal
   Defendants prevailed, it fails to explain how Federal Defendants’ underlying acts—most
   critically, deciding to move represented detainees out of the AOR—were substantially justified.
   Ninth Circuit precedent is clear: the Due Process Clause guarantees that immigrants have the
   right to be represented by counsel of their choosing. See Baltazar-Alcazar v. I.N.S., 386 F.3d
   940, 944 (9th Cir. 2004) (citing Tawadrus v. Ashcroft, 364 F.3d 1099, 1103 (9th Cir. 2004);
   Colindres-Aguilar v. INS, 819 F.2d 259, 261 n.1 (9th Cir. 1987) (noting an immigrant’s right to
   counsel is a statutory right under 8 U.S.C. § 1362 as well as a right protected by the Due Process
   Clause)). And that right is “fundamental”—immigration officials must respect it “in substance
   as well as in name.” Orantes-Hernandez v. Thornburgh, 919 F.2d 549, 554 (9th Cir. 1990)
   (quoting Baires v. INS, 856 F.2d 89, 91 n.2 (9th Cir. 1988)).

    Page 5 of 7                       CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk iv
Case
 Case2:85-cv-04544-DMG-AGR
      8:19-cv-00815-JGB-SHK Document
                            Document 1217-12  Filed 01/12/22
                                     53 Filed 01/02/20   Page Page
                                                              6 of 7100 of 199
                                                                      Page       Page
                                                                            ID #:871
                                  ID #:46347




            Moving detainees far from their retained counsel violates immigrant detainees’ right to
   counsel. See Orantes, 919 F.3d at 564 (affirming injunction restricting transfers because they
   “interfere[d] with established attorney-client relationships”). As the Court found in the
   Preliminary Injunction Order, the Immigrant Plaintiffs’ counsel lacked the resources to represent
   them if they were moved out of the AOR and Immigrant Plaintiffs lacked the resources to find
   new counsel. (Preliminary Injunction Order at 23.) Moreover, frequent confidential in-person
   visits are necessary to maintain a robust attorney-client relationship in the immigration context.
   (Id.) Accordingly, the Court concludes that because moving detainees far from their counsel so
   clearly violates their Due Process right to counsel, Defendants’ underlying acts were not
   substantially justified.

   C. Reasonable Attorneys’ Fees

           Plaintiffs seek $144,876.04 in attorneys’ fees and costs.3 (Reply at 12.) Federal
   Defendants argue that these numbers should be reduced (1) to reflect Plaintiffs’ partial success,
   (2) to eliminate redundancies, and (3) to match the statutory rate rather than the enhanced rate
   Plaintiffs seek. (Opposition at 7–12.) None of these arguments warrant a reduction in attorneys’
   fees and costs.

           First, Plaintiffs’ counsel obtained a successful result for both represented and non-
   represented detainees. While the Court only enjoined the transfer of the represented detainees,
   Plaintiffs’ counsel negotiated with Defendants to reach an agreement that Defendants would not
   transfer any immigrant detainees outside of the AOR. (Motion at 4.) Had Defendants declined
   this agreement, Plaintiffs’ counsel was prepared to amend their complaint and file a discovery
   motion. (Reply at 8.) Federal Defendants assert that they were not planning to transfer any
   detainees out of the AOR, so Plaintiffs’ counsel’s negotiations did nothing to change the status
   quo. (Opposition at 2–3.) Plaintiffs however, have submitted evidence showing that Defense
   counsel urged Plaintiffs’ counsel to delay filing the discovery motion to give Defense counsel
   time to obtain approval from the “East Coast” for the proposed agreement. (Reply at 9;
   Arulanantham Supplemental Declaration ¶ 5, Exhibit A.) This email demonstrates that it was
   the negotiations with Plaintiffs’ counsel and the threat of continued litigation that prompted the
   agreement—not Defendants’ alleged previous intent.

           Second, Plaintiffs’ hours calculation does not include any redundancies. Defendants
   point to one hearing and five calls where two attorneys were present and argue that “these
   redundant hours should be deducted.” (Opposition at 9–10.) This argument is frivolous,
   insincere, and a waste of the Court’s time. Per Ninth Circuit precedent that Federal Defendants

           3
            The Motion requests $137,031.87. (Motion at 16.) In response to Federal Defendants’
   argument that the fees calculation includes less than four hours of clerical work billed by a
   paralegal, Plaintiffs removed those hours and reduced the remainder of that paralegal’s hours by
   10%. (Reply at 10.) Plaintiffs also added the time spent drafting the Reply. (Id. at 12.)
   (continued . . . )
    Page 6 of 7                      CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk iv
Case
 Case2:85-cv-04544-DMG-AGR
      8:19-cv-00815-JGB-SHK Document
                            Document 1217-12  Filed 01/12/22
                                     53 Filed 01/02/20   Page Page
                                                              7 of 7101 of 199
                                                                      Page       Page
                                                                            ID #:872
                                  ID #:46348



   themselves cite, two attorneys present for an important call or hearing is not redundant. Probe v.
   State Teachers’ Ret. Sys., 780 F.2d 776, 785 (9th Cir. 1986) (“In an important class action
   litigation [], the participation of more than one attorney does not constitute an unnecessary
   duplication of effort.”).4 Moreover, Defendants had three attorneys present at the hearing and
   on almost every call. (Supplemental Arulanantham Decl. ¶ 7.) Unless Defense counsel agrees it
   wasted taxpayer resources at the hearings and on the calls, it should not level accusations of
   redundancies at Plaintiffs’ counsel.

            Third, Plaintiffs’ counsel’s competent representation warrants the enhanced rate they
   seek. Plaintiffs have submitted the declarations of two non-parties, Professor Jayashri Srikantiah
   and Attorney Carol Sobel, which state that the rates Plaintiffs seek are reasonable for the work
   that was done no attorney would be available to do the work at the EAJA statutory rate. (See
   Srikantiah Declaration; Sobel Declaration.) Plaintiffs’ counsel each have experience litigating
   complex cases involving the constitutional rights of immigrant detainees. (Arulanantham
   Declaration ¶¶ 7–27.) All three, therefore, have distinctive knowledge and specialized skill in
   this complex area of the law. The Ninth Circuit has specifically recognized that Mr.
   Arulanantham’s knowledge and skill warrant enhanced rates under the EAJA for his work
   litigating the constitutional rights of detained immigrants. See e.g., Nadarajah v. Holder, 569
   F.3d 906, 914 (9th Cir. 2009).

          This case required Plaintiff’s counsel’s specialized knowledge and expertise. It involved
   unique issues of statutory jurisdiction. When Plaintiffs’ counsel received notification about the
   pending transfers, they immediately identified the threat to their clients’ constitutional rights and
   quickly moved to obtain emergency relief. (Motion at 2–3.) It is not likely that lawyers without
   Plaintiffs’ counsel’s specialized knowledge would have been able to obtain similar results. (See
   also Srikantiah Declaration ¶¶ 10–12.) Accordingly, the Court finds the number of hours worked
   on this case by Plaintiff’s counsel was reasonable and the rates Plaintiffs seek are warranted.

                                         IV.   CONCLUSION

        For the reasons above, the Court GRANTS Plaintiffs’ Motion. Plaintiffs’ counsel are
   awarded $144,876.04 in attorneys’ fees and costs. The January 6, 2019 hearing is VACATED.



   IT IS SO ORDERED.




           4
             Defense counsel cites Probe to support their argument that the Court should reduce
   Plaintiffs’ fee award because two attorneys attended a hearing and five calls. Probe holds the
   opposite—that multiple attorneys are not redundant in important cases. See Probe, 780 F.2d
   776, 785 (9th Cir. 1986).

    Page 7 of 7                       CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk iv
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 102 of 199 Page
                                 ID #:46349




     Exhibit 7 to Sobel Declaration
Case
Case 2:85-cv-04544-DMG-AGR
     5:18-cv-01317-ODW-KES Document
                           Document 1217-12  Filed 01/12/22
                                    63 Filed 05/26/20  Page Page  103Page
                                                            1 of 13   of 199   Page
                                                                           ID #:887
                                 ID #:46350



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  8                      United States District Court
  9                      Central District of California
 10
 11   GUSTAVO RODRIGUEZ CASTILLO,                 Case No. 5:18-cv-01317-ODW (KESx)
 12               Plaintiffs-Petitioners,
                                                  ORDER GRANTING PLAINTIFFS’
 13         v.                                    MOTION FOR ATTORNEYS’ FEES
                                                  [49]
 14   KIRSTJEN NIELSEN, Secretary,
      Department of Homeland Security, et al,
 15
                  Defendants-Respondents.
 16
 17                                   I.    INTRODUCTION
 18         Before the Court is a Motion for Attorneys’ Fees (“Motion”) filed by Plaintiffs
 19   Gustavo Rodriguez Castillo (“Castillo”), Gabriela M. Lopez (“Lopez”), and
 20   Immigrant Defenders Law Center (“IDLC”) (collectively “Plaintiffs”) seeking
 21   $190,718.89 in fees and costs from Defendants pursuant to the Equal Access to Justice
 22   Act (“EAJA”), 28 U.S.C. § 2412. (See Mot., ECF No. 49.) For the reasons discussed
 23   below, the Court GRANTS Plaintiffs’ Motion.
 24                                   II.   BACKGROUND
 25         The Court recited this case’s facts in its Temporary Restraining Order and
 26   Order to Show Cause (“TRO”) and incorporates that discussion here. (See TRO, ECF
 27   No. 10.) Plaintiffs brought this action on June 19, 2018, to challenge practices
 28   concerning civil immigration detainees held at FCI Victorville Medium Security
Case
Case 2:85-cv-04544-DMG-AGR
     5:18-cv-01317-ODW-KES Document
                           Document 1217-12  Filed 01/12/22
                                    63 Filed 05/26/20  Page Page  104Page
                                                            2 of 13   of 199   Page
                                                                           ID #:888
                                 ID #:46351




  1   Prison (“FCI Victorville”), a federal correctional facility used to house convicted
  2   criminals. (See generally Compl., ECF No. 1.) On or about June 4, 2018, the Bureau
  3   of Prisons (“BOP”) received hundreds of immigration detainees for temporary
  4   housing in FCI Victorville. (Compl. ¶ 17; see also Decl. of Jess Pino (“Pino Decl.”) ¶
  5   3, ECF No. 7-1.)      The federal government began transferring detainees to FCI
  6   Victorville on or about June 8, 2018. (Compl. ¶ 19.)
  7          Detainees were incarcerated pending a screening known as a “credible fear”
  8   interview and, if found to have a “credible fear,” pending immigration court
  9   proceedings. (Compl. ¶ 20.) Due to the volume of detainees, medical screenings, and
 10   other administrative tasks, Defendants did not finalize attorney visitation procedures
 11   until June 19, 2019. (Pino Decl. ¶ 5.) Consequently, detainees at FCI Victorville
 12   could not consult an attorney before June 19, 2019. (Compl. ¶ 22.)
 13          Here, Castillo was held as a detainee, Lopez served as Castillo’s attorney, and
 14   IDLC is a nonprofit organization that provided legal services to detained immigrants.
 15   (Compl. ¶¶ 5–7.) On June 19, 2018, Plaintiffs filed their Complaint and sought a
 16   TRO.      Plaintiffs’ Complaint alleged that Defendants’ denial of attorney access
 17   violated their due process rights and First Amendment rights, and Defendants’
 18   policies regarding access to attorneys violated the Administrative Policy Act and the
 19   Immigration and Nationality Act. (Compl. ¶¶ 52–69.) Plaintiffs’ TRO sought to: (1)
 20   permit Lopez to meet with Castillo; (2) permit other detainees at FCI Victorville to
 21   communicate with attorneys; (3) permit the IDLC to conduct “know your rights”
 22   training for the detainees at FCI Victorville; and (4) stop immigration proceedings at
 23   FCI Victorville, or deportation of any such detainees, until they could consult an
 24   attorney and attend an IDLC training. (See Pls.’ Ex. Parte Appl. (“Ex Parte”), ECF
 25   No. 4.)
 26          Defendants opposed on June 20, 2018. (Opp’n to Ex Parte, ECF No. 7.)
 27   Defendants affirmed that they were “acutely aware of the need to allow” attorney
 28   visitation and that it had “now implemented procedures” for attorneys to visit with

                                                2
Case
Case 2:85-cv-04544-DMG-AGR
     5:18-cv-01317-ODW-KES Document
                           Document 1217-12  Filed 01/12/22
                                    63 Filed 05/26/20  Page Page  105Page
                                                            3 of 13   of 199   Page
                                                                           ID #:889
                                 ID #:46352




  1   detainees.   (Pino Decl. ¶ 7.)     Defendants also provided details concerning the
  2   implemented procedures for attorney visitation.      (Pino Decl., Ex. A (“Mem. for
  3   FCI”).) Namely, Defendants’ new policies permitted attorney visitations to occur in a
  4   single visitation room, Tuesday through Friday from 8:30 a.m. to 3:00 p.m., and only
  5   if the visiting attorney and individuals accompanying the attorney successfully
  6   completed the necessary paperwork. (Mem. for FCI.) In their reply, Plaintiffs argued
  7   these policies did not ensure sufficient visitation, provide adequate “know your rights”
  8   training, or guarantee that Defendants would not proceed with detainees’ cases until
  9   they had access to counsel. (Reply to Opp’n to Ex Parte, ECF No. 8.)
 10         On June 21, 2018, the Court issued the TRO and an order to show cause why a
 11   preliminary injunction should not issue. (TRO 7.) The TRO decided that in-person
 12   communications may proceed according to the protocols Defendants provided and
 13   required Defendants to:
 14         (1) Permit Lopez to conduct an attorney-client conversation with Castillo;
 15         (2) Permit other FCI Victorville detainees to communicate with attorneys;
 16         (3) Permit IDLC to conduct “know your rights” trainings at FCI Victorville; and
 17         (4) Refrain from immigration proceedings or deportations until detainees could
 18            consult an attorney or attend “know your rights” training.
 19   (TRO 6–7.)
 20         In their Response and Request to Dissolve the TRO, Defendants argued “there
 21   is a perfectly valid and reasonable explanation for” initially denying attorney access
 22   and then allowing restricted visitation: “[n]amely, the facility only just began housing
 23   immigrants immediately prior to the outset of the litigation.” (Defs.’ Resp. and Req.
 24   Dissolve TRO (“Resp.”) 18, ECF No. 20.) Yet, Defendants did not address Plaintiffs’
 25   allegations concerning their due process or First Amendment claims. (Resp. 18.)
 26         Thereafter, the Court held a hearing on the order to show cause on July 30,
 27   2018. (Min. of TRO Hr’g, ECF No. 22.) After being updated on Defendants’ lack of
 28   progress, the Court told the parties “we’re going to make meaningful progress or I am

                                                 3
Case
Case 2:85-cv-04544-DMG-AGR
     5:18-cv-01317-ODW-KES Document
                           Document 1217-12  Filed 01/12/22
                                    63 Filed 05/26/20  Page Page  106Page
                                                            4 of 13   of 199   Page
                                                                           ID #:890
                                 ID #:46353




  1   going to draft a preliminary injunction.” (See Decl. of Michael Kaufman (“Kaufman
  2   Decl.”), Ex. F (“Hr’g Tr.”) 39, 48, ECF No. 54-1.) Defendants assured the Court that
  3   they would make progress in satisfying the conditions of the TRO and not “simply
  4   move people to Adelanto [to] fast track removal proceeding[s],” and thus would not
  5   require a court issued preliminary injunction. (See Hr’g Tr. 40.)
  6         The parties then stipulated to extend the TRO for two weeks to pursue
  7   settlement, and later stipulated to extend the TRO two more times. (ECF Nos. 23, 28,
  8   34.) The parties then came to an impasse and stipulated on August 27, 2018 to extend
  9   the TRO pending the Court’s consideration of whether a preliminary injunction should
 10   issue. (ECF No. 37.) The Court approved the parties’ stipulation and ordered them
 11   to file a joint status report concerning whether a preliminary injunction should issue.
 12   (ECF No. 38.) The parties filed their joint status report on August 29, 2018. (Status
 13   Report, ECF No. 39.) In the report, Defendants: (1) noted that FCI Victorville had
 14   decreased its detainee population to 202 and taken no new detainees since July 24,
 15   2018; (2) described new visitation policies and implementation of Court-ordered
 16   “know your rights” training; and (3) concluded that if “the Court is inclined to grant
 17   Plaintiff a preliminary injunction based on this status report, Defendants request
 18   instead that the Court set this matter for hearing in 30 days…” (See generally Status
 19   Report.)   After reviewing the parties’ submissions, the Court set a preliminary
 20   injunction hearing for October 19, 2018. (ECF No. 40.)
 21         On September 28, 2018, Defendants filed their Opposition to Plaintiffs’ Motion
 22   for Preliminary Injunction, affirming that they had transferred all immigration
 23   detainees out of FCI Victorville effective September 14, 2018 and would no longer
 24   hold immigration detainees at the facility. (See Defs.’ Opp’n to Mot. for Prelim. Inj.
 25   4, ECF No. 41.)     Afterwards, on October 10, 2018, Plaintiffs filed a Notice of
 26   Withdrawal of their Motion for a Preliminary Injunction. (ECF No. 42.) The Court
 27   granted that request and vacated the hearing. (ECF No. 43.)
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                                                 4
Case
Case 2:85-cv-04544-DMG-AGR
     5:18-cv-01317-ODW-KES Document
                           Document 1217-12  Filed 01/12/22
                                    63 Filed 05/26/20  Page Page  107Page
                                                            5 of 13   of 199   Page
                                                                           ID #:891
                                 ID #:46354




  1         On October 30, 2019, the parties filed a Joint Stipulation to Voluntarily Dismiss
  2   the Case Without Prejudice under Federal Rule of Civil Procedure 41(a)(1)(A)(ii).
  3   (ECF No. 48.) The Court dismissed all claims without prejudice and closed the case.
  4   (ECF No. 58.)      Plaintiffs now seek fees incurred from June 18, 2018 through
  5   December 9, 2019. (See Pls.’ Reply, ECF No. 62.)
  6                                III.   LEGAL STANDARD
  7   A.    Attorneys’ Fees Under the EAJA.
  8         Pursuant to the EAJA, federal courts are authorized to award attorneys’ fees,
  9   court costs, and other expenses. See 28 U.S.C. § 2412(a)(1); 28 U.S.C. § 2412(d);
 10   Hardisty v. Astrue, 592 F.3d 1072, 1076 (9th Cir. 2010). For the district court to
 11   award attorney’s fees and costs pursuant to the EAJA, it must be shown that (1) the
 12   plaintiff is the prevailing party, (2) the government has not met its burden of showing
 13   that its positions were substantially justified or that special circumstances make an
 14   award unjust, and (3) the requested attorney’s fees and costs are reasonable. Murgolo
 15   v. Astrue, 257 F. App’x 53, 54 (9th Cir. 2007).
 16         A litigant must meet two criteria to qualify as a “prevailing party” under the
 17   EAJA. Buckhannon Bd. and Care Home, Inc. v. W. Va. Dep’t of Health and Human
 18   Res., 532 U.S. 598, 604 (2001). First, the litigant must achieve a “material alteration
 19   of the legal relationship of the parties.” Carbonell v. I.N.S., 429 F.3d 894, 898 (9th
 20   Cir. 2005). Second, that alteration must be “judicially sanctioned.” Id. (citations
 21   omitted).   The Ninth Circuit has “previously held that when a plaintiff wins a
 22   preliminary injunction and the case is rendered moot before final judgment, either by
 23   the passage of time or other circumstances beyond the parties’ control, the plaintiff is
 24   a prevailing party eligible for a fee award.” Higher Taste, Inc. v. City of Tacoma, 717
 25   F.3d 712, 717 (9th Cir. 2013) (citations omitted).
 26         The burden of proving the substantial justification exception to the mandatory
 27   award of fees under the EAJA lies with the government. Love v. Reilly, 924 F.2d
 28   1492, 1495 (9th Cir. 1991). “Substantial justification” is defined as:

                                                  5
Case
Case 2:85-cv-04544-DMG-AGR
     5:18-cv-01317-ODW-KES Document
                           Document 1217-12  Filed 01/12/22
                                    63 Filed 05/26/20  Page Page  108Page
                                                            6 of 13   of 199   Page
                                                                           ID #:892
                                 ID #:46355




  1         justified in substance or in the main – that is, justified to a degree that
            could satisfy a reasonable person. [This standard] is no different from the
  2         “reasonable basis in both law and fact” formulation adopted by the Ninth
  3         Circuit and the vast majority of other Courts of Appeals that have
            addressed this issue.
  4
  5   Pierce v. Underwood, 487 U.S. 552, 565 (1988).
  6         In determining the reasonableness of the government’s position under the
  7   “totality of the circumstances” test, the court reviews the underlying governmental
  8   action being defended and the positions taken by the government in the litigation
  9   itself. Gutierrez v. Barnhart, 274 F.3d 1255, 1259 (9th Cir. 2001).
 10         “The amount of attorneys’ fees awarded under EAJA must be reasonable.”
 11   Nadarajah v. Holder, 569 F.3d 906, 910 (9th Cir. 2009). Attorney’s fees for hours
 12   that are not “reasonably expended” or that are “excessive, redundant, or otherwise
 13   unnecessary” are not compensable. Hensley v. Eckerhart, 461 U.S. 424, 434 (1983).
 14   “[C]ourts should generally defer to the ‘winning lawyer’s professional judgment as to
 15   how much time he was required to spend on the case.’” Costa v. Comm’r of Soc. Sec.
 16   Admin., 690 F.3d 1132, 1136 (9th Cir. 2012) (citations omitted).
 17                                    IV.   DISCUSSION
 18         Plaintiffs assert that they are entitled to $190,718.89 in fees and costs under the
 19   EAJA. (See Mot.; Reply.) Defendants respond that the Court should deny Plaintiffs’
 20   Motion as: (1) Plaintiffs were not prevailing parties; (2) Defendants position was
 21   substantially justified; and (3) Plaintiffs’ fees are unreasonable and should be reduced.
 22   (See Opp’n to Mot. (“Opp’n”), ECF No. 57.)
 23   A.    Prevailing Party
 24         Plaintiffs argue that they are prevailing parties because the TRO and its
 25   extensions, created a “material alteration in the legal relationships between the
 26   parties,” which was “judicially sanctioned.” (Mot. 8–9.) Defendants oppose by
 27   asserting that the remedial actions it took, after the Complaint was filed, made it “not
 28   necessary for Plaintiffs to continue to seek a TRO.” (Opp’n 3.) Defendants further

                                                 6
Case
Case 2:85-cv-04544-DMG-AGR
     5:18-cv-01317-ODW-KES Document
                           Document 1217-12  Filed 01/12/22
                                    63 Filed 05/26/20  Page Page  109Page
                                                            7 of 13   of 199   Page
                                                                           ID #:893
                                 ID #:46356




  1   argue that fees are improper due to the abbreviated schedule for opposing the TRO
  2   and as the Court never expressly ruled that Plaintiffs were likely to succeed on the
  3   merits. (Opp’n 3.) Finally, Defendants argue that without court intervention, the
  4   procedures implemented at FCI Victorville and the transfer of detainees from FCI
  5   Victorville would have occurred. (Opp’n 3.)
  6         The Court rejects Defendants’ arguments.         Foremost, the actions cited by
  7   Defendants—know your rights training and communication between Lopez and
  8   Castillo—occurred only after the TRO issued. (Opp’n 2–5.) In fact, they were
  9   mandated by the TRO. (See TRO 6–7.) Defendants assertion that they immediately
 10   complied with the TRO does not disprove that Plaintiffs are prevailing parties.
 11   Rather, it is evidence that Plaintiffs prevailed. Shapiro v. Paradise Valley Unified
 12   Sch. Dist. No. 69, 374 F.3d 857, 865 (9th Cir. 2004) (“[E]ssentially, in order to be
 13   considered a ‘prevailing party’ after Buckhannon, a plaintiff must not only achieve
 14   some material alteration of the legal relationship of the parties, but that change must
 15   also be judicially sanctioned.”) (internal quotations and citations omitted). Here,
 16   despite Defendants moving to dissolve it, the Court’s three orders extending the TRO,
 17   further demonstrates that Defendants’ remedial actions were “judicially sanctioned.”
 18   Accordingly, Plaintiffs are prevailing parties with regards to the TRO and any ensuing
 19   litigation to enforce it. See Carbonell, 429 F.3d at 901 (“[W]hen a court incorporates
 20   the terms of a voluntary agreement into an order, that order is stamped with sufficient
 21   ‘judicial imprimatur’ for the litigant to qualify as a prevailing party for the purpose of
 22   awarding attorney's fees.”).
 23         Defendants’ argument that the Court never expressly found that Plaintiffs were
 24   likely to succeed on the merits—also fails, clearly, by granting the TRO, the Court
 25   determined that Plaintiffs were likely to succeed on the merits.          (See TRO 5.)
 26   Likewise, the proceedings’ expedited nature is irrelevant to whether Plaintiffs were
 27   prevailing parties, Plaintiffs achieving a TRO on a necessarily abbreviated timeline is
 28   sufficient to create a “judicially sanctioned,” “material alteration in the legal

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Case
Case 2:85-cv-04544-DMG-AGR
     5:18-cv-01317-ODW-KES Document
                           Document 1217-12  Filed 01/12/22
                                    63 Filed 05/26/20  Page Page  110Page
                                                            8 of 13   of 199   Page
                                                                           ID #:894
                                 ID #:46357




  1   relationships between the parties.” Int’l Refugee Assistance Project v. Kelly, 2017
  2   WL 3263870, at *4 (C.D. Cal. July 27, 2017) (determining plaintiffs as the prevailing
  3   party even though TRO was issued on the same day that the TRO motion was made).
  4         Finally, Defendants’ attempt to attribute adoption of Plaintiffs’ requested
  5   changes to their uncoerced decision-making—is contrary to the record. Plainly, the
  6   TRO, the Court-ordered extensions, and litigation necessitating Plaintiffs’ fees, while
  7   the TRO was in effect, make clear that Court involvement, not Defendants’ discretion,
  8   produced the changes that resulted in voluntary dismissal. Higher Taste, Inc., 717
  9   F.3d at 717 (“The defendant’s action in rendering the case moot ensures that the
 10   [preliminary] injunction’s alteration of the parties’ legal relationship will not be
 11   undone by subsequent rulings in the litigation.”); see also Int’l Refugee Assistance
 12   Project, 2017 WL 3263870, at *4 (“[T]hat [the government] retained discretion” to
 13   implement immigration policies following temporary restraining order “does not mean
 14   that Petitioners cannot be the prevailing party.”).
 15         Hence, Plaintiffs were prevailing parties under the EAJA.
 16   B.    Substantially Justified Position
 17         Defendants bear the burden to establish that their position, which includes both
 18   their underlying conduct and arguments during litigation, was substantially justified
 19   under the “totality of the circumstances.”        Gutierrez, 274 F.3d at 1259.     The
 20   underlying conduct here is primarily Defendants’ decision to hold hundreds of civil
 21   immigration detainees for approximately two weeks without access to counsel. (TRO
 22   6 (“[T]he parties do not dispute that many of the detainees were without access to
 23   legal communication for as many as 9 to 13 days, possibly longer in Castillo’s case.
 24   Defendants have made no representations regarding the status of removal proceedings
 25   for those detainees who have not had access to counsel.”).)
 26         Defendants do not and cannot dispute that holding civil immigration detainees
 27   incommunicado for such prolonged periods implicates due process concerns.
 28   Halvorsen v. Baird, 146 F.3d 680, 688 (9th Cir. 1998) (“There is a well established

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Case
Case 2:85-cv-04544-DMG-AGR
     5:18-cv-01317-ODW-KES Document
                           Document 1217-12  Filed 01/12/22
                                    63 Filed 05/26/20  Page Page  111Page
                                                            9 of 13   of 199   Page
                                                                           ID #:895
                                 ID #:46358




  1   tradition against holding prisoners incommunicado in the United States.”) Instead,
  2   Defendants argue that circumstances at FCI Victorville delayed their ability to ensure
  3   due process, pointing to previously discussed measures taken in response to the
  4   Complaint and TRO. (Opp’n 5–7.) However, Defendants’ pre-litigation conduct
  5   necessitated this lawsuit, and their lack of progress, post-TRO, required protracted
  6   extension of the TRO until Defendants transferred all detainees, an action finally
  7   taken on the eve of potential injunctive relief. (See Hr’g Tr. 39.) (“I am going to be
  8   convinced that we’re going to make meaningful progress or I am going to draft and
  9   enter a preliminary injunction that, well, somebody’s not going to like.”)); see also
 10   (Status Report 14 (“In the event that the Court is inclined to grant Plaintiff a
 11   preliminary injunction based on this status report, Defendants request instead that the
 12   Court set this matter for hearing in 30 days…”).)
 13         Defendants’ assertion that confining detainees at a facility for convicted
 14   criminals complicated access to counsel does not justify Defendants’ position.
 15   Instead, it is an indictment of their decision to house them there in the first place.
 16   Colindres-Aguilar v. INS, 819 F.2d 259, 261 n.1 (9th Cir. 1987) (noting an
 17   immigrant’s right to counsel is a statutory right under 8 U.S.C. § 1362, as well as a
 18   right protected by the due process clause). This underlying action, alone, warrants a
 19   finding that Defendants’ position was not substantially justified, regardless of
 20   arguments made during litigation. United States v. Marolf, 277 F.3d 1156, 1163–64
 21   (9th Cir. 2002) (“A reasonable litigation position does not establish substantial
 22   justification in the face of a clearly unjustified underlying action.”) (citing Wilderness
 23   Soc’y v. Babbitt, 5 F.3d 383, 388–89 (9th Cir. 1993) (holding government was not
 24   substantially justified despite reasonable defense in litigation); Andrew v. Bowen, 837
 25   F.2d 875, 877–80 (9th Cir. 1988) (same)).
 26         The Court therefore concludes that Defendants have not established their
 27   position was substantially justified.
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                                                  9
Case 5:18-cv-01317-ODW-KES
Case 2:85-cv-04544-DMG-AGR Document
                           Document 63
                                    1217-12    Filed 01/12/22
                                        Filed 05/26/20        Page
                                                         Page 10     112Page
                                                                 of 13  of 199ID #:896
                                                                                 Page
                                 ID #:46359




  1   C.     Reasonable Attorneys’ Fees and Costs
  2          Plaintiffs seek $190,718.89 in fees and costs incurred from June 18, 2018
  3   through December 9, 2019, when Plaintiffs filed the Reply.1 (See Reply 8–12.)
  4   Plaintiffs seek enhanced rates for attorneys Arulanantham ($785 for 2018 and $810
  5   for 2019); Kaufman ($620 for 2018 and $645 for 2019); and Bitran ($450 for 2018
  6   and $480 for 2019) and statutory rates for the remaining attorneys. (Mot. 16 (citing
  7   28 U.S.C. § 2412(d)(2)(A)(ii)).) Defendants argue the underlying dispute was not
  8   complex and thus did not require the specialized skill necessary to justify enhanced
  9   rates. (Opp’n 8–9.)
 10          “The Ninth Circuit has specifically recognized that Mr. Arulanantham’s
 11   knowledge and skill warrant enhanced rates under the EAJA for his work litigating the
 12   constitutional rights of detained immigrants.”            Arroyo v. United States Dep’t of
 13   Homeland Sec., No. SACV 19-815 JGB (SHKx), 2020 WL 1228665, at *6 (C.D. Cal.
 14   Jan. 2, 2020) (citing Nadarajah v. Holder, 569 F.3d 906, 914 (9th Cir. 2009)). Here,
 15   as other instances recognized by the Ninth Circuit, counsels’ undisputed expertise on
 16   issues of statutory construction, detainee rights, and effective advocacy in this
 17   challenging context was needed to effectively pursue the emergency relief their clients
 18   obtained. Nadarajah, 569 F.3d at 915 (“Nadarajah has established and the record
 19   shows that… Arulanantham… possessed ‘distinctive knowledge’ and ‘specialized
 20   skill’ that was ‘needful to the litigation in question.’”) (citation omitted).
 21          Plaintiffs cite extensive evidence establishing the specialized expertise of
 22   Arulanantham, Kaufman, and Bitran, moreover, Defendants fail to rebut this evidence.
 23   Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 980 (9th Cir. 2008) (“The party
 24   opposing the fee application has a burden of rebuttal that requires submission of
 25   evidence ... challenging the accuracy and reasonableness of the ... facts asserted by the
 26   prevailing party in its submitted affidavits.”) (citations omitted).               For example,
 27
      1
       Defendants do not dispute Plaintiffs’ costs of $999.38, thus, the Court finds that these costs are
 28   well-documented, reasonable, and therefore shall be recovered. 28 U.S.C. § 2412(d)(1)(A).

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Case 5:18-cv-01317-ODW-KES
Case 2:85-cv-04544-DMG-AGR Document
                           Document 63
                                    1217-12    Filed 01/12/22
                                        Filed 05/26/20        Page
                                                         Page 11     113Page
                                                                 of 13  of 199ID #:897
                                                                                 Page
                                 ID #:46360




  1   Defendants do not dispute Stanford Law Professor Jayashri Srikantiah’s evidence-
  2   based opinion that “this case would [not] have been successful without the particular
  3   knowledge and specialized skill that Mr. Arulanantham, Mr. Kaufman, and Ms. Bitran
  4   brought to this litigation.” (Decl. of Jayashri Srikantiah, ECF No. 52 ¶ 8.) They
  5   similarly do not dispute well-grounded evidence that the rates Plaintiffs seek are equal
  6   to market-based rates for comparable services. (See, e.g., Kaufman Decl. ¶¶ 32–34.)
  7   As such, the Court finds that Plaintiffs’ requested enhanced rates are reasonable and
  8   justified considering the expertise needed to effectively litigate Plaintiffs’ case.
  9         Defendants also object to Plaintiffs’ specific bills, claiming they are wasteful
 10   and redundant. (Opp’n 7–9.) Defendants argue that Ms. Bitran’s discussion of case
 11   issues with a Congressman is not recoverable, but Plaintiffs attest to the need for this
 12   discussion, which the Ninth Circuit has held that such expenses are recoverable.
 13   Gilbrook v. City of Westminster, 177 F.3d 839, 877 (9th Cir. 1999) (“Prevailing civil
 14   rights counsel are entitled to fees for ‘press conferences and performance of other
 15   lobbying and public relations work’ when those efforts are ‘directly and intimately
 16   related to the successful representation of a client.’”). The Court also finds that hours
 17   for “mass representation” and presentations that educated local immigration attorneys,
 18   about post-TRO practices for visiting FCI Victorville, are likewise “directly and
 19   intimately related to successful representation of” detainees. Id. These efforts were
 20   necessary to facilitate access to counsel. Id.
 21         Defendants further object to Ms. Bitran’s presence at the July 30, 2018 hearing,
 22   arguing that the presence of two attorneys was unnecessary given the hearing’s
 23   agenda. (Opp’n 9.) However, the Ninth Circuit has held that two attorneys attending
 24   an important hearing, such as the July 30, 2018 hearing, is not redundant. Probe v.
 25   State Teachers’ Ret. Sys., 780 F.2d 776, 785 (9th Cir. 1986) (“In an important class
 26   action litigation [], the participation of more than one attorney does not constitute an
 27   unnecessary duplication of effort.”).      Defendants’ unfounded argument is further
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Case 5:18-cv-01317-ODW-KES
Case 2:85-cv-04544-DMG-AGR Document
                           Document 63
                                    1217-12    Filed 01/12/22
                                        Filed 05/26/20        Page
                                                         Page 12     114Page
                                                                 of 13  of 199ID #:898
                                                                                 Page
                                 ID #:46361




  1   undermined by the presence of its own two attorneys at the same proceeding. (Reply
  2   10.)
  3          Defendants object to other various bills which Defendants perceive to be
  4   excessive given the purported lack of complexity involved in the tasks. (Opp’n 8–10.)
  5   For example, Defendants point to ten hours billed for the TRO, over thirty hours for a
  6   twelve-page brief, and five hours for Plaintiffs’ reply in further support of the motion
  7   that resulted in the TRO. (Opp’n 8–10.) There is insufficient evidence before the
  8   Court to find these hours excessive or redundant. Rutti v. Lojack Corp., No. SACV
  9   06-350 DOC (JCx), 2012 WL 3151077, at *2 (C.D. Cal. July 31, 2012) (“To reduce
 10   the number of hours worked, “it must appear that the time claimed is obviously and
 11   convincingly excessive under the circumstances.”) (citations omitted).          This is
 12   particularly true where, as here, the hours expended, and the proceedings’ hectic
 13   nature were necessitated by Defendants. Int’l Refugee Assistance Project, 2017 WL
 14   3263870, at *7 (“Petitioners’ ‘all hands on deck’ strategy was not only
 15   understandable, it was likely a necessity… The Court declines to penalize Petitioners
 16   for operating as they did within the rushed timetable Respondents created.”)
 17          Finally, Defendants object to the hours billed by Mr. Arulanantham, claiming
 18   the billing entries are ambiguous and the work unnecessary. (Opp’n 8 (citing bills for
 19   “warehousing,” habeas cases, “reinstatement,” conversations with Federal Public
 20   Defender and other attorneys).) In response, Mr. Arulanantham submitted a
 21   declaration establishing the background of each disputed bill, and why the work was
 22   necessary to prosecute Plaintiffs’ case. (See Decl. of Ahilan Arulanantham ¶¶ 5–9,
 23   ECF No. 61.) Because the Ninth Circuit instructs district courts to “defer to the
 24   ‘winning lawyer’s professional judgment as to how much time he was required to
 25   spend on the case,’” the Court finds that this declaration is sufficient to overrule
 26   Defendants’ objection. Costa, 690 F.3d at 1136 (citations omitted). Such deference is
 27   further supported by the excellent outcome that resulted from counsels’ zealous and
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Case 5:18-cv-01317-ODW-KES
Case 2:85-cv-04544-DMG-AGR Document
                           Document 63
                                    1217-12    Filed 01/12/22
                                        Filed 05/26/20        Page
                                                         Page 13     115Page
                                                                 of 13  of 199ID #:899
                                                                                 Page
                                 ID #:46362




  1   competent advocacy. Hensley, 461 U.S. at 435 (“Where a plaintiff has obtained
  2   excellent results, his attorney should recover a fully compensatory fee.”)
  3         Accordingly, the Court finds the request for $190,718.89 in fees and costs to be
  4   well-documented and reasonable.
  5                                    V.   CONCLUSION
  6         For the reasons discussed above, the Court GRANTS Plaintiffs’ Motion for
  7   Attorneys’ Fees. (ECF No. 49.) Plaintiffs’ counsels are awarded $190,718.89.
  8
  9         IT IS SO ORDERED.
 10
 11         May 26, 2020
 12                                ____________________________________
 13                                         OTIS D. WRIGHT, II
                                    UNITED STATES DISTRICT JUDGE
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Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 116 of 199 Page
                                 ID #:46363




     Exhibit 8 to Sobel Declaration
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 117 of 199 Page
                                 ID #:46364
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 118 of 199 Page
                                 ID #:46365
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 119 of 199 Page
                                 ID #:46366
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 120 of 199 Page
                                 ID #:46367
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 121 of 199 Page
                                 ID #:46368
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 122 of 199 Page
                                 ID #:46369
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 123 of 199 Page
                                 ID #:46370
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 124 of 199 Page
                                 ID #:46371
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 125 of 199 Page
                                 ID #:46372
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 126 of 199 Page
                                 ID #:46373
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 127 of 199 Page
                                 ID #:46374
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 128 of 199 Page
                                 ID #:46375
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 129 of 199 Page
                                 ID #:46376
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 130 of 199 Page
                                 ID #:46377
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 131 of 199 Page
                                 ID #:46378
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 132 of 199 Page
                                 ID #:46379
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 133 of 199 Page
                                 ID #:46380
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 134 of 199 Page
                                 ID #:46381
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 135 of 199 Page
                                 ID #:46382
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 136 of 199 Page
                                 ID #:46383
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 137 of 199 Page
                                 ID #:46384
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 138 of 199 Page
                                 ID #:46385
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 139 of 199 Page
                                 ID #:46386
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 140 of 199 Page
                                 ID #:46387
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 141 of 199 Page
                                 ID #:46388
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 142 of 199 Page
                                 ID #:46389
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 143 of 199 Page
                                 ID #:46390
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 144 of 199 Page
                                 ID #:46391
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 145 of 199 Page
                                 ID #:46392
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 146 of 199 Page
                                 ID #:46393
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 147 of 199 Page
                                 ID #:46394
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 148 of 199 Page
                                 ID #:46395
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 149 of 199 Page
                                 ID #:46396
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 150 of 199 Page
                                 ID #:46397
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 151 of 199 Page
                                 ID #:46398
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 152 of 199 Page
                                 ID #:46399
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 153 of 199 Page
                                 ID #:46400
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 154 of 199 Page
                                 ID #:46401
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 155 of 199 Page
                                 ID #:46402
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 156 of 199 Page
                                 ID #:46403
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 157 of 199 Page
                                 ID #:46404
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 158 of 199 Page
                                 ID #:46405
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 159 of 199 Page
                                 ID #:46406
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 160 of 199 Page
                                 ID #:46407
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 161 of 199 Page
                                 ID #:46408
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 162 of 199 Page
                                 ID #:46409
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 163 of 199 Page
                                 ID #:46410
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 164 of 199 Page
                                 ID #:46411
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 165 of 199 Page
                                 ID #:46412
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 166 of 199 Page
                                 ID #:46413
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 167 of 199 Page
                                 ID #:46414
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 168 of 199 Page
                                 ID #:46415
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 169 of 199 Page
                                 ID #:46416
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 170 of 199 Page
                                 ID #:46417
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 171 of 199 Page
                                 ID #:46418
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 172 of 199 Page
                                 ID #:46419
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 173 of 199 Page
                                 ID #:46420
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 174 of 199 Page
                                 ID #:46421
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 175 of 199 Page
                                 ID #:46422
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 176 of 199 Page
                                 ID #:46423
Case 2:85-cv-04544-DMG-AGR Document 1217-12 Filed 01/12/22 Page 177 of 199 Page
                                 ID #:46424




     Exhibit 9 to Sobel Declaration
Case
Case 2:85-cv-04544-DMG-AGR  Document
     5:14-cv-02171-JGB-SP Document    1217-12
                                    103         Filed 01/12/22
                                         Filed 02/28/19  Page 1Page
                                                                of 22178 of 199
                                                                      Page        Page
                                                                             ID #:1545
                                   ID #:46425




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

    Case No.       EDCV 14-2171 JGB (SPx)                              Date February 28, 2019
    Title Dan McKibben, et al. v. John McMahon et al.


    Present: The Honorable        JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


               MAYNOR GALVEZ                                            Not Reported
                   Deputy Clerk                                        Court Reporter


       Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                   None Present                                         None Present

    Proceedings:     Order (1) GRANTING Plaintiffs’ Motion for Attorneys’ Fees (Dkt. No.
                     86); and (2) GRANTING Plaintiffs' Motion for Final Approval of Class
                     Settlement (Dkt. No. 90) (IN CHAMBERS)

           On January 18, 2019, Plaintiffs1 Pedro Guzman, Nick Ou, Sean Lint, Anthony Oliver,
   Timothy Walker, Ilich Vargas, William Kennedy, Jonathan Robertson, Steve Aka Lynn Price,
   Bryan Bagwell, Christopher Crawford2, Frederick Crockan, Taheash White, Michael Aka
   Madison Hatfield, and Kevin Aka Veronica Pratt (collectively, “Plaintiffs” or “Named
   Plaintiffs”) filed a Motion for Final Approval of Class Settlement. (“MFACS,” Dkt. No. 90.)
   On November 7, 2018, Plaintiffs moved for attorneys’ fees and costs. (“MAF,” Dkt. No 86.)
   These matters are unopposed. The Court held a hearing on these matters on February 11, 2019.
   Upon consideration of the papers filed in support of these motions, as well as oral arguments
   presented by the parties, the Court GRANTS Plaintiff’s MFACS and GRANTS Plaintiffs’
   MAF.

                                          I. BACKGROUND

           On May 20, 2015 Plaintiffs filed a Second Amended Complaint against Defendants
   Sheriff John McMahon, Greg Garland, Jeff Rose, Sergeant James Mahan, Corporal Armando

           1
             Plaintiff Dan McKibben passed away while this lawsuit was pending, and is not listed as
   a Plaintiff. His name is still used as the Case Name.
           2
          At the February 11, 2019 hearing, Plaintiffs’ Counsel reported that Christopher
   Crawford passed away while this motion was pending.

    Page 1 of 22                      CIVIL MINUTES—GENERAL                 Initials of Deputy Clerk MG
Case
Case 2:85-cv-04544-DMG-AGR  Document
     5:14-cv-02171-JGB-SP Document    1217-12
                                    103         Filed 01/12/22
                                         Filed 02/28/19  Page 2Page
                                                                of 22179 of 199
                                                                      Page        Page
                                                                             ID #:1546
                                   ID #:46426



   Castillo, the County of San Bernardino (“the County”), and San Bernardino Sheriff’s
   Department (“SBCSD”) (collectively “Defendants”). (“SAC,” Dkt. 37.) Plaintiffs sue each
   individual defendant in both his individual and official capacity. (Id.) Plaintiffs allege three
   causes of action: (1) violation of 42 U.S.C. § 1983 for depriving Plaintiffs of equal protection
   afforded by the 14th Amendment based on sexual orientation, gender identity, and gender; (2)
   violation of Cal. Civ. Code § 52.1 for interfering with Plaintiffs’ rights to equal protection under
   the California Constitution; and (3) injunctive relief under Article 1, § 7 of the California
   Constitution and violation of Cal. Govt. Code §1135(A) by the County, SBCSD, and McMahon.
   (Id.)

           On August 15, 2018, Plaintiffs filed a Motion for Preliminary Approval of Class Action
   Settlement. On September 10, 2018, the Court granted the preliminary approval of this class
   action settlement and granted conditional certification of the proposed settlement classes.
   (“Preliminary Approval Order,” Dkt. No 84.) In the Preliminary Approval Order, the Court
   ordered:

           1. The Settlement Agreement is preliminarily approved as fair, reasonable, and adequate
              for members of the settlement class.

           2. The following settlement classes are certified for settlement purpose only:

                   a. Damages Class: Individuals who, between October 22, 2012 (two years prior
                      to the filing of the original complaint, which is the statute of limitations period
                      under 42 U.S.C. § 1983) and March 31, 2018 (the end of the month in which
                      the settlement was reached in principle) were gay, bisexual, and/or
                      transgender inmates housed in the Alternative Lifestyle Tank of the San
                      Bernardino County Jail facility known as West Valley Detention Center.

                   b. Injunctive Relief Class: Individuals who currently are, or in the future will be,
                      gay, bisexual, and/or transgender inmates housed in the San Bernardino
                      County jails, including but not limited to those housed in the Alternative
                      Lifestyle Tank.

           3. Barrett S. Litt, David McLane, and Lindsay Battles of Kaye, McLane, Bednarski &
              Litt, and Melissa Goodman, Amanda Goad, Brendan Hamme, and Aditi Fruitwala of
              the ACLU Foundation of Southern California are appointed as class counsel for
              purposes of settlement only.

           4. Named Plaintiffs Pedro Guzman, Nick Ou, Sean Lint, Anthony Oliver, Timothy
              Walker, Ilich Vargas, William Kennedy, Jonathan Robertson, Steve Aka Lynn Price,
              Bryan Bagwell, Christopher Crawford, Frederick Crockan, Taheash White, Michael
              Aka Madison Hatfield, and Kevin Aka Veronica Pratt are qualified to act as
              representatives of the settlement classes and are preliminarily appointed as class
              representatives.

    Page 2 of 22                       CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk MG
Case
Case 2:85-cv-04544-DMG-AGR  Document
     5:14-cv-02171-JGB-SP Document    1217-12
                                    103         Filed 01/12/22
                                         Filed 02/28/19  Page 3Page
                                                                of 22180 of 199
                                                                      Page        Page
                                                                             ID #:1547
                                   ID #:46427




           5. JND Legal Administration is appointed as the settlement administrator.

           6. The settlement notice, as set forth in Exhibit B to the Settlement Motion, is approved
              in form and substance for use in the administration of the Settlement Agreement.
              The Court grants the parties the authority to finalize the contact information, website
              address, response dates, and fairness hearing dates in accordance with this Order.

           7. JND Legal Administration is directed to mail the notice and claim form to all
              individuals entitled to receive notice within two weeks of this Order.

           8. Settlement class members will have until January 7, 2019 to file a claim, opt-out, or
              file an objection to the Settlement Agreement.

           9. The final approval hearing will be scheduled for February 11, 2019 at 9:00 a.m. in
              Courtroom 1 of the United States District Court for the Central District of California,
              Eastern Division located at 3470 12th Street, Riverside, California 92501.

   (Id. at 19-20).

                             II.   THE SETTLEMENT AGREEMENT

        Plaintiffs filed a Settlement Agreement on August 15, 2018. (“Settlement Agreement,”
   Dkt. No. 78.) The Court preliminarily approved the Settlement Agreement on September 10,
   2018. (Preliminary Approval Order.) The terms of the Settlement Agreement are discussed
   below.

   A. Settlement Classes

        The settlement classes for the purposes of the settlement of this case include both a
   Damages Class and an Injunctive Relief Class.

           The Damages Class includes “individuals who, between October 22, 2012 (two years
   prior to the filing of the original complaint, which is the statute of limitations period under 42
   U.S.C. § 1983) and March 31, 2018 (the end of the month in which the settlement was reached in
   principle) self-identified as gay, bisexual and/or transgender inmates (“GBT inmates”) housed
   in the Alternative Lifestyle Tank (“ALT”) of the San Bernardino County Jail facility known as
   West Valley Detention Center (‘WVDC’).” (Settlement Agreement §1, ¶ 10.)

          The Injunctive Relief Class includes “individuals who currently are, or in the future will
   be, GBT inmates housed in the San Bernardino County jails, including but not limited to those
   housed in the ALT.” (Id. § 1, ¶ 18.) The finalized class list consisted of 660 individuals.
   (“Keough Declaration,” Dkt. No. 92 ¶ 4.)



    Page 3 of 22                      CIVIL MINUTES—GENERAL                  Initials of Deputy Clerk MG
Case
Case 2:85-cv-04544-DMG-AGR  Document
     5:14-cv-02171-JGB-SP Document    1217-12
                                    103         Filed 01/12/22
                                         Filed 02/28/19  Page 4Page
                                                                of 22181 of 199
                                                                      Page        Page
                                                                             ID #:1548
                                   ID #:46428



   B. Release

           All settlement class members agree to release their claims as follows:

           The Settlement Agreement, as of the Effective Date, resolves in full all claims
           against the Released Persons3 by all of the SCMs,4 including the Named Plaintiffs,
           involving violations of law or constitutional rights, including, without limitation,
           their equal protection rights under federal and California law, their rights under
           California Civil Code § 52.1, any other rights under any other federal, state or local
           law, regulation, duty, or obligation, or any other legal theory, action or cause of
           action, which arise from the class-wide factual allegations alleged in the complaint ,
           as well as any claim regarding the bus transportation of transgender inmates
           (hereafter “Covered Claims”).

           When the Settlement Agreement is final, as of the Effective Date, all SCMs,
           including the Named Plaintiffs, waive all rights to any and all claims relating to
           damages or reimbursement of any kind for the Covered Claims. This waiver and
           release shall include a full release and waiver of unknown rights regarding the
           Covered Claims that may exist as of the Effective Date.

           As of the Effective Date, the SCMs, including the Named Plaintiffs, hereby waive
           any and all rights to pursue, initiate, prosecute, or commence any action or
           proceeding before any court, administrative agency or other tribunal, or to file any
           complaint regarding acts or omissions by the Released Persons with respect to the
           Covered Claims during the Class Period that fit within the definition of the
           Damages Class; and further, as it relates to this waiver or Release, expressly waive
           the provisions of California Civil Code § 1542, which provides that “a general

           3
               Released Persons refers to:
                     Defendants and their affiliates, subsidiaries, predecessors,
                     successors, and/or assigns, together with past, present and future
                     officials, employees, representatives, attorneys, and/or agents of San
                     Bernardino County, including John McMahon, or any of them.
                     “Released Persons” also includes any and all insurance carriers,
                     and/or their representatives and attorneys, for the Released Persons.
   (Settlement Agreement § II, ¶ 26)
           4
               SCMs stands for “Settlement Class Member,” which refers to:
                     [A]ny member of the Damages class as defied above (whether or not s/he
                     files a Timely Claim form), including representatives, successors and
                     assigns, who does not file a valid and timely Request for Exclusion as
                     provided for in this Settlement Agreement.
   (Settlement Agreement § II, ¶ 28.)

    Page 4 of 22                        CIVIL MINUTES—GENERAL                  Initials of Deputy Clerk MG
Case
Case 2:85-cv-04544-DMG-AGR  Document
     5:14-cv-02171-JGB-SP Document    1217-12
                                    103         Filed 01/12/22
                                         Filed 02/28/19  Page 5Page
                                                                of 22182 of 199
                                                                      Page        Page
                                                                             ID #:1549
                                   ID #:46429



           release does not extend to claims which the creditor does not know or suspect to
           exist in his or her favor at the time of executing the release, which if known by him
           or her must have materially affected his or her settlement with the debtor.”

           ...

           Any Class Member who does not Opt-Out as set forth in this Settlement
           Agreement, shall be deemed conclusively to have become an SCM and to be bound
           by the Settlement Agreement and all subsequent proceedings, orders and
           judgments herein, regardless of whether s/he files a claim form.

   (Settlement Agreement § VI, ¶¶ 21-23, 45.)

   C. Financial Terms

           Below is an overview of the financial terms of the Settlement Agreement:

                      Gross settlement amount (“Class Fund”):                  $950,000.00
                      Expert, consulting, mediation costs                      $36,304.49
                      Settlement administration costs:                         $37,500.005
                      Service award to class representatives:                  $55,500.006
                      Net settlement amount:                                   $818,195.51
                      Attorneys’ fees and costs:                               $1,100,000.007

   (MFACS at 3.)

           The Class Fund is non-reversionary. (Settlement Agreement §IV, ¶ 11.) However, if 11
   to 24 Damages Class members opt-out of the class, Defendants will receive a credit against the
   Class Fund based on the amount each individual opt-out was due under the initial formula.
   (Settlement Agreement § XI, ¶ 48.) The credit is not available if 10 or fewer Damages Class
   Members opt-out. (Id.) If 25 or more Damages Class members or any Named Plaintiffs opt-out,
   Defendants have the option to use the same credit formula or rescind the Settlement Agreement.
   (Id. § XI, ¶ 49.) No damages class members opted out of the settlement. (Keough Decl. ¶17.)


           5
          The Settlement administration cost here differs from the cost listed in the Preliminary
   Approval because the County has already paid a $2,500 deposit to the Claims Administrator.
           6
             This amount differs from the amount listed in the Settlement Agreement because
   Plaintiff Christopher Crawford passed away and will no longer receive a Service Award. The net
   settlement amount is also adjusted to reflect this change.
           7
            Attorneys’ fees and litigation costs (excluding mediation and expert costs) are included
   in a request for attorneys’ fees separate from the settlement amount. (Settlement Agreement
   ¶ 30.)

    Page 5 of 22                        CIVIL MINUTES—GENERAL                 Initials of Deputy Clerk MG
Case
Case 2:85-cv-04544-DMG-AGR  Document
     5:14-cv-02171-JGB-SP Document    1217-12
                                    103         Filed 01/12/22
                                         Filed 02/28/19  Page 6Page
                                                                of 22183 of 199
                                                                      Page        Page
                                                                             ID #:1550
                                   ID #:46430



           1. Damages Class Members

           Each Damages Class member is eligible to receive payment. Individual settlement
   amounts to class participants are paid from the net settlement amount. The portion of the net
   settlement amount payable to each Damages Class participant will be calculated through a points-
   based formula. (Settlement Agreement § IV, ¶¶ 8-9.) The total points for each participant will
   be added together, and each participant’s recovery will be a percentage of the net settlement
   amount based on that class member’s percentage of the total points for participants making
   timely claims. (Id. § IV, ¶ 9.) In addition to this formula, there is a recovery floor of $40 per
   participant and a recovery ceiling of $10,000 per participant. (Id. § IV, ¶ 10.) This recovery
   ceiling “is to ensure that outliers who have outsized claims do not distort the meaningfulness of
   the recovery to the remaining class members. (Such outliers would be entitled to opt out and
   pursue their own claims if they so chose.)” (Id.)

            The formula to calculate the points each Damages Class member receives is designed to
   account for the fact that the severity of the challenged conditions varied over time and depended
   on an inmate’s sentencing status, security classification, and work eligibility. (MFACS at 5-6.)
   Those Damages Class members who were low security risks were more adversely affected by the
   challenged conditions because they would have received more out-of-cell time than inmates
   deemed a higher security risk. (Id.) Additionally, all Damages Class members were denied
   access to certain programs whose availability varied based on sentencing status and work
   eligibility. (Id.) Finally, the challenged conditions before October 14, 2014 were more restrictive
   and receive higher point values than conditions after October 14, 2014. (Id.) Based on these
   considerations and others addressed in the Settlement Motion, Plaintiffs divide these
   confinement conditions into nine categories and assign point values depending on their relative
   severity. (Settlement Agreement § IV, ¶ 8.) Points are assigned for each day a Damages Class
   member was incarcerated in a given category and aggregated. (Id.) Below are the nine per diem
   categories and corresponding point values:

                     Category 1: Sentenced, work-eligible (Pre-October 2014)                     100
                     Category 2: Sentenced, not work-eligible (Pre-October 2014)                 60
                     Category 3: Pre-sentenced, lower security risk (Pre-October 2014)           55
                     Category 4: Pre-sentenced, higher security risk (Pre-October 2014)          45
                     Category 5: Pre-sentenced, unknown security risk (Pre-October 2014)         45
                     Category 6: Sentenced, work-eligible, no job (Post-October 2014)            65
                     Category 7: Sentenced, work-eligible, inferior job (Post-October 2014)      50
                     Category 8: Sentenced, not work-eligible (Post-October 2014)                35
                     Category 9: Pre-sentenced (Post-October 2014)                               20

   (Id. § IV, ¶ 8.)

          As of the time of the MFACS, Claim Forms from 165 class members have been approved.
   (MFACS at 3.) This represents approximately 25% of the total 655 class members. (Id. at 11)
   Based on this number, the mean recovery is $4,000-$5,000. (Id.) On February 7, 2019 Plaintiffs

    Page 6 of 22                         CIVIL MINUTES—GENERAL                 Initials of Deputy Clerk MG
Case
Case 2:85-cv-04544-DMG-AGR  Document
     5:14-cv-02171-JGB-SP Document    1217-12
                                    103         Filed 01/12/22
                                         Filed 02/28/19  Page 7Page
                                                                of 22184 of 199
                                                                      Page        Page
                                                                             ID #:1551
                                   ID #:46431



   filed a notice of additional late claims. (“Late Claims Notice,” Dkt. No. 94.) Counsel has been
   made aware that two claims were filed after the January 7, 2019 cut-off date and that additional
   class members were incarcerated and did not receive the Class Notice. (Id.) As of February 4,
   2019, the Claim Administrator has received ten additional claims. (Id.) Plaintiffs request this
   Court approve the payment of these ten late claims and any claims postmarked as of February 11,
   2019. (Id.) Additionally, class representative Frederick Crockan has attempted to file his claim
   on multiple occasions, but his claim forms have not been received by the Class Administrator.
   (Id.) Plaintiffs request the Court deem Crockan to have filed a timely claim. (Id.) Further, Mr.
   Joe Raymond Fierro, a verified class member, never received a claim form. (“Additional Late
   Claim Notice,” Dkt. No. 95.) Plaintiffs request the court deem Mr. Fierro to have timely filed a
   claim. (Id.) At the February 11, 2019 hearing Defendants represented they do not oppose this
   request. Finally, on February 22, 2019, Counsel filed an ex parte application regarding the late
   filing of Andrew Afoa, who, due to no fault of his own, never received a claim form prior to the
   cut-off date. (Dkt. No. 98.) Counsel notes Defendant’s counsel has no objection to the ex parte
   application. (Id.) The Court APPROVES these requests.

           2. Class Representatives

           The Settlement Agreement provides a total of $55,500 of the gross settlement amount to
   the Named Plaintiffs. (Settlement Agreement §IV, ¶ 3.) There are 14 Named Plaintiffs, and
   each would receive between $2,000 to $5,500 depending on counsel’s assessment of their
   contributions to the litigation. (Id.) The Settlement Agreement proposes exact amounts for each
   of the Named Plaintiffs in paragraph 3.

           3. Settlement Administration Costs

           The settlement administrator, JND Legal Administration (“JND” or “Administrator”),
   will be paid from the gross settlement amount. (Id. § IV, ¶ 2.) Class counsel requested bids and
   selected the most reasonable bid based on price, scope of services, and capabilities of the
   administrator. (Id. § IX, ¶ 31.) In its bid JND estimated the administration to have a maximum
   of $40,000. (Id. § IV, ¶ 2.) The cost of administration totaled the $40,000 indicated in the
   Settlement Agreement. (MFACS at 3; Keough Decl. ¶ 22.) At the February 11, 2019,
   Defendants counsel informed the Court that the County has already paid $2,500 of the total
   Claims Administration cost as a deposit, making the outstanding total $37,500.

           4. Attorneys’ Fees and Costs

          Class counsel seeks an award of attorneys’ fees separate from the gross settlement
   amount. (Settlement Agreement § IV, ¶ 12.) Class counsel seeks $1,100,000 in attorneys’ fees
   and costs in a separate motion under 42 U.S.C. § 1988 and Cal. Civ. Code § 52.1(h), which
   provide attorneys’ fees for prevailing plaintiffs. (See MAF at 2.) This amount was
   independently negotiated with the assistance of a professional mediator and, in order to
   effectuate the settlement, substantially discounted below the amounts Plaintiffs would have
   sought in an attorneys’ fees motion. (Id. at 12; Settlement Agreement § IV ¶ 13.)

    Page 7 of 22                     CIVIL MINUTES—GENERAL                 Initials of Deputy Clerk MG
Case
Case 2:85-cv-04544-DMG-AGR  Document
     5:14-cv-02171-JGB-SP Document    1217-12
                                    103         Filed 01/12/22
                                         Filed 02/28/19  Page 8Page
                                                                of 22185 of 199
                                                                      Page        Page
                                                                             ID #:1552
                                   ID #:46432




   D. Injunctive Relief

            The Settlement Agreement also provides for injunctive relief over a three-year period.
   (MFACS at 16, “Injunctive Relief Agreement,” Dkt. No 90-2 at 15.) The terms of the injunctive
   relief are detailed in Exhibit 2 and include the development of policies not yet drafted. (Id. at 16.)
   Defendants estimate the resources associated with these Injunctive Terms will be approximately
   $500,000 per year. (Id.)

           There are nine parts to the proposed Injunctive Terms: (1) create the PREA-GBTI
   Committee (“the Committee”)8; (2) establish policies for Housing and Classification Issues; (3)
   establish inmate worker options for GBTI inmates; (4) require access to programming; (5)
   require equal tier time for GBTI inmates; (6) require training on GBTI, PREA, and sexual
   harassment issues for staff, contractors, volunteers, and other inmates; (7) require specific
   policies for transgender inmates; (8) establish a zero-tolerance policy for harassment and
   ensuring PREA compliance; and (9) establish procedures to enforce the Settlement Agreement.
   (See generally “Injunctive Terms,” Dkt. No 78-3.)

          Importantly, these terms include provisions to ensure that GBTI inmates have
   comparable access as their peers in general population to programming, education, religious
   services, tier time, and work. Additionally, the terms provide for housing that considers an
   inmate’s sexual orientation and gender identity when making assignments, and considers a GBTI
   inmate’s preferences. Finally, the terms provide specific policies needed to address the needs of
   transgender inmates, including housing assignment, choice as to the gender of deputies
   performing searches, and access to hormonal medication to treat gender dysphoria. (See
   generally Injunctive Terms; see also MFACS at 14.)

           The complete text of the Injunctive Terms is available at Dkt. No. 78-3.

   E. Notice

           The Settlement Agreement proposed the following procedure to notify the settlement
   class members of the Settlement Agreement. The Administrator will be responsible for mailing
   class notice and the claim form to class members at their last known address. (Settlement
   Agreement § IX, ¶ 32.) The Administrator will use customary means to search for the last
   known address and do “whatever else is reasonably appropriate in order to reasonably notify
   Class Members . . . .” (Id.) Additionally, Defendants will post a summary notice in the ALT for
   the duration of the class notice period with a statement that the full notice will be provided on
   request. (Id.)




           8
           “PREA” refers to the Prison Rape Elimination Act, and“GBTI” refers to individuals
   who are gay, bisexual, transgender, or intersex.

    Page 8 of 22                       CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk MG
Case
Case 2:85-cv-04544-DMG-AGR  Document
     5:14-cv-02171-JGB-SP Document    1217-12
                                    103         Filed 01/12/22
                                         Filed 02/28/19  Page 9Page
                                                                of 22186 of 199
                                                                      Page        Page
                                                                             ID #:1553
                                   ID #:46433



           The class notice describes the particulars of this case, provides the class definition,
   provides information for claimants to contact the Administrator, notifies the Damages Class
   members of the case website, and contains a series of questions and answers to help explain the
   Settlement Agreement. (Id. ¶ 34; see also “Class Notice,” Dkt. No. 81-2.) The Administrator
   will mail the class notice as soon as practicable after preliminary approval. (Settlement
   Agreement § IX, ¶ 35.) The Administrator will include in the physical mailing a claim form. (Id.
   § X, ¶ 37.) In addition to physical mail, the Administrator will also gather, to the extent
   reasonably possible and cost effective, email addresses of class members. (Id. § IX, ¶ 36.) A
   claim form will be timely submitted if it is received before the cutoff date, which Plaintiffs
   propose should be January 7, 2019. (Proposed Order at 3.) If a class member submits a deficient
   claim form the Administrator will provide mail notice of the deficiency and give the class member
   30 days to provide a proper form. (Settlement Agreement § X, ¶ 39.) If the original form is
   received before the cutoff date, the corrected claim will still be considered timely. (Id.)

            A class member who wishes to opt-out of the Damages Class must submit a request to be
   excluded to the Administrator before the cutoff date. (Id. § XI, ¶ 43.) Class members who do
   not timely opt-out of the Damages Class are deemed to have participated in the settlement and
   will be bound by the Settlement Agreement and all subsequent proceedings, even if s/he did not
   file a claim form. (Id. ¶ 45.)

   F. Performance of the Settlement Agreement

           JND Legal Administration is serving as the settlement administrator. (Settlement
   Agreement IX, ¶ 31.) The Administrator received 165 approved Claim Forms from individuals
   identified as Settlement Class Members. (Keough Decl. ¶ 21.) Four Claim Forms have been
   denied as duplicative. (Id.) 382 Claim Forms were submitted by individuals who do not appear
   on the Class List. (Id.) Two Claim Forms were missing signatures or other required information
   and were deemed deficient. (Id.) An additional two Claim Forms were received as of January 14,
   2019 with postmarks dated after the January 7, 2019 deadline. (Id.) The claims administrator has
   received a total of 555 claims to date. (Id.) On February 7, 2019, Plaintiffs filed a Late Claim
   Notice informing the Court that 10 late claims were filed. (Late Claims Notice.) The Court
   granted Plaintiffs’ request to approve the payment of these late claims. See supra Part II.C.1.

                                          III. Legal Standard

   A. Class Action Settlement

           Class action settlements must be approved by the Court. See Fed. R. Civ. P. 23(e).
   Whether to approve a class action settlement is “committed to the sound discretion of the trial
   judge.” Class Plaintiffs v. Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992). A strong judicial policy
   favors settlement of class actions. See id.

         Nevertheless, the Court must examine the settlement as a whole for overall fairness. See
   Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998). Neither district courts nor

    Page 9 of 22                      CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 10Page
                                                                  of 22187 of 199
                                                                         Page      Page
                                                                               ID #:1554
                                   ID #:46434



   appellate courts have the power to delete, modify, or substitute provisions in the negotiated
   settlement agreement. See id. “The settlement must stand or fall in its entirety.” Id.

            In order to approve the class action settlement herein, the Court must conduct a three-
   step inquiry. See Adoma v. Univ. of Phoenix, Inc., 913 F. Supp. 2d 964, 972 (E.D. Cal. 2012).
   First, it assesses whether the parties have met notice requirements under the Class Action
   Fairness Act. Id. Next, it determines whether the notice requirements of Federal Rule of Civil
   Procedure 23(c)(2)(B) have been satisfied. Id. Finally, the Court must find that the proposed
   settlement is fair, reasonable, and adequate under Rule 23(e)(3). Id.

   B. Attorneys’ Fees

           Class Counsel also requests approval of its request for attorneys’ fees. In the Ninth
   Circuit, the court has discretion to use either a percentage of the fund or a lodestar approach in
   compensating class counsel. See, e.g., Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268,
   272 (9th Cir. 1989); In re Washington Pub. Power Supply Sys. Sec. Lit., 19 F.3d 1291, 1295 (9th
   Cir. 1994). When a statutory fee is available, such a statutory fee award is appropriate
   independent of the class damages fund. See Staton v. Boeing Co., 327 F.3d 938, 972 (9th Cir.
   2003) (“in a class action involving both a statutory fee-shifting provision and an actual or
   putative common fund, the parties may negotiate and settle the amount of statutory fees along
   with the merits of the case, ...[and] the amount of such attorneys' fees can be approved if they
   meet the reasonableness standard when measured against statutory fee principles”). Here, a
   statutory fee is available under both 42 U.S.C. § 1988 and Cal. Civ. Code § 52.1(h). “The
   ‘lodestar method’ is appropriate in class actions brought under fee-shifting statutes (such as
   federal civil rights, securities, antitrust, copyright, and patent acts), where the relief sought—and
   obtained—is often primarily injunctive in nature and thus not easily monetized. . .” In re
   Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 941 (9th Cir. 2011).

          The lodestar figure is calculated by multiplying the number of hours the prevailing party
   reasonably expended on the litigation (supported by adequate documentation) by a reasonable
   hourly rate for the region and for the experience of the lawyer. Staton 325 F.3d at 965. Statutory
   attorneys’ fees are not correlated to the size of recovery but instead look to the attorneys’
   reasonable hours and rates, as well as the public benefit conferred by the litigation. See City of
   Riverside v. Rivera, 477 U.S. 561, 575 (1986).

                                      IV.    Rule 23 Requirements

   A. Rule 23(a) and (b)

          In its Preliminary Approval Order, the Court certified the Settlement Classes in this
   matter under Rules 23(a) and 23(b)(2) and (3). (Preliminary Approval Order at 3–8.)
   Accordingly, the Court “need not find anew that the settlement class[es] meet[] the certification
   requirements of Rule 23(a) and (b).” Adoma, 913 F. Supp. 2d at 974; see also Harris v. Vector
   Marketing, No. C–08–5198, 2012 WL 381202 at *3 (N.D. Cal. Feb. 6, 2012) (“As a preliminary
   matter, the Court notes that it previously certified . . . a Rule 23(b)(3) class . . . [and thus] need
    Page 10 of 22                      CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 11Page
                                                                  of 22188 of 199
                                                                         Page      Page
                                                                               ID #:1555
                                   ID #:46435



   not analyze whether the requirements for certification have been met and may focus instead on
   whether the proposed settlement is fair, adequate, and reasonable.”); In re Apollo Group Inc.
   Securities Litigation, Nos. CV 04–2147–PHX–JAT, CV 04–2204–PHX–JAT, CV 04–2334–
   PHX–JAT, 2012 WL 1378677 at *4 (D. Ariz. Apr. 20, 2012). Here, the Settlement Classes have
   not changed since they were conditionally certified. All the criteria for class certification remain
   satisfied, and the Court hereby confirms its order certifying the Settlement Classes.

   B. Rule 23(c)(2) Notice Requirements

            Rule 23(c)(2)(B) requires the Court “direct to class members the best notice that is
   practicable under the circumstances, including individual notice to all members who can be
   identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). Similarly, Rule 23(e)(1)
   requires a proposed settlement may only be approved after notice is directed in a reasonable
   manner to all class members who would be bound by the agreement. Fed. R. Civ. P. 23(e)(1). In
   its Preliminary Approval Order, the Court approved the notice sent to Settlement Class
   members. The claims administrator timely mailed the Notice Packet, provided e-mail notice,
   established a toll-free number to provide information on the settlement, created a settlement
   website, and advertised the settlement on the internet through Facebook. (Keough Declaration
   ¶¶ 7–15.) The Court therefore finds that notice to the Settlement Class was adequate.

   C. Rule 23(e)

          Under Rule 23(e), “the claims, issues, or defenses of a certified class may be settled . . .
   only with the court’s approval.” Fed. R. Civ. P. 23(e). “The primary concern of [Rule 23(e)] is
   the protection of those class members, including the named plaintiffs, whose rights may not have
   been given due regard by the negotiating parties.” Officers for Justice v. Civil Serv. Comm’n of
   City & Cnty. of San Francisco, 688 F.2d 615, 624 (9th Cir. 1982). The Court’s inquiry is
   procedural in nature. Id. Pursuant to Rule 23(e)(2), “[i]f the proposal would bind class
   members, the court may approve it only after a hearing and on finding that it is fair, reasonable,
   and adequate.” Fed. R. Civ. P. 23(e)(2). The Court held a final approval hearing on February 11,
   2019. In determining whether a settlement agreement is fair, adequate, and reasonable to all
   concerned, the Court may consider some or all of the following factors:

           (1) the strength of the plaintiff’s case;

           (2) the risk, expense, complexity, and likely duration of further litigation;

           (3) the risk of maintaining class action status throughout the trial;

           (4) the amount offered in settlement;

           (5) the extent of discovery completed, and the stage of the proceedings;

           (6) the experience and views of counsel;

           (7) the presence of a governmental participant; and
    Page 11 of 22                       CIVIL MINUTES—GENERAL                  Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 12Page
                                                                  of 22189 of 199
                                                                         Page      Page
                                                                               ID #:1556
                                   ID #:46436



           (8) any opposition by class members.

   Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th Cir. 1998). This list of factors is not
   exclusive and a court may balance and weigh different factors depending on the circumstances of
   each case. See Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1376 (9th Cir. 1993).

           1. Strength of Plaintiffs’ Case

          The initial fairness factor addresses Plaintiffs’ likelihood of success on the merits. See
   Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 964–65 (9th Cir. 2009). In determining the
   probability of Plaintiffs’ success on the merits, there is no “particular formula by which that
   outcome must be tested.” Id. at 965.

           Plaintiffs considered their liability case to be strong, especially since California expressly
   applies strict scrutiny to claims of sexual orientation discrimination. (MFACS at 9.) However,
   Defendants similarly believe they have a strong defense in asserting that Plaintiffs made
   voluntary and informed decisions to be housed in the ALT. (Id.) Additionally, Defendants
   contest that a proper comparison for GBT inmates are general population inmates, and instead
   assert that protective custody inmates are the proper comparison group. (Id.)

          Given the challenges Plaintiffs would face in continued litigation over such issues, the
   Court finds this factor weighs in favor of approval.

           2. Risk, Expense, Complexity, and Likely Duration of Further Litigation

            Plaintiffs’ counsel acknowledges the risk, expense, and likely duration of litigation.
   (MFACS at 10-11.) Plaintiffs anticipate that even with what they perceive to be strong claims,
   litigation would take several years. (Id.) This would also greatly increase the costs of litigation.
   At this stage, Plaintiffs’ counsel already seek $1,100,000 in attorneys’ fees and costs, and at a
   substantially discounted rate. (Id. at 7.) Stretched over years of potential litigation, this sum
   would be substantially larger.

            The risk, expense, complexity, and likely duration of further litigation weigh in favor of
   final approval. Without the Settlement Agreement, the parties would be required to litigate class
   certification, as well as the ultimate merits of the case—a process which the Court acknowledges
   is long, complex, and expensive. Settlement of this matter will conserve the resources of this
   Court and the parties, thus weighing heavily in favor of final approval.

           3. Risk of Maintaining Class Action Status Throughout the Trial

            Because the Court is not aware of any risks to maintaining class-action status throughout
   trial, this factor is neutral. Barbosa v. Cargill Meat Sols. Corp., 297 F.R.D. 431, 445 (E.D. Cal.
   2013); see also In re Veritas Software Corp. Sec. Litig., No. 03–0283, 2005 WL 3096079, at *5
   (N.D. Cal. Nov. 15, 2005) (vacated in part on other grounds, 496 F.3d 962 (9th Cir. 2007))
   (favoring neither approval nor disapproval of settlement where the court was “unaware of any
    Page 12 of 22                      CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 13Page
                                                                  of 22190 of 199
                                                                         Page      Page
                                                                               ID #:1557
                                   ID #:46437



   risk involved in maintaining class action status”); Vasquez v. Coast Valley Roofing, Inc., 266
   F.R.D. 482, 489 (E.D. Cal. 2010) (finding that there were no facts that would defeat class
   treatment, the factor was considered “neutral” for purposes of final approval of class
   settlement).

           4. Amount Offered in Settlement

          In determining whether the amount offered in settlement is fair, a court compares the
   settlement amount to the parties’ estimates of the maximum amount of damages recoverable in a
   successful litigation. In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000), as
   amended (June 19, 2000).

           In valuing this litigation, Plaintiffs’ Counsel estimated each class members would recover
   a few thousand dollars. (MFACS at 9.) Under this Settlement, the average recovery for claiming
   class members is $4,000-5,000. (Id.) Additionally, Plaintiffs’ Counsel considers the monetary
   recovery highly favorable when compare to other class actions for damages in the jail context
   involving over-detentions and strip searches. (Id. at 10.)

            Plaintiffs also believe that the Injunctive Terms contribute significant additional value.
   (Id.) Plaintiffs’ counsel, who are experienced in class action litigation regarding civil rights
   issues, believe the Injunctive Terms are “groundbreaking” and a “model in many respects.”
   (Id. at 10-11.) Plaintiffs’ counsel determined that the benefit to the class of this injunctive relief
   was of such value that they agreed to a significantly reduced fee in return. (Id.)

           The Court finds this factor weighs in favor of final approval.

           5. Extent of Discovery Completed and Stage of the Proceedings

          This factor requires the Court evaluate whether “the parties have sufficient information
   to make an informed decision about settlement.” Linney, 151 F.3d at 1239.

           Plaintiffs assert they negotiated with Defendants at arms’ length and without collusion,
   which is evidenced by the extensive discovery and mediation process. (MFACS at 14.) Plaintiffs
   conducted extensive document discovery. (Id. at 12.) Although Plaintiffs did not conduct
   depositions, there were several meetings with Defendants’ counsel to address issues regarding
   jail operations. (Id.) SBCSD provided both formal and informal discovery concerning the
   operation and conditions of general population inmates as well as ALT inmates. (Id.)
   Additionally, Plaintiffs’ counsel inspected with an expert consultant WVDC premises where
   GBT and non-GBT inmates are housed, as well as the Glen Helen Rehabilitation Center. (Id.)
   The parties further held several in-person settlement conferences through private mediation
   before the Hon. Carla Woehrle (Ret.). (Id. at 2.)


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    Page 13 of 22                      CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 14Page
                                                                  of 22191 of 199
                                                                         Page      Page
                                                                               ID #:1558
                                   ID #:46438



          The Court finds the parties have engaged in substantial investigation of the facts and the
   applicable law. This factor weighs in favor of granting final approval of the Settlement
   Agreement.

           6. Experience and Views of Counsel

           “Great weight is accorded to the recommendation of counsel, who are most closely
   acquainted with the facts of the underlying litigation.” Nat’l Rural Telecomms. Coop. v.
   DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004) (internal citation and quotation marks
   omitted). Plaintiffs’ counsel has extensive experience serving as counsel in civil rights class
   actions. (MFACS at 13.) Litt is a well-known civil rights lawyer with decades of experience.
   (MAF at 10). McClane has worked on civil rights and criminal defense cases for the last fifteen
   years. (Id.) Battles has been practicing civil rights cases for ten years. (Id.) Goodman, Goad,
   Hamme, Hill, and Fruitwala of ACLU SoCal have 15, 13, 6, 4 and 4 years of experience
   respectively. (Id.) Counsel further submits that the proposal is fair. (MFACS at 11.) This weighs
   in favor of final approval.

           7. Presence of a Governmental Participant

          “The participation of a government agency serves to protect the interests of the class
   members, particularly absentees, and approval by the agency is an important factor for the court's
   consideration.” Marshall v. Holiday Magic, Inc., 550 F.2d 1173, 1178 (9th Cir. 1977). Here, the
   County and SBCSD are government agencies, and as such, their participation and consent to the
   terms of injunctive relief weigh in favor of approving the settlement.

           8. Opposition of Class Members

           The existence of overwhelming support for a settlement agreement by the class lends
   weight to a finding that the settlement agreement is fair, adequate, and reasonable. DIRECTV,
   Inc., 221 F.R.D. at 529 (“It is established that the absence of a large number of objections to a
   proposed class action settlement raises a strong presumption that the terms of a proposed class
   settlement action are favorable to the class members.”).

           Here, the record supports that class members have a positive reaction to the proposed
   settlement. JND has approved and received 165 Claim Forms. (Keough Decl. ¶ 21.) As of the
   date of the declaration, the settlement administrator had not received any opt-out requests nor
   any objections to the settlement. (Id. ¶¶ 17-19.) Assuming this trend continues, this indicates
   that the classes approve of the settlement. Accordingly, this factor weighs in favor of final
   approval.

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    Page 14 of 22                     CIVIL MINUTES—GENERAL                  Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 15Page
                                                                  of 22192 of 199
                                                                         Page      Page
                                                                               ID #:1559
                                   ID #:46439



   D. Settlement Administration Costs

          Plaintiffs seek $40,000 in settlement administration costs, the same amount that this
   Court preliminarily approved as part of the Settlement Agreement. (MFA at 4; Preliminary
   Approval Order at 6.) The Court approves $40,000 in administration costs.

   E. Incentive Awards

         The trial court has discretion to award incentives to the class representatives. See In re
   Mego, 213 F.3d at 463 (9th Cir. 2000); Pelletz, 592 F. Supp. 2d at 1329. The criteria courts have
   used in considering the propriety and amount of an incentive award include: (1) the risk to the
   class representative in commencing a class action, both financial and otherwise; (2) the notoriety
   and personal difficulties encountered by the class representative; (3) the amount of time and
   effort invested by the class representative; (4) the duration of the litigation; and (5) the personal
   benefit, or lack thereof, enjoyed by the class representative. Van Vranken v. Atl. Richfield Co.,
   901 F. Supp. 294, 299 (N.D. Cal. 1995).

         The settlement provides a slight benefit to the 15 Named Plaintiffs (ranging from $2000 to
   $5,500 in addition to their class member formula award, depending on the role and contribution
   of the class representative). (MFACS at 17.) Although there is a larger than normal number of
   class representatives, it is because Class Counsel determined there were several categories of
   class representatives necessary to represent class members in custody with standing to seek
   injunctive relief and class members not in custody who were not subject to PLRA restrictions.
   (Id.) Class Counsel also determined that they needed a larger than usual number of class
   representatives due to the variety of deprivations at which the Complaint was aimed (e.g., drug
   treatment, mental health treatment, education, work opportunities), for each of which it was
   important to have a class representative who personally experienced the deprivation. (Id.)

         Here, the class representatives were (either at the time of the filing of the complaint or
   previously) in SBCSD custody. (Id. at 19.) Those who were in custody exposed themselves to
   risk of retaliation, and those not in custody were still at risk of re- arrest and retaliation. (Id.) All
   Named Plaintiffs put their names in the public arena. (Id.) Plaintiffs’ counsel spent dozens of
   hours interviewing class representatives while they were in custody, increasing their potential
   risk and demonstrating their personal participation in the litigation. (Id.)

         Class Counsel asserts the requested amounts are well within the range of court approved
   incentive payments in recognition of work done on behalf of the class and in consideration of the
   risk undertaken in bringing the action. (Id.) “An incentive award of $5,000 per class
   representative is in line with other awards approved in this circuit.” Weeks v. Kellogg Co., No.
   CV 09-08102 MMM RZX, 2013 WL 6531177, at *37 (C.D. Cal. Nov. 23, 2013). See also In re
   Online DVD-Rental Antitrust Litig., 779 F.3d 934, 943 (9th Cir. 2015) (affirming $5,000
   incentive award even though the average class member received only $12); In re Mego, 213 F.3d
   at 463 (approving a $5,000 incentive award for each class representative).


    Page 15 of 22                       CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 16Page
                                                                  of 22193 of 199
                                                                         Page      Page
                                                                               ID #:1560
                                   ID #:46440



          Given these Named Plaintiffs’ involvement in the case and their assumption of significant
   risk, the Court AWARDS the following incentive awards:

    NAME                                                              INCENTIVE AWARD9
    Bryan Bagwell                                                             $5,000
    Frederick Crockan                                                         $5,000
    Pedro Guzman                                                              $3,000
    Michael Aka Madison Hatfield                                              $5,000
    William Kennedy                                                           $3,000
    Sean Lint                                                                 $2,000
    Anthony Oliver                                                            $5,500
    Nick Ou                                                                   $3,000
    Kevin Aka Veronica Pratt                                                  $5,500
    Steven Aka Lynn Price                                                     $3,000
    Jonathan Robertson                                                        $3,000
    Illich Vargas                                                             $5,500
    Tim Walker                                                                $5,000
    Taheash White                                                             $2,000
                             TOTAL                                          $55,500.00


                             V.      ATTORNEYS’ FEES AND COSTS

           Class counsel seeks $1,100,000 in attorneys’ fees and costs in a separate motion under 42
   U.S.C. § 1988 and Cal. Civ. Code § 52.1(h), which provide reasonable attorneys’ fees for
   prevailing plaintiffs. (MFACS at 7.) This amount was independently negotiated with the
   assistance of a professional mediator and, in order to effectuate the settlement, substantially
   discounted below the amounts Plaintiffs would have sought in an attorneys’ fees motion. (Id.)

   A. The Lodestar Approach is Appropriate

           The lodestar approach is appropriate because this is a class action brought under fee-
   shifting statutes where the primary relief sought is injunctive relief. See In re Bluetooth Headset
   Prod. Liab. Litig., at 941. The Ninth Circuit noted it has “repeatedly made it clear that the level
   of success achieved by a civil rights plaintiff should be measured by more than the amount of
   damages awarded.” Morales v. City of San Rafael, 96 F.3d 359, 365 (9th Cir. 1996), opinion
   amended on denial of reh’g, 108 F.3d 981 (9th Cir. 1997). In Morales, the damages verdict was
   itself “significant. . . [and] established a deterrent to the City, its law enforcement officials and
   others who establish and implement official policies.”



           9
           Christopher Crawford passed away and will no longer receive an incentive award. See
   supra Part II.C.

    Page 16 of 22                     CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 17Page
                                                                  of 22194 of 199
                                                                         Page      Page
                                                                               ID #:1561
                                   ID #:46441



       Here, Plaintiffs request $1,100,000 in attorneys’ fees, which exceeds the class damages fund.
   In a case without an available statutory fee, this disparity would be inappropriate. However, in a
   case like this, it is common for statutory fees to exceed recovered damages, particularly where
   Plaintiffs obtained significant injunctive relief. Plaintiffs secured injunctive relief on a
   groundbreaking issue. The parties agree these statutory fees are appropriate. Like in Morales,
   the relief obtained through this settlement creates a deterrent for state agents has an effect on
   official policies. The value of this relief is difficult to measure but should not be underestimated
   given the critical implications for the injunctive class members and the potential for use as a
   model for other correctional facilities.

      Given the nature of this case and the relief granted, this Court finds the lodestar method
   appropriate in this case.

   B. The Requested Fees are Reasonable

           Class counsel seeks $1,100,000 in attorneys’ fees. (MFACS at 7.) This number was
   negotiated by the parties with the assistance of a professional mediator and represents a
   significantly discounted lodestar. (Id.)

           District courts using the lodestar method to determine reasonable fees under § 1988
   engage in a two-step process. First, courts “apply ... the ‘lodestar’ method to determine what
   constitutes a reasonable attorney's fee.” Costa v. Comm'r of Soc. Sec. Admin., 690 F.3d 1132,
   1135 (9th Cir. 2012); Morales 96 F.3d at 363; Ballen v. City of Redmond, 466 F.3d 736, 746 (9th
   Cir. 2006). Second, “[t]he district court may then adjust [the lodestar] upward or downward
   based on a variety of factors.” Moreno v. City of Sacramento, 534 F.3d 1106, 1111 (9th Cir.
   2008). Statutory attorneys’ fees are not correlated to the size of recovery but instead look to the
   attorney’s reasonable hours and rates, as well as the public benefit conferred by the litigation.
   See City of Riverside v. Rivera, 477 U.S. 561, 575 (1986).

           1. Computation of the Lodestar

           Under the lodestar method, the district court “multiplies the number of hours the
   prevailing party reasonably expended on the litigation by a reasonable hourly rate.” Ballen, 466
   F.3d at 746 (internal quotation marks omitted); Hensley v. Eckerhart, 461 U.S. 424, 433 (1983).
   The product of this computation—the “lodestar figure”—is a “presumptively reasonable” fee
   under 42 U.S.C. § 1988. See Ballen, 466 F.3d at 746.

                    a.    Reasonable Number of Hours

           To calculate attorneys’ fees using the lodestar method, a court must determine the
   reasonable number of hours for which the prevailing party should be compensated. See, e.g.,
   Fischer v. SJB–P.D. Inc., 214 F.3d 1115, 1119 (9th Cir. 2000). Ultimately, a “reasonable”
   number of hours equals “[t]he number of hours ... [which] could reasonably have been billed to a
   private client.” Moreno, 534 F.3d at 1111. The prevailing party has the burden of submitting

    Page 17 of 22                     CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 18Page
                                                                  of 22195 of 199
                                                                         Page      Page
                                                                               ID #:1562
                                   ID #:46442



   billing records to establish that the number of hours it has requested is reasonable. See In re
   Wash. Pub. Power Supply Sys. Sec. Litig., 19 F.3d 1291, 1305 (9th Cir. 1994). Thus, to determine
   whether attorneys for the prevailing party could have reasonably billed the hours they claim to
   their private clients, a district court should begin with the billing records the prevailing party has
   submitted. Gonzalez v. City of Maywood, 729 F.3d 1196, 1202 (9th Cir. 2013)

            Here, Class Counsel provides billing records that were contemporaneously maintained
   which detail the time spent working on this case. ("Ex. C,” Dkt. No 87-3; “Ex. E,” Dkt. No. 88-
   1.) In their MFACS, Plaintiffs provide tables that include each timekeeper who worked on the
   case and the number of hours they worked. (MFACS at 13.) Billed hours were spent on
   activities such as extensive document review and analysis, interviewing class representatives and
   class members, and settlement negotiations. (Id. at 12). Plaintiffs note that negotiating the terms
   of injunctive relief was particularly time consuming and took several meetings with both the
   mediator and counsel. (Id.)

            The Court has no reason to doubt the number of hours provided by Class Counsel. This
   is especially true given the substantial discount from Class Counsel’s lodestar total, as negotiated
   in the settlement. Further, the hours provided by Class Counsel do not account for work done
   for the MFACS and MAF, ongoing work with the Class Administrator and class members, and
   an appearance at the final approval hearing. (Id. at 14.) Given these reasons and the time-
   intensive nature of a settlement involving injunctive relief, this Court finds that Class Counsel
   billed a reasonable number of hours.

                    b.    Reasonable Hourly Rate

            Class Counsel asserts their requested hourly rates are reasonable for attorneys of their
   skill, experience, and reputation. California law entitles plaintiff attorneys to their requested
   rates if those rates are “within the range of reasonable rates charged by and judicially awarded
   comparable attorneys for comparable work.” Children’s Hosp. & Med. Ctr. V. Bonta, 97 Cal.
   App. 4th, 740, 783 (Cal. Ct. App. 2002). Federal law similarly instructs that “requested rates
   [should be] in line with those prevailing in the community for similar services of lawyers of
   reasonably comparable skill and reputation.” Jordan v. Multnomah Cty., 815 F.2d 1258, 1263
   (9th Cir. 1987). In making this showing, “affidavits of the plaintiffs' attorney[s] and other
   attorneys regarding prevailing fees in the community, and rate determinations in other cases are
   satisfactory evidence of the prevailing market rate.” Camacho v. Bridgeport Fin., Inc., 523 F.3d
   973, 980 (9th Cir. 2008)(internal citations and marks omitted).

           In calculating the lodestar, Plaintiffs may adjust for delay in payment. See, e.g., Missouri
   v. Jenkins, 491 U.S. 274, 282 (1989) (“an appropriate adjustment for delay in payment—whether
   by the application of current rather than historic hourly rates or otherwise—is within the
   contemplation of the statute [42 U.S.C. §1988]”); Barjon v. Dalton, 132 F.3d 496, 502–03 (9th
   Cir. 1997) (“the district court may choose to apply either the attorney's current rates to all hours
   billed or the attorney's historic rates plus interest”). Generally, for a “fee award to be
   reasonable, it must be based on current, rather than historic, hourly rates.” Charlebois v. Angels

    Page 18 of 22                     CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 19Page
                                                                  of 22196 of 199
                                                                         Page      Page
                                                                               ID #:1563
                                   ID #:46443



   Baseball LP, 993 F. Supp. 2d 1109, 1119 (C.D. Cal.2012) (citing Jenkins, 491 U.S. at 282)
   (lodestar award in settled class action).

            To demonstrate the reasonableness of Class Counsel’s rates, Plaintiffs’ attorneys Barrett
   S. Litt (“Litt”) of Kaye, McClane, Bednarski and Litt (“KMBL”) and Amanda Goad of the
   ACLU Foundation of Southern California (“ACLU SoCal”) have submitted declarations
   attesting to their experience litigating federal civil rights class actions and detailing their work on
   this case. (“Litt Declaration,” Dkt. No. 87; “Goad Declaration,” Dkt. No. 88.) Litt is licensed
   to practice law in the State of California, the U.S. District Courts in the Central, Eastern, and
   Northern Districts of California, in the Ninth, Fourth, Fifth, Eleventh, and D.C. Courts of
   Appeal, and in the United States Supreme Court. (“Ex. B,” Dkt. No. 87-2.) Litt has been
   practicing for 45 years and has litigated an extensive list of complex civil rights cases, many of
   which have involved fee-shifting provisions. (Litt Decl. at 30) Litt asserts he bills an hourly rate
   of $1,150.00. (Id.)

            In addition, Litt’s declaration provides information as to the experience and billing rates
   of Plaintiffs’ counsel David S. McLane (“McLane”), Lindsay Battles (“Battles”), and Ron Kaye
   (“Kaye”) of KMBL and Melissa Goodman (“Goodman”), Brendan M. Hamme (“Hamme”),
   Goad, Tasha Hill (“Hill”) and Aditi Fruitwala (“Fruitwala”) of ACLU SoCal. (Litt Decl. at 30-
   45.) Litt further provides information regarding the rates of senior paralegal Julia White and
   junior paralegals Esteban Gil and Rene Arriaza of KMBL, as well as senior paralegal Duaba
   Gonzalez of ACLU SoCal. (Id.) Litt provides tables supporting the proposition that each
   member of Plaintiffs’ counsel’s rates fall within the range of rates for attorneys and paralegals of
   comparable experience by comparing Plaintiffs’ counsels’ rates with others working at prominent
   civil rights firms and organizations in the Central District of California within a close range of
   experience. (Id.)

            The Court finds the range of rates provided by these tables adequately establishes billing
   rates for civil rights attorneys in the forum. The relevant portions of this table state that:
   attorneys practicing civil rights litigation with 26-49 years of experience bill adjusted lodestar
   rates of $887-$1230 per hour; attorneys practicing civil rights litigation with 23-33 years of
   experienced bill adjusted lodestar rates of $738-$1220 per hour; attorneys practicing civil rights
   litigation with 9-15 years of experience bill adjusted lodestar rates of $603-$855 per hour; and
   attorneys practicing civil rights litigation with 1-6 years of experience billed adjusted lodestar
   rates of $336-$671 per hour (Id. at 31-43). Litt further notes that fee-paying litigants bringing
   similars action would pay much higher commercial rates for attorneys of similar or less
   experience practicing civil rights litigation. (Id.)

           Plaintiffs request the hourly rates for attorneys: $875 for McLane, who has 32 years of
   experience; $600 for Battle, who has 10 years of experience; $875 for Kaye, who has 30 years of
   experience; $715 for Goodman, who has 15 years of experience; $640 for Goad, who has 13 years
   of experience; $480 for Hamme, who has six years of experience; $390 for Hill, who has four
   years of experience; and $390 for Fruitwala, who has four years of experience. (Litt Decl. at 29.)
   Plaintiffs request the following rates for non-attorney timekeepers: $335 for Julia White, a senior

    Page 19 of 22                      CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 20Page
                                                                  of 22197 of 199
                                                                         Page      Page
                                                                               ID #:1564
                                   ID #:46444



   paralegal; $195 for Diana Gonzalez, a senior paralegal; $175 for Rene Arriaza, a junior paralegal;
   $225 for Sujata Awasthi, a law clerk; $225 for Evan Ettinghoff, a law clerk. (Id.)

           The provided tables reflect that the hourly rates of Plaintiffs’ attorneys fall within the
   reasonable range for attorneys of their experience in this district. Further, the fact that counsel
   seeks a significantly discounted lodestar weighs in favor of finding that the provided rates are
   reasonable. Plaintiffs’ calculated lodestar total is $2,647,267.35. (Id.) They seek only the
   discounted amount of $1,100,000. (MFACS at 7.) Accordingly, this Court finds the rates, as
   reflected in Plaintiffs’ motion for attorney’s fees and costs are reasonable.

           2. Adjustments to the Lodestar

           After computing the lodestar figure, district courts may adjust that figure pursuant to a
   “variety of factors.” See Moreno, 534 F.3d at 1111. “[T]he district court accounts for the
   following factors in the lodestar computation: ‘(1) the novelty and complexity of the issues, (2)
   the special skill and experience of counsel, (3) the quality of representation, (4) the results
   obtained, and (5) the contingent nature of the fee agreement.’” Gonzalez v. City of Maywood,
   729 F.3d 1196, 1209 (9th Cir. 2013)(citing Kerr v. Screen Guild Extras, Inc., 526 F.2d 67, 70 (9th
   Cir. 1975)).

           The Court has already provided an analysis for many of these factors above, including: (1)
   the novelty and complexity of the issues; (2) counsel’s skill and experience; (4) the results
   obtained; and (5) the contingent nature of the fee arrangement. In those analyses, the Court
   found that all these factors weighed in favor of approving the settlement. The Court need not
   repeat this analysis and finds that these factors weigh in favor of approving Plaintiffs’ motion for
   award of attorney’s fees and costs. The Court turns to the remaining factor.

           Management of this case involved working with a large number of class representatives,
   working with two different subclasses, and managing both federal and state law claims. Counsel
   also compiled and analyzed data over four years. Plaintiffs conducted extensive document
   discovery. (MAF at 12.) Although Plaintiffs did not conduct depositions, there were several
   meetings with Defendants’ counsel to address issues regarding jail operations. (Id.)
   Additionally, Plaintiffs’ counsel inspected with an expert consultant WVDC premises where
   GBT and non-GBT inmates are housed, as well as the Glen Helen Rehabilitation Center. (Id.)
   The parties further held several in-person settlement conferences through private mediation
   before the Hon. Carla Woehrle (Ret.). (Id. at 2.) The Court finds this factor weighs in favor of
   approval.

           The aforementioned factors weigh in favor of approval. Notably, counsel achieved
   positive results and already stipulated to a substantially discounted lodestar during settlement.
   For the reasons stated above, the Court APPROVES Plaintiff’s request for $1,100,000 in
   attorneys’ fees.

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    Page 20 of 22                     CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 21Page
                                                                  of 22198 of 199
                                                                         Page      Page
                                                                               ID #:1565
                                   ID #:46445



   C. Costs

           Federal and state fee shifting statutes allow for reimbursement of litigation expenses that
   “are normally charged to a fee-paying client, in the course of providing legal services.
   Reasonable photocopying, paralegal expenses, and travel and telephone costs are thus
   recoverable pursuant to § 1988.” Thornberry v. Delta Air Lines, Inc., 676 F.2d 1240, 1244 (9th
   Cir. 1982), cert. granted, judgment vacated on other grounds, 461 U.S. 952 (1983).

           Here, Plaintiffs request costs for travel, investigators, consultants, filing fees,
   photocopies, printing, scans, messenger services, telephone calls, postage, computerized legal
   research, and similar costs normally reimbursed by the client. See, e.g., In re Immune Responses
   Sec Litig., 497 F. Supp. 2d 1166, 1177-78 (S.D. Cal. 2007). Opinions of federal courts are
   applicable to determining allowable costs under California law. See, e.g., Bussey v. Affleck, 225
   Cal. App. 3d, 1162, 1165 (Cal. Ct. App. 1990), abrogated on other grounds by Robert L. Cloud
   and Associates, Inc. v. Mikesell, 69 Cal. App.4th 1141 (1999).

          The Settlement Agreement provides for payments of costs up to $37,000, payable from
   the Class Fund. (Settlement Agreement ¶ 30.) Counsel now requests $36,304.49 in costs.
   (MAF at 21.) This Court has reviewed the provided itemized list of costs and finds they are
   appropriate. The Court therefore APPROVES the requested amount for costs.

                                        VI.     CONCLUSION

         For the reasons stated above, the Court:

         1. GRANTS final approval of the Settlement Agreement and Injunctive Terms;

         2. APPROVES payment of the ten late claims and any claims postmarked on or before
            February 11, 2019;

         3. APPROVES Plaintiffs’ requests to deem Frederick Crockan, Joe Raymond Fierro, and
            Andrew Afoa to have filed a timely claim;

         4. AWARDS Class Counsel attorneys’ fees in the amount of $1,100,000.00;

         5. AWARDS Class Counsel costs in the amounts of $36,304.49 as provided in the
            Settlement Agreement;

         6. AWARDS the following amounts to the Named Plaintiffs:

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    Page 21 of 22                     CIVIL MINUTES—GENERAL                  Initials of Deputy Clerk MG
Case 5:14-cv-02171-JGB-SP
Case 2:85-cv-04544-DMG-AGR  Document
                          Document 1031217-12    Filed 01/12/22
                                         Filed 02/28/19   Page 22Page
                                                                  of 22199 of 199
                                                                         Page      Page
                                                                               ID #:1566
                                   ID #:46446



    NAME                                                       INCENTIVE AWARD
    Bryan Bagwell                                                      $5,000
    Frederick Crockan                                                  $5,000
    Pedro Guzman                                                       $3,000
    Michael Aka Madison Hatfield                                       $5,000
    William Kennedy                                                    $3,000
    Sean Lint                                                          $2,000
    Anthony Oliver                                                     $5,500
    Nick Ou                                                            $3,000
    Kevin Aka Veronica Pratt                                           $5,500
    Steven Aka Lynn Price                                              $3,000
    Jonathan Robertson                                                 $3,000
    Illich Vargas                                                      $5,500
    Tim Walker                                                         $5,000
    Taheash White                                                      $2,000
                             TOTAL                                   $55,500.00


        7. ORDERS the payment of $37,500 to the claims administrator; and

        8. DISMISSES the Complaint WITH PREJUDICE.



   The Court ORDERS such judgment be entered.




    Page 22 of 22                 CIVIL MINUTES—GENERAL               Initials of Deputy Clerk MG
